NORTH CAROLINA                                     IN THE GENERAL COURT OF JUSTICE
                                                    c. ") ~UPERIOR COURT DIVISION
DURHAM COUNTY                                       '-- · .)  20 CVS 1440

JOHN DOE,                            ; ,·1) ., _
                       Plaintiff,         )
                                        l
      vs .                              )
                                        )
DUKE UNIVERSITY                         )
                                        )
                       Defendant.       )



        IT IS HEREBY ORDERED by the Honorable Orlando F. Hudson, Jr. that the verification
to the Complaint herein shall be _filed under seal by the_Clerk of Court.

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                      ,-<...
       This the            day of October, 2020.




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NORTH CAROLINA                                             IN THE GENERAL COURT OF JUSTICE
                                                                SUPERIOR COURT DIVISION
DURHAM COUNTY                                                      20 CVS .......J«./J
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JOHN DOE,                  ZuZll OCT - )l P 3: 3C
                       Plaintiff,         )
                           DU f) ;,i.:.   tLL c.:::   C.
       VS.                                    .       TEMPORARY RESTRAINING ORDER

DUKE UNIVERSITY

                       Defenda

       THIS MATTER coming on for hearing and being heard before the undersigned Superior
Court Judge upon motion of the plaintiff for a temporary restraining order pursuant to Rule 65 of
the Rules of Civil Procedure, the plaintiff being represented by Emilia I. Beskind and Jay H.
Ferguson; and the Court having considering the verified complaint inclusive of its attachments
and the Motion for Temporary Restraining Order;

         IT APPEARING TO THE COURT from the aforementioned pleadings that the plaintiff will
be irreparably harmed in the event a tempora·ry restraining order is not entered in this matter for
the following reasons:


               a. Except for the improper discipline imposed on Plaintiff, he has been a student
                  in good standing, has had no disciplinary record, maintains a 3.97 grade point
                  average.

               b. Removing plaintiff from classes in the middle of the semester pending the
                  resolution of this case will disrupt his studies and his academic performance.

               c.   Plaintiff is due to graduate at the end of the current semester. The improper
                    discipline will deprive him of the ability to receive his degree.

               d. Plaintiff is simultaneously enrolled in a master's program at Duke University.
                  His graduation date from that program is projected to be at the end of the
                  Spring Semester 2021. This will be further disputed by the improper
                  disciplinary proceedings.

               e. Plaintiff has a potential offer of employment scheduled to begin in July of
                  2021. That potential employment offer is contingent on his graduation and will
                  be withdrawn should the improper discipline be applied.


               f.   Plaintiff receives a $2000 dollar scholarship from an outside entity. That
                    scholarship will be withdrawn should he fail to remain in school this semester.


               g. Plaintiffs family has expended money for the portion of his tuition which was
                  not paid through his scholarship which will not be refunded by Duke.




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         IT FURTHER APPEARING TO THE COURT that this order should be granted to Plaintiff
without waiting for notice and hearing from the Defendant Duke University in order to return the
parties to the status quo immediately prior to Plaintiff's suspension from Duke University so the
Plaintiff can immediately return to his studies to prevent irreparable harm by his absence from
classes and his housing. Any further delay in returning the parties to the status quo that has
existed for the years long pendency of the disciplinary proceedings would cause irreparable
injury.

       The Court, having considered the condition of bond as required by Rule 65(c) hereby
sets bond in the amount of _ _ _ _ _ _ _ _ _ and Plaintiff has posted this surety to
secure the defendant from damages for the restraining order prayed.

        IT IS THEREFORE ORDERED that the Defendant Duke University is hereby restrained
from suspending the Plaintiff (as that person is identified in a letter from Tim Bounds dated
October 7, 2020). Duke University shall re-enroll the Plaintiff and return him to the same status
as the Plaintiff enjoyed prior to his suspension of October 7, 2020 for all purposes, including but
not limited to his status as a student at Duke University.

       IT IS FURTHER ORDERED that a copy of this Temporary Restraining Order shall be
served upon the defendant in the manner now provided for service of process.
               .                                            . 7t'-
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      ]"his Temporary Restraining Order was entered on the_ day o ~ t
   _j ,
the Court or  consent.
                       and shall expire within ten days unless extended by further order of




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 NORTH CAROLINA                                                           IN THE GENERAL COURT OF JUSTICE
                                                                               SUPERIOR COURT DIVISION
 DURHAM COUNTY                                                                    20 CVS  / 4'-£0

 JOHN DOE,

                                                           )
         Vs •             Du In 1·-l ' ,
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                                               t··,"    ·1 ) ,-.
                                               ;,,,_)\.., · • .._.•       MOTION FOR TEMPORARY
                          BY                    C          ') .\           RESTRAINING ORDER
 DUKE UNIVERSITY

                         Defendant.
                                                                      I
         NOW COMES the Plaintiff, thrbtlgh counsel, and moves the Court pursuant to Rule 65 of
the North Carolina Rules of Civil Procedure for a temporary restraining order. In support of this
rr,otion, Plaintiff says:

        1.     Plaintiff/movant incorporates all of the allegations of the Complaint filed in this
action herein as if fully set forth.

         2.       Until October 7, 2020, Plaintiff was a student at Duke University.


        3.     Plaintiff was de-enrolled after a student disciplinary proceeding which found that
he violated the Student Sexual Misconduct Policy. Plaintiff steadfastly denies any wrongdoing or
any violation of said policy.

         4.     Plaintiff has this date filed suit against the defendant alleging the student
disciplinary proceeding was not proper and that he is entitled to relief.

         5.       Defendant has violated and continues to violate the rights of the Plaintiff and
Plaintiff will suffer immediate and irreparable injury before defendant and its counsel can be
heard in opposition to the restraining order in that:


                  a. Except for the improper discipline imposed on Plaintiff, he has been a student
                     in good standing, has had no disciplinary record, maintains a 3.97 grade point
                     average.

                  b. Removing plaintiff from classes in the middle of the semester pending the
                     resolution of this case will disrupt his studies and his academic performance.

                  c. Plaintiff is due to graduate at the end of the current semester. The improper
                     discipline will deprive him of the ability to receive his degree.

                  d. Plaintiff is simultaneously enrolled in a master's program at Duke University.
                     His graduation date from that program is projected to be at the end of the
                     Spring Semester 2021. This will be further disrupted by the improper
                     disciplinary proceedings.




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                                                 - - ---- -- -----                                          -




               e. Plaintiff has a potential offer of employment scheduled to begin in July of
                  2021 in which he will receive substantial compensation. That potential
                  employment offer is contingent on his graduation and will be withdrawn
                  should the improper discipline be applied.


               f.   Plaintiff receives a $2000 dollar scholarship from an outside entity. That
                    scholarship will be withdrawn should he fail to remain in school this semester.

               g. Plaintiff's family has expended money for the portion of his tuition which was
                  not paid through his scholarship which wilt not be refunded by Duke.

       6.      The aforementioned injuries are immediate and, without a temporary restraining
order being issued by this court, will be irreparable.

        7.      Plaintiff is moving the Court to enter an order maintaining the status quo as the
situation existed for the 32-month period prior to October 7, 2020.

       8.      This motion is made ex parte. No notice of this particular filing was given to Duke
University. The harm already caused to the Plaintiff, which continues to occur on a daily basis
and which will be exacerbated when the Plaintiff must leave his housing by tomorrow is so
imminent that relief should be granted before Duke University and its counsel can be noticed
and heard in opposition to this motion.

         9.      Undersigned counsel certify that they will immediately notify Duke University of
this suit, this motion and any temporary restraining order, and will cooperate with Duke
University in scheduling the hearing on the preliminary injunction in the event Duke University
would like the hearing at a time other than the one initially set by the court.

         10.     Plaintiff requests the Court to either waive the security bond required by Rule
65(c) of the Rules of Civil Procedure or set a nominal bond in compliance with the rule in light of
the fact that there is no harm to Duke University in granting this motion as indicated by the
Plaintiff's presence as a student at Duke University for the last 32 months since the event
happened which gave rise to the disciplinary proceedings.

      WHEREFORE, Plaintiff prays the Court to enter a temporary restraining order requiring
Duke University to return the Plaintiff to his status as a student immediately prior to the
suspension decision of October 7, 2020.


                                                      THOMAS , FERGUSON & BESKIND, LLP

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                                                             Emilia I. Beskind                                      '
                                                             119 East Main Street
                                                             Durham, NC 27701
                                                             (919) 682-5648 Telephone
                                                             (919) 688-7251 Facsimile
                                                             Beskind@tfblawyers.com




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                                   Jay ~/ Fers
                                   119 East Main Street
                                   Durham , NC 27701
                                   (919) 682-5648 Telephone
                                   (919) 688-7251 Facsimile
                                   Ferguson@tfblawyers.com

                                   COUNSEL FOR PLAINTIFF




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                                                                                                                                 ►
                                                                                                                                         No.
 STATE OF NORTH CAF\. _,LINA                                                                                                              -
                                                                                                                                                               20CVS
                       Durham                                                                                                                 In The General Court Of Justice
                                                     County                                                                            D District     lg] Superior Court Division
Name And Address Of Plaintiff 1
John Doe
c/o Emilia Beskind, 119 E Main St, Durhft'!r,               ff 27.!'9l"\
                                                     ti    ', ·..' : . ,,;, ~'.·~- J.l'   ~ .,,·                                    GENERAL
                                                                                                                           CIVIL ACTION COVER SHEET
Name And Address Of Plaintiff 2
                                              ZOZO        OCT - 7 P 12: 01                                                 0   INITIAL FILING       0   SUBSEQUENT FILING

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                                              rr' -".M .....C4       .~~·--
                                                                     ~
                                                                                                                     Rule S(b) of the General Rules of Practice for the Superior and District Courts
                                                                                                          Name And Address Of Attorney Or Party, If Not Represented
                                    VERSUS                                                                (complete for initial appearance or change of address)
Name And Address Of Defendant 1                                                                            Emilia I. Beskind
Duke University
                                                                                                           119 E. Main Street
                                                                                                           Durham, NC 27701


Summons Submitted
                                                                                                           Telephone No.
                                                                                                                       919.682.5648
                                                                                                                                                        I
                                                                                                                                                        Cellular Telephone No.

                                  ig]Yes      □ No                                                         NC Attorney Bar No.
                                                                                                                  47241
                                                                                                                                  I  Attorney Email Address
                                                                                                                                     beskind@tfblawyers.com
Name And Address Of Defendant 2
                                                                                                                   [gj Initial Appearance in Case             D Change of Address
                                                                                                           Name Of Firm
                                                                                                           Thomas, Ferguson & Beskind, LLP
                                                                                                                                                                        IFax No.
                                                                                                                                                                              919.688.7251
Summons Submitted                                                                                          Counsel For
                                                                                                           0  All Plaintiffs      D All Defendants 0             Only: (list party(ies) represented)
                                  OYes        □ No

                                  lg] Jury Demanded In Pleading                                    D Complex Litigation          D Stipulate to Arbitration
                                                                             I                TYPE OF PLEADING                   I
       (check all that apply)
 □ Amend (AMND)                                                                                             0 Failure To State A Claim (FASC)
 D Amended Answer/Reply (AMND-Response)                                                                     D Implementation Of Wage Withholding In Non-IV-D Cases (OTHR)
 0 Amended Complaint (AMND)                                                                                 0 Improper Venue/Division (IMVN)
 D Assess Costs (COST)                                                                                      D Including Attorney's Fees (ATTY)
 D Answer/Reply (ANSW-Response) (see Note}                                                                  D Intervene (INTR)
 D Change Venue (CHVN)                                                                                      0 lnterplead (0THR)
 lg) Complaint (COMP)                                                                                       D Lack Of Jurisdiction (Person) (LJPN)
 D Confession Of Judgment (CNFJ)                                                                            D Lack Of Jurisdiction (Subject Matter) (LJSM)
 D Consent Order (CONS)                                                                                     0 Modification Of Child Support In IV-D Actions (MSUP)
 0     Consolidate (CNSL)                                                                                   0 Notice Of Dismissal With Or Without Prejudice (VOLD)
 0 Contempt (CNTP)                                                                                          D Petition To Sue As Indigent (0THR)
 D Continue (CNTN)                                                                                          0 Rule 12 Motion In Lieu Of Answer (MOLA}
 0 Compel (CMPL)                                                                                            D Sanctions (SANC)
 D Counterclaim (CTCL) Assess Court Costs                                                                   0 Set Aside (OTHR)
 D Crossclaim (list on back) (CRSS) Assess Court Costs                                                      0 Show Cause (SHOW)
 D Dismiss (DISM) Assess Court Costs                                                                        D Transfer (TRFR)
 D Exempt/Waive Mediation (EXMD)                                                                            0 Third Party Complaint (list Third Party Defendants on back) (TPCL)
 D Extend Statute Of Limitations, Rule 9 (ES0L)                                                             D Vacate/Modify Judgment (VCMD)
 D Extend Time For Complaint (EXCO)                                                                         0 Withdraw As Counsel (WDCN)
  0    Failure To Join Necessary Party (FJNP)                                                               D Other (specify and list each separately)

  NOTE: A// filings in civil actions shall include as the first page of the filing a cover sheet summarizing the critical elements of the filing in a format prescribed by
            the Administrative Office of the Courts, and the Clerk of Superior Court shall require a party to refile a filing which does not include the required cover
            sheet. For subsequent filings in civil actions, the filing party must include either a General Civil (AOC-CV-751), Motion (AOC-CV-752), or Court Action
            (AOC-CV-753) cover sheet.
                                                                                                        (Over)
      AOC-CV-751 , Rev. 3/19, © 2019 Administrative Office of the Courts

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NORTH CAROLINA                                                                 IN THE GENERAL COURT OF JUSTICE
                                                                                    SUPERIOR COURT DIVISION
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DURHAM COUNTY
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                                                                       ··

       vs.                                                                     COMPLAINT

DUKE UNIVERSITY




       COMES NOW the Plaintiff, and for his complaint against the Defendant Duke University

alleges as follows:

                                                              THE PARTIES

       1.      This suit arises as a result of false allegations that Plaintiff, a male student at Duke

University, sexually assaulted a female Duke University student (hereafter referred to as

"Complainant"). Plaintiff files this suit under the pseudonym "John Doe" to protect the privacy

of both the Plaintiff and the Complainant. He is known to the Defendant and is

referenced/identified in many of the exhibits attached hereto although his name and the name of

the Complainant have been redacted.

        2.     Plaintiff is a citizen and resident of Durham County, North Carolina. At all times

relevant to this action, Plaintiff was a student at Duke University in Durham County, North

Carolina.

        3.     Defendant Duke University (hereafter "Duke") is a nonprofit corporation formed

under the laws of North Carolina, with its primary place of business in Durham County, North

Carolina.




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       4.      This suit challenges the propriety of an action by Duke to suspend Plaintiff for

allegedly violating its Sexual Misconduct Policy. Said policy which was in effect at all times

alleged herein is attached hereto as Exhibit A.


                                     JURISDICTION AND VENUE

       5.      The Superior Court of Durham County has subject matter jurisdiction over this

action because it arises under the common law of North Carolina, and the amount in controversy

exceeds $25,000, exclusive of interest and costs.

       6.      Venue is proper because all parties are residents of Durham County and all of the

events giving rise to these claims occurred in Durham County.


                                      FACTUAL ALLEGATIONS

       7.      At all times herein alleged, Plaintiff was enrolled as a student at Duke, pursuant to

an educational contract ("contract") between Plaintiff and Duke.

        8.     Plaintiff matriculated to Duke in 2017.

        9.     Plaintiff attended Duke on a partial scholarship. While part of the costs of

Plaintiffs attendance was covered by the scholarship, his family paid more $220, 218 dollarsto

cover the remaining costs.

        10.    Plaintiff is an accomplished student and has maintained a GPA of 3.97.

        11.     While at Duke, Plaintiff also worked as TA in 4 classes

        12.     Plaintiff was in the final steps of becoming a Rhodes Scholar nominee from Duke

University.

        13.     That nomination was suddenly withdrawn after the hearing panel's finding of

responsibility but before the completion of an appeal despite the fact that the student conduct

process at that stage was confidential and not yet final.




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        14.         Except for the allegation noted below, Plaintiff has maintained a clean

disciplinary record while enrolled at Duke.

                                                 January 19, 2018

        15.         During the early morning hours of January 19, 2018, Complainant and Plaintiff

engaged in sexual contact and activities.

        16.         At the time, Plaintiff was a first-year student at Duke and the Complainant was a

first-year student.

        17.         Plaintiff and Complainant agree, and there is no dispute that, the following facts

about the encounter between them are true:

              a. The two met a few days prior to the night in question. They met up again at a
                 "pre-game" party on the night of January 18, 2018.                 ·

              b. After the "pre-game", Plaintiff and the Complainant went together to Devine' s - a
                 local bar. While at Devine's, the two were separated.

              c. Plaintiff left Devine's without the Complainant and returned to his room to go to
                 sleep.

              d. At 12:25 a.m., on January 19, 2018, the Complainant texted the Plaintiff
                 indicating that she was upset that they had been separated at Devine's because she
                 had wanted to hook up with Plaintiff.

              e. The Plaintiff said he was still at Devine's and asked where the Complainant was.
                 She replied that she had left, and she was mad at the Plaintiff because she wanted
                 to hook up with him.

              f.    Plaintiff told the Complainant by text he had returned to his dorm and invited her
                    to join him there.

              h. When Complainant arrived at Plaintiff's room, the two voluntarily engaged in the
                 following consensual, sexual acts: oral sex, vaginal intercourse, and anal
                 penetration of the Complainant.

              i.    Complainant then requested anal intercourse.




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       18.      Plaintiff and Complainant disagree about the exact wording of Complainant's

suggestion to have anal intercourse and that disagreement between them formed the heart of a

Duke Sexual Misconduct case wherein Plaintiff was the respondent. The Complainant asserts

that she said she suggested having anal-penile intercourse and requested that the Plaintiff use

manufactured lubricant. Plaintiff asserts that she requested anal-penile intercourse , but that

there was no discussion of lubricant .


                       Procedural History of Student Disciplinary Proceedings

       19.      While the aforementioned incident happened on January 19, 2018 the disciplinary

process at Duke University was not instituted until over a year later, on February 10, 2018

       -20.     On February 10, 2018, Plaintiff received notice from Victoria Krebs asking him to

come in a meet with her. A meeting was scheduled for the following day, February 11, 2018.

       21 .     Victoria Krebs is Associate Dean of Students, Title IX Outreach and Response

Coordinator, and at all times alleged herein was an agent of Duke.

       22.      According to the Duke University Sexual Misconduct Policy, the purpose of this

meeting "is to inform the respondent of the University's disciplinary process and possible

outcomes."

        23 .    Instead of simply providing information, Dean Krebs began asking the Plaintiff

many questions about the incident that occurred a year earlier. She took extensive notes

throughout that conversation.

        24.     At that time the investigation did not go forward because the Complainant

decided to not participate in the student disciplinary process.

        25.     In May, 2020, over two years after the incident between the Plaintiff and

Complainant, the Complainant decided to reinitiate her complaint from two years earlier. As a




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result of the complaint, Duke assigned two trained investigators to conduct interviews of all the

witnesses the school deemed relevant.

       26.       After all the witnesses deemed relevant were interviewed, an investigative report

was issued by Duke.

       27.       Included in the report was a small section of Dean Krebs' notes from her meeting

with the Plaintiff in February 2018 even though she was never interviewed by the Duke

investigators.

       28.       After receiving the report, Plaintiff asked for and was granted a meeting with

Dean Jenna McCullers, a co-worker of Dean Krebs, to talk about the report and the upcoming

disciplinary hearing.

       29.       At all times alleged herein Jenna McCullers was an agent of Duke.

        30.      That meeting took place on July 31, 2020.

        31.      At that meeting Plaintiff raised his concerns about Dean Krebs' inclusion in his

case. Plaintiff asked Dean McCullers whether Dean Krebs would testify as a witness and he

specifically requested a copy of her complete notes as the investigative report only contained a

very small snippet of the notes. Dean McCullers told Plaintiff that it was unclear whether Dean

Krebs would testify and that Plaintiffs request for Krebs' notes would be considered.

        32.      The disciplinary hearing took place on August 6, 2020. Krebs' notes were never

provided to Plaintiff or his counsel.

        33.      The critical issue to be decided by the disciplinary hearing panel under the

Student Sexual Misconduct policies which is relevant for this suit was: What kind of lubricant

was consented to during the anal sex proposed by the Complainant? See Exhibit B Hearing

Report, p2.




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       34.     In deciding this issue, the hearing panel was required to make a credibility

determination between the Plaintiff and the Complainant. Both parties agreed that the

Complainant suggested having anal sex. However, the Complainant claimed that she asked the

Respondent to use manufactured lubrication and the Plaintiff agreed that she requested anal sex

but didn't say anything about lubricant. At its base, the question was whether the Complainant

told Plaintiff what kind oflubricant to use during anal sex.

       3 5.    Central to this decision by the hearing panel was the snippet of notes provided by

Victoria Krebs within the investigative report as well her oral testimony before the hearing panel.

The snippet that was set forth within the investigative report quoted Plaintiff as saying to Krebs:

"she said she wanted to have anal sex, so he looked for lube. He had none so he tried with spit.

She said ow and he stopped immediately, and they went back to having vaginal sex." See

Exhibit C. Investigative Report, pp. 36-37.

       36.      A great deal of the questions asked by the panel dealt with this moment in time

and this search for lubricant, and in the findings by the hearing panel, it said that it based its

credibility determination on this moment in time.

        37.     The quoted snippet was contained within a two-page document. The remainder of

the document was entirely redacted and never provided to Plaintiff.

        38.     The Plaintiff was found responsible and given a sanction of a three-semester

suspension along with some required meetings and classes on the concept of affirmative consent.

        39.     Plaintiff appealed the finding of the hearing panel that he violated the Student

Sexual Misconduct Policy on the grounds of procedural error. In that appeal he raised concerns

about Dean Krebs' role in this process, his inability to question her because he did not receive

her notes, as well as other procedural errors.




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       40.      On September 30, 2020, the Plaintiff appeared before the Appeal Board to

amplify the grounds for his appeal. During that meeting, Dean Krebs and Dean Jenna McCullers

were both called to testify to the board.

       41.      Dean McCullers testified that the Plaintiff would have been entitled to Dean

Krebs' notes. However, she stated first that she did not remember meeting with the Plaintiff prior

to the hearing. Then, when she was presented with evidence of her zoom meeting request prior to

the original hearing, she testified that she did not remember what was discussed in that meeting

and did not remember the Plaintiff requesting Dean Krebs' notes.

       42.      Plaintiff then offered to submit affidavits from Joe Cheshire and Catherine

Brown. his two attorneys who were part of that meeting. verifying that they asked for the notes

prior to the hearing. The Appeal Board denied his request to submit those affidavits.

       43.      On October 7, 2020, the appeal was denied by Duke. See Exhibit D

       44.      In the Appellate Panel Decision letter dated October 7, 2020, the Appeal Board

claimed that Dean McCullers denied that the notes had been requested, which was not an

accurate statement. She did not remember the meeting occurring at all and had to be reminded

with a Zoom invite. The Panel also said that Plaintiff had no evidence he had requested the notes.

The Appeal Board failed to mention that it would not allow Plaintiff to present the evidence

corroborating his testimony that the notes had been requested.

        45.     Plaintiff has exhausted his appeals through the Student Sexual Misconduct Policy.


             FIRST CAUSE OF ACTION: FAILURE TO PROVIDE PLAINTIFF WITH
               COMMON LAW FUNDAMENTAL FAIRNESS AND DUE PROCESS


        46.     Plaintiff incorporates all the preceding allegations by reference here.




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  Duke Violated Plaintiff's Due Process Rights by Failing to Allow Him to Review a Kev
                    Witness's Notes Prior to or During the Hearing


       4 7.    As previously noted, prior to the hearing in this matter, Plaintiff was informed

that Dean Krebs might testify. Her testimony would relate to statements made by Plaintiff to

Krebs during their meeting and the snippet of notes included in the investigative report. The

Plaintiff asked for and was subsequently denied the right to review or copy the rest of those notes

which were taken contemporaneously more than a year before.

       48.     Dean Krebs testified before the hearing panel from these notes at the hearing but

refused to share those notes with the Plaintiff.

       49.     Further, unlike any statements during the properly laid out investigative process

mandated by the Duke Sexual Misconduct policy, Plaintiff was not given a chance to review the

notes prior to them being included in the report in redacted form.

        50.    During the regular investigative process conducted by trained investigators, the

complainant and the respondent are given the opportunity to review what the investigator has

documented and if there are errors, they may respond to the errors. If they believe they have been

misquoted or misunderstood they are given the ability to comment on it. Here, the Plaintiff was

not given that right because he was never shown Dean Krebs' notes.

        51.     The Duke Sexual Misconduct Policy gives a respondent the right to pose

questions to witnesses. Those questions are vetted by the hearing panel chair before being asked.

Here, the Plaintiff could not propose questions based on the witness's contemporaneous notes

because he was only given a snippet of those notes despite his request before the hearing.

        52.     The timing of these notes also adds to the fundamental unfairness of withholding

them during a hearing. The incident in this case happened in January 2018. When the Plaintiff




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was interviewed by Duke investigators in May 2020 about the minute details of the encounter

with the Complainant, he often said he did not remember because it had been more than two

years since the event.

        53.       Dean Krebs' informational meeting with the Plaintiff which turned into an

investigative interview occurred more than a year before - in February 2019 - closer in time to

when the events occurred. To deny the respondent the right to his own statements which were

closer in time to the event was fundamentally unfair.

        54.       Included in the investigative report was an exchange between the investigator

Ericka Lewis and the Plaintiff. In that exchanged the investigator claims that Victoria Krebs'

notes say the Plaintiff said that "he was not as nice as he should have been" after the sexual

encounter ended. The notes provided in the report do not include this statement by the Plaintiff.

This means that the investigators had access to more information in the notes than was shown to

the Plaintiff.

        55.       The Office of Student Conduct, often Dean Krebs or one of her coworkers, is the

entity that decides what information is redacted from an investigative report. It is also the entity

that directs the actions of the investigators.

        56.       The end result of this direction and withholding was that Dean Krebs, a witness,

controlled what information she provided to the Plaintiff and what information was included in

the investigative report that went to the hearing panel.

        57.       This was fundamentally unfair and denied the Plaintiff the measure of Due

Process he is entitled to under the Duke Student Sexual Misconduct Policy.


 Duke Violated the Plaintiff's Due Process Rights by Not Recusing Dean Krebs and her Co
  Worker's at the Office of Student Conduct from the Decision-Making Process Once She
                               Became an Important Witness




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       58.     Victoria Krebs and the Office of Student Conduct are tasked with making

relevance determinations and directing the actions of the investigators assigned to investigate

sexual misconduct cases.

       59.     Here, because Dean Krebs was an important witness, she had an interest in what

information was provided to Plaintiff because she knew she would be subject to cross

examination and said notes would be scrutinized by the hearing panel. Krebs arbitrarily and

capriciously chose which section of her notes to provide to investigators. Krebs knew that if the

remainder of her notes were not provided to Plaintiff, then her testimony could not be challenged

or called into question through cross examination.

       60.      It is arbitrary and capricious, fundamentally unfair and a violation of Due Process

for a witness to act as both the gatekeeper of information provided to the investigators (and

hearing panel) and to serve as a factual witness. This allows a witness to insulate herself from

any type of challenging cross examination by denying a respondent basic evidence to which he

was entitled even under Duke's own Sexual Misconduct Policy.

       61.     Had Victoria Krebs acted in accordance with the role laid out for her under the

Duke Sexual Misconduct policy during the initial meeting with the Plaintiff and merely provided

information about his rights during the process she would have been able to make fair

evidentiary gatekeeping decisions. However, she chose to conduct her own investigation. In

doing so she created a conflict which adversely affected the integrity of the hearing process,

thereby denying Plaintiff his right to Due Process.

        62.    The decision on what information was included in the investigative report and

what information was provided to Plaintiff should have been made by a conflict-free individual

with no stake in the outcome of that decision. Accordingly, once Dean Krebs decided to




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interrogate Plaintiff, neither Dean Krebs nor one of her co-workers should have been a part of

the decision of what information would be provided to the investigators.

        63 .    A university and its agents are under a common law obligation to not expel or

impose severe discipline without providing fundamental fairness and Due Process.

        64.     Duke failed to adhere to principles of fundamental fairness in its dealings with its

student, Plaintiff.

        65.     Duke did not follow its own internal rules and procedures with respect to the

disciplinary proceedings against Plaintiff.

        66.     Duke did not provide a fair disciplinary process.

        67.     Duke, through the actions of the Office of Student Conduct and Dean Krebs

allowed an interested witness to control if there was a hearing, what information would be

provided during the hearing, and what information was provided to Plaintiff for evaluation and

cross examination.

        68.     The actions of Duke amounted to a denial of Due Process and violated

Defendant's obligation to treat Plaintiff fairly.

        69.     Plaintiff suffered substantial harm as a direct and proximate result of the

Defendants' actions, including but not limited to, being found guilty of sexual misconduct, being

suspended from school for three semesters, loss of his nomination as Rhodes scholar, and loss of

job opportunities. Plaintiff has been damaged in an amount in excess of $25,000 and is entitled to

recover in excess of $25,000 from Duke for the fundamental unfairness of its Student Sexual

Misconduct hearing process and the denial of Plaintiffs rights to Due Process.


                       SECOND CAUSE OF ACTION: BREACH OF CONTRACT

         70.     Plaintiff incorporates all of the proceeding allegations by reference here.




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       71.     Upon Plaintiff's enrollment, Plaintiff and Duke mutually entered into a

contractual relationship ("the Contract"). The specific, certain, and identifiable terms of the

Contract are set forth in The Duke Community Standard and Undergraduate Policies (see Exhibit

E ), including the specific promised disciplinary procedures, procedural safeguards, appellate

process, and substantive rights of the student, if accused of a violation of the Duke University

conduct requirements. Likewise, the Contract sets forth the rights of Defendant Duke University

with regard to addressing misconduct. The Contract is a binding contract with respect to Duke's

authority to regulate, discipline, punish, sanction, suspend, or expel Plaintiff from Duke, among

other limitations and obligations.

       72.     The Plaintiff and Duke mutually intended to be bound by these terms.

       73.     The Contract requires Duke to act fairly. It states that the purpose of the

undergraduate disciplinary process is to "promote honesty, fairness and respect," and to "provide

a fair and effective mechanism for resolving cases." Moreover, it guarantees an accused student

the right to a fair and impartial hearing in accordance with written policies and procedures.

        74.    The Contract also includes implied terms of good faith and fair dealing.

        75.    Duke's actions as described above violated both the express and implied terms of

the Contract. Dean Krebs and the Office of Student Conduct failed to act in good faith, treat the

plaintiff fairly, and through self-dealing denied him the Contract's guarantee of a fair hearing.

        76.     Duke's actions, as described above, violated the express terms of the Contract,

particularly regarding a student's rights to propose relevant questions during a hearing.

        77.     Here the decision of the hearing panel turned on testimony by Dean Krebs. She

testified from contemporaneous notes she took during an "initial meeting" with Plaintiff.




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       78.      The Duke Sexual Misconduct policy states that during the "initial meeting",

Student Conduct, in this case Dean Krebs, "will inform the respondent of the University's

disciplinary process and possible outcomes." See Duke Sexual Misconduct Policy Exhibit A).

       79.      Dean Krebs instead used that "initial meeting" as an investigative interview where

she sought information from Plaintiff about the incident and then later that night wrote down

what she believes he said in the form of two pages of notes.

       80.      This is not the role laid out for the Title IX Coordinator in the Sexual Misconduct

Policy. In the policy the Title IX Coordinator exists as neutral gatekeeper who provides

information to both parties, determines if complaints meet the evidentiary threshold to proceed to

a hearing, and makes decisions on what evidence is relevant to include in the investigativ_e packet

submitted to a hearing panel.

       81.      Unlike the actual investigators tasked by Duke with looking into the allegations of

sexual misconduct, Dean Krebs did not reduce her impromptu investigation to writing and share

that information with client prior to the hearing giving him a chance to object to any errors.

Instead Dean Krebs unilaterally and arbitrarily refused to disclose her notes to Plaintiff.

       82.      Only two sentences of those notes were provided to Plaintiff. Those two sentences

appear to have formed the basis for the hearing panel's finding of responsibility of a violation of

the Student Sexual Misconduct policy by Plaintiff.

        83 .    Without a chance to review the notes prior to Dean Krebs' testimony, Plaintiff

was denied the ability to use the rest of the document to question Dean Krebs about the totality

of her investigation or to refresh his recollection about two-year-old allegations.

        84.     The entity of Duke that denied Plaintiff that information prior to the hearing was

the Office of Student Conduct acting through Duke agents, Dean Krebs or her co-workers.




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       85.     When Dean Krebs stepped outside the role specified in the Contract and became

an investigator and subsequently a witness in this matter, she relinquished her role as a neutral

arbiter and became interested in the outcome.

       86.     Not only was Krebs a witness but she was also part of the body tasked with

deciding what information was included in the hearing packet that the panel read prior to the

proceeding.

       87.     Krebs was the person who presented what the panel considered to be material

evidence of Plaintiffs guilt; however, she was also either the person or part the organization

tasked with deciding if the Complainant met the evidentiary threshold to proceed to a hearing.

       88.     The Sexual Misconduct Policy indicates that the complainant and respondent will

be treated fairly. This implies that the body which controls every aspect of the process will not

favor one side over the other or engage in self-dealing for some other reason.

       89.     The very fact that Dean Krebs stepped outside of her role and became an

investigator indicates a lack of impartiality from the beginning of the process.

        90.    Further, Krebs acted as both a witness and an investigator. Every other witness in

this process was interviewed by the trained investigators. Krebs was not interviewed. She merely

inserted a self-selected portion of her notes into the report and refused to disclose the remainder

which Plaintiff believes, and therefore alleges, were exculpatory.

        91.    Once Krebs took the aforementioned actions it was no longer possible for her to

act impartially.

        92.     Because of Dean Krebs' extra-contractual actions, Plaintiff was denied a neutral

decision maker.




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       93.     Krebs was the person who sponsored the evidence. It follows that she would

believe that her evidence was relevant and should be included.

       94.     Plaintiff was entitled to a fair decision by the Office of Student Conduct after the

investigation was completed on whether, given the information gathered, there should even be a

hearing. However, the person who made that decision, Dean Krebs or one of her co-workers,

could not have been neutral because the evidence came from their office.

       95.     Plaintiff was entitled to a fair decision on what information was provided to him

and included in the packet. Again, he did not receive one because the person deciding what

portion of a witness's testimony was relevant was the witness herself - Dean Krebs.

       96.     In addition, the Duke University Sexual misconduct policy grants students the

right to an appeal in sexual misconduct cases.

       97.     Encompassed in this right is the understanding that he appeal will be judged on its

own merits by the assigned appeal committee. That the decision on an appeal will not be made

prior to the actually appeal hearing.

       98.     The Plaintiff was on track to be a Rhodes Scholar nominee from Duke University.

This nomination requires that the University President certify the candidate. The Plaintiff was in

the final stages of that process. The process began and continued well after the accusation of

sexual misconduct was leveled against the Plaintiff. There was no reason it should not continue

until the full process had completed.

        99.     The next mandated step in the hearing process was the Plaintiffs appeal which

was scheduled for September 30, 2020. However, on September 24, 2020 the Plaintiff was called

into a meeting with the Duke committee in charged on the Rhodes nominations and infomed that

the President of Duke University was refusing to put forward his nomination.




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       100.     As the nomination process had begun and continued during the time that the

misconduct complaint was pending it appears that the President of Duke University and the

Rhodes committee took action at the time they did because the considered the process to be

complete and the result final as of September 24, 2020. At that time the Plaintiff had not yet

received his appeal.

       101.     The Universities actions show that the appeals process in this case was a pre

judged forgone conclusion. The head of the University apparently had confidence before the

appeal was heard that it would be denied. This simply not the process that is mandated in the

Duke community standard.

       102.     As a direct result of the breach of contract by Duke, through its agents, Plaintiff

has been damaged in an amount in excess of $25,000 and is entitled to recover in excess of

$25,000 from Duke for this breach.


                              THIRD CAUSE OF ACTION: NEGLIGENCE

        103.    Plaintiff incorporates all of the preceding allegations by reference here.

        104.    Defendant has engaged in an active course of conduct that created a risk of

foreseeable harm to Plaintiff and, as such, Defendant was required to act reasonably.

        105.    Duke owed a duty of care to Plaintiff in the handling of the allegations against

him and the resulting disciplinary process.

        106.    A special relationship exists between a student and a university where the

university has required the student to submit to an investigation and administrative judicial

process, in this case a quasi-criminal process, for allegations serious enough to have suspension

or expulsion as a consequence.




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        107.    In their interactions with Plaintiff, specifically in conducting their investigation

and adjudication of Plaintiffs disciplinary proceedings, Defendant owed Plaintiff a duty to

exercise reasonable care, with regard for the truth, established procedures, fair notice of the

scope of any charged offenses, notice of the procedures used in determining his guilt, and the

important and irreversible consequences of their actions, as well as the Plaintiffs various rights

and interests in general.

        108.    Through their acts set forth above, Defendant, on its own and acting through

agents, breached said duty by carelessly, improperly, and negligently performing assigned duties,

recklessly disregarding exculpatory evidence, and violating its own written procedures.

        109.    Duke had a duty to hire, retain, supervise, and train administrators who adhere to

the policies of Duke and ensure the fairness of any disciplinary process, particularly one leading

to a default consequence of suspension or expulsion.

        110.    At all relevant times set forth Duke, acting through and by its agents, had a

continuing duty to reasonably, carefully, and continuously secure the services of qualified and

well-trained agents, employees, and/or independent contractors, so as to reasonably assure that

they were well-trained in reasonable methods of investigation, including the need for timely

collection of impartial evidence, the thorough and complete investigation of all relevant

allegations, the interviewing of all relevant witnesses and the need for disciplinary hearings to

provide all the rights to accused students as guaranteed in The Duke Community Standard.

        111.    Duke breached its duty to Plaintiff by hiring, retaining, supervising, and training

administrators whom Duke knew or should have known violated Duke's policies and handled

disciplinary processes unfairly and in violation of accused student's rights.




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       112.     Dean Krebs, as an agent of Duke, owed a duty to Plaintiff to conduct the hearing

in a reasonable manner and in compliance with Duke polices. She breached her duties, and the

breach caused Plaintiff substantial harm. Dean Krebs was negligent in her duties by taking it on

herself to become an investigator and subsequently a witness in this case. She again breached her

duties when, after becoming an interested witness in this case, by not recusing herself from any

further decisions such as if the evidence warranted a hearing, when that hearing would be, and

what evidence would be provided to Plaintiff before that hearing.

       113.     The Office of Student Conduct and its employees, had a duty to independently

and fairly review both the investigation and any requests by the parties prior to or during the

hearing. Upon information and belief, the Office of Student Conduct and its employees breached

this duty, by failing to recuse itself when a co-worker, Dean Krebs became an interested party to

the hearing. This breach caused Plaintiff substantial harm, and Duke is liable for the negligence

of its Office of Student Conduct.

        114.    Defendant Duke University is vicariously liable for the negligence of its

employees and agents, including but not limited to, the negligence of Dean Krebs, and the

employees in the Office of Student Conduct.

        115.    As a direct and proximate result of the negligence of Defendant, Plaintiff suffered

substantial harm and damages as stated previously and has incurred damages in an amount in

excess of $25,000 and is entitled to recover in excess of $25,000 from Duke for its negligence.



                      PRELIMINARY AND PERMANENT INJUNCTIVE RELIEF

        116.    Plaintiff incorporates all the preceding allegations by reference here.

        117.    Plaintiff, pursuant to N.C. Gen. Stat§ l-A-1, Rule 65, and N.C. Gen. Stat.§ 1-

485, seeks temporary, preliminary, and permanent injunctive relief enjoining Duke from




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suspending or involuntarily withdrawing Plaintiff from Duke, negatively altering Plaintiffs

status as a student enrolled at Duke.

       118.     Duke's conduct deprives or will deprive Plaintiff of his clearly established rights

and will tend to render any judgment in the litigation ineffectual.

        119.    Plaintiff will suffer irreparable harm if Duke is not preliminarily enjoined from

denying Plaintiff rights during the pendency of the lawsuit.

        120.    Plaintiff will suffer irreparable harm if Duke is not preliminarily and permanently

ettjoined from suspending him and involuntarily withdrawing him from Duke, negatively altering

Plaintiffs status as an enrolled student.

        121.    In support of this injunctive relief sought, Pl_aintiff has filed this verified

Complaint and relies on the allegations herein as well as the documents attached hereto as

Exhibits.




        WHEREFORE, Plaintiff prays the Court as follows:

        1.      For an Order preliminarily and permanently enjoining Defendant Duke University

and anyone acting on its behalf from involuntarily withdrawing Plaintiff from Duke University,

de-enrolling him from classes, terminating his on-campus housing, and any other act or omission

authorized by the purported involuntary withdrawals, suspension, or other negative alteration of

the Plaintiffs status as a student enrolled at Duke University.

        2.      For damages in excess of $25,000.00;

        3.      For costs, interest, and attorney fees;

        4.      For trial by jury; and

        5.      For such other relief as the Court deems just and proper.




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This the   7 day of   Dc1o.bev-   , 2020.


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                                                         /
                                            Emilia I. ~eskind .
                                            Beskind@tfblawyers.com



                                            Jyr/.Fer us
                                            Ferguson@tfblawyers.com
                                            119 East Main Street
                                            Durham, NC 27701
                                            (919) 682-5648 Telephone
                                            (919) 688-7251 Facsimile

                                            Counsel for Plaintiff




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NORTH CAROLINA                            IN THE GENERAL COURT OF JUSTICE
                                               SUPERIOR COURT DIVISION
DURHAM COUNTY                                     20CVS - -- -

JOHN DOE,                      )
                  Plaintiff,   )
                               )
     vs.                       )
                               )
DUKE UNIVERSITY                )
                               )
                  Defendant.   )



                         VERIFICATION FILED UNDER SEAL




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                   Exhibit A




Case 1:20-cv-00996 Document 1-3 Filed 11/02/20 Page 29 of 178
     STUDENT SEXUA
     MISCONDUCT POLICY
     AND PROCEDURES:
     DUKE'S COMM ITM ENT
     TO TITLE IX


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I. INTRODUCTION
Duke University is committed to encouraging and sustaining a learning and living community that is free from harassment,
violence, and prohibited discrimination. In that regard and consistent with federal law (e.g., Title IX of the Education
Amendments of 1972 and the Violence Against Women Act), Duke has developed this comprehensive Student Sexual
Misconduct Policy, applicable to all students (undergraduate, graduate, and professional. or any student enrolled in any Duke
program). Further, Duke conducts extensive education and awareness programs with the goal of preventing and discouraging
sexual/gender violence and other forms of sexual misconduct.
As discussed more fully below, this Student Sexual Misconduct Policy prohibits all forms of sex/gender-based harassment,
sexual/gender violence, sexual exploitation, relationship violence (domestic violence and dating violence), and stalking.
Collectively, these terms are referred to in this policy as "Sexual Misconduct.' They are defined below under "Prohibited
Conduct.' (Note that non-sex/gender-based harassment is also a violation of university policy, as described under the
university's Harassment Policy, available at bit.ly/dukeharassment.)
The Student Sexual Misconduct Policy serves three principal purposes. First. it establishes conduct standards-namely,
prohibited sexual misconduct-for all Duke students. Note that a violation of this policy may also constitute a crime. which can
be independently reported to Duke Police, Durham Police. or other appropriate law enforcement agency.
Second, the Student Sexual Misconduct Policy outlines reporting. investigation, and complaint resolution procedures in cases
where it is alleged that a Duke student has engaged in sexual misconduct. This policy refers to the individual who is the alleged
victim of the behavior(s) in question as the 'complainant" and the student alleged to have committed the violation of the policy
as the "respondent." Both the complainant and the respondent will be treated fairly and with respect throughout the process.
Respondents are entitled to a presumption that there is not a violation of this policy throughout the disciplinary process unless
and until they are found responsible for a violation of this policy.
In the paragraphs that follow. the Student Sexual Misconduct Policy specifies to whom violations of this policy should be
reported. the availability of confidential reporting, administrative actions available to the complainant and the respondent, how
the university will investigate and resolve alleged violations, possible sanctions, and appeals.
The Office of Student Conduct is primarily responsible for implementing these procedures: the Office for Institutional Equity
assists by investigating reports that the Office of Student Conduct refers to it. Anyone with concerns about a possible violation
of the Student Sexual Misconduct Policy by a student is encouraged to contact the Office of Student Conduct at 919-684-6938,
conduct@duke.edu, or via studentaffairs.duke.edu/conduct/report-incident.
Third, the Student Sexual Misconduct Policy describes resources available on campus and in the community to assist
students in dealing with the impact of sexual misconduct. whether it happened recently or in the past. Such services include,'
for example, the Office of Gender Violence Prevention and Intervention (GVPI) in the Women's Center. Counseling and
Psychological Services (CAPS), DukeReach, Duke Police (for possible criminal conduct), and administrative actions arranged or
issued by the Office of Student Conduct, the Office for Institutional Equity, GVPI. and/or the Vice President for Student Affairs (or
designee). In addition, resources are available to respondents during and. in some cases, after the complaint process.
Dr. Benjamin D. Reese (919-684-8222, ben.reese@duke.edu), Vice President of the Office for Institutional Equity (oie.duke.
edu), is the individual responsible for the coordination and administration of Duke's nondiscrimination and harassment policies
generally, Howard Kallem (919-684-1437, howard.kallem@duke.edu), also in the Office for Institutional Equity, is the Director
ofTitle IX Compliance (Title IX Coordinator). In this role, Mr. Kallem is responsible for overseeing the university's Title IX
compliance, including this policy and its complaint-resolution procedures: as such, Mr. Kallem receives comments/concerns
from students about this policy's implementation. The Office for Institutional Equity is located in Smith Warehouse, 114 S.
Buchanan Blvd., Bay 8, Durham, North Carolina, 27708.




CONFIDENTIALITY
A student may discuss an alleged violation of this policy without the information being reported to the Office of Student Con-
duct with those who serve in a professional role in which communication is privileged under North Carolina law and to those
whom the university has designated as a confidential resource consistent with Title IX. Those persons include:

    •    Student Health staff
    •    Counseling & Psychological Services (CAPS) staff
    •    Women's Center staff
    •    Clergy who are acting as such in their professional role at Duke
    •    Ombudsperson




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Students should be aware that. with the exception of these confidential resources, all employees who become aware of
conduct that might fall under this policy are expected to notify the Office of Student Conduct with the names of the parties
involved and the details of the report. Students who serve in an ongoing peer-advising role (such as Resident Assistants) are
also expected to file such reports with the Office of Student Conduct.




INFORMATION FOR COMPLAINANTS
Complainants will be treated with respect before, during, and after the disciplinary process. During an initial meeting, the Office
of Student Conduct will inform the complainant of the university's disciplinary process and possible outcomes. The Office of
Student Conduct will communicate substantive and. when warranted, procedural developments regarding an investigation.
The alleged conduct may also be criminal in nature, and complainants have the right to report-or not to report-the conduct
to Duke Police, Durham Police, or other appropriate law enforcement agency. A criminal report does not preclude university
disciplinary action.
Complainants are strongly encouraged to seek counseling and support available through resources such as Gender Violence
Prevention and Intervention (GVPll in the Women's Center. Counseling and Psychological Services (CAPS), and Durham
Crisis Response Center (DCRC). For more information on these resources, please see 'Support Services and Options for
Complainants" on page 48.
Regardless of whether a complainant pursues a criminal complaint and/or the university's complaint process through this
policy, the university may investigate the incident(s) in question and will take appropriate responsive action to ensure that the
educational environment is free of harassment and to prevent the recurrence of a hostile environment-and, if appropriate.
remedy the e1fects of the alleged harassment on the complainant. As discussed later in the policy, remedies available to a
complainant may include, but are not limited to: reasonable academic accommodations. on-campus housing reassignment.
a "no contact" directive between the respondent and the complainant. and disciplinary action against the respondent as
determined through the disciplinary process outlined in this policy. Mediation is not appropriate for any allegation of sexual
violence.
A complainant may request or the university may issue administrative actions and supports such as a "no contact" directive and
changes to ac;ademic and living situations through the Office of Student Conduct. GVPI in the Women's Center, and/or the Title
IX Coordinator regardless of whether a complainant files a formal report. A complainant will be notified as to what changes are
reasonably available and/or are being implemented.




INFORMATION FOR RESPONDENTS
Respondents will be treated with respect before, during . and after the disciplinary process. During an initial meeting, the Office
of Student Conduct will inform the respondent of the university's disciplinary process and possible outcomes. The Office of
Student Conduct will communicate substantive and, when warranted. procedural developments regarding an investigation.
Note that alleged behavior may also be criminal in nature. and a respondent may be subject to a criminal investigation by the
appropriate law enforcement agency at the same time as an investigation by the university under this policy; the respondent
may wish to consult with a criminal lawyer as the Office of Student Conduct does not provide advice as to the criminal process.
Respondents are entitled to a presumption that there is not a violation of this policy throughout the disciplinary process unless
and until they are found responsible for a violation of this policy.
Respondents have the right to (and are strongly encouraged to seek) counseling and support available through resources such
as CAPS, DukeReach, or other university and local resources.
A respondent may request. or the Office of Student Conduct and/or the Title IX Coordinator may change. academic and living
situations and will be notified as to what changes are reasonably available and/ or are being implemented.



11. SCOPE
This Student Sexual Misconduct Policy applies to any instance in which any Duke student (undergraduate. graduate.
professional. or any student enrolled in any Duke program) is alleged to have engaged in sexual misconduct against anyone
(e.g., a student. employee, or third party such as a visiting athlete, guest speaker. or contractor). regardless of the complainant's
or respondent's sex. gender, sexual orientation, or gender identity.' The university will respond to any complaint of sexual

1The Office for Institutional Equity (Smith Warehouse, Bay 8, 919-684-8222) receives reports and handles complaints alleging
sexual misconduct by employees and all other non-Duke students under the Duke University Harassment Policy, oie.duke.
edu/we-can-help/complaints-and-concerns/harassment.




                                                                                                                                        41


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misconduct. including conduct alleged to have occurred during breaks, leaves of absence, or periods of dismissal. whether
on or off campus. The disciplinary process is available as an option while a respondent remains a student at Duke. With the
agreement of the Vice President for Student Affairs and the dean of the respondent's college or school, disciplinary action may
be taken against a student who has graduated and is alleged to have committed a violation while a student.



Ill. PROHIBITED CONDUCT
Rule. Duke University prohibits all forms of sex/gender-based harassment. sexual/gender violence, sexual exploitation,
relationship violence (domestic violence and dating violence), and stalking.
Sex/Gender-Based Harassment. Sex- or gender-based harassment may take two forms:
One form of harassment is unwelcome verbal or physical conduct based on sex that. because of its severity, persistence, and/
or pervasiveness, creates a hostile environment by interfering significantly with an individual's work or education, or adversely
affecting an individual's living conditions.
The other form of harassment is a student's use of a position of authority (e.g., as a TA RA, team captain, or officer in a fraternity
or sorority) to engage in unwelcome sexual advances, requests for sexual favors, or other verbal or physical conduct of a sexual
nature when:
    •      submission to such conduct is explicitly or implicitly made a term or condition of an individual's employment or
           education; or
    •      submission to or rejection of such conduct is used as a basis for decisions affecting an individual's education or
           employment.
The conduct alleged to constitute harassment under this policy must be sufficiently severe, persistent. and/or pervasive to
actually interfere with the complainant's work. education, or living conditions to a significant degree. The severity, persistence,
and/or pervasiveness of the alleged conduct will also be evaluated from the perspective of a reasonable person similarly
situated to the complainant and in consideration of the context of the behavior.
Harassment must be distinguished from behavior that. even though unpleasant or disconcerting, is appropriate to the carrying
out of certain instructional. advisory, or supervisory responsibilities or to legitimate academic and related discussions.
Sexual Violence. Sexual violence is a particularly severe form of harassment defined as any physical act of a sexual nature
based on sex and perpetrated against an individual without consent or when an individual is unable to freely give consent. See
Section IV of this policy (page 43) for more information about consent.
Physical acts of a sexual nature include, but are not limited to, touching or attempted touching of an unwilling person's breasts,
buttocks, inner thighs, groin, or genitalia, either directly or indirectly: and/or sexual penetration (however slight) of another
person's oral. anal. or genital opening with any body part or object.
Sexual Exploitation. Sexual exploitation includes taking sexual advantage of another without consent for one's benefit or the
benefit of another party.




        Examples of conduct that may constitute sex/gender-based harassment include:
           •    Continued unwelcome questioning about intimate or personal matters
           •    Unwelcome touching, or other physical acts of a sexual nature
           •    Severe, persistent, or pervasive comments or jokes of a sexual nature
           •    Severe, persistent. or pervasive unwelcome comments or conduct regarding an individual's sexual
                orientation or gender identity
           •    Sending emails that contain extreme or persistent sexual messages, images, or language
           •    Repeated derogatory comments of a non-sexual nature relating to a particular sex/gender generally and
                targeted to (al specific individual(s) of that sex/gender
           •    Sex/gender-based violence-non-sexual physical assault of an individual because of the individual's sex or
                gender
        Harassment may be verbal. nonverbal or physical and the above list is not exhaustive, but intended only to provide
        general examples of possible prohibited conduct.




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Relationship Violence. Relationship violence is any act of violence or pattern of abusive behavior In an intimate relationship
that is used by one partner to gain or maintain power and control over another partner. Relationship violence can be physical.
sexual. emotional. economic. or psychological actions or threats of actions that influence another person. Relationship violence
includes domestic violence and dating violence (adapted from the Office on Violence Against Women, U.S. Department of
Justice,Justice.gov/ow.t/domestic-violence).
    •      Domestic violence is any act of violence or pattern of abusive behavior committed by a student against the student's
           current or former spouse/cohabitant. person similarly situated under domestic or family violence law, or anyone else
           protected under domestic or family violence law.
    •      Dating violence is any act of violence or pattern of abusive behavior committed by a student who has been in a social
           relationship of a romantic or intimate nature with the complainant. Whether there was such relationship will be gauged
           by its length. type, and frequency of interaction.
Sex/Gender-Based Stalking. Sex/gender-based stalking is a course of conduct (including cyberstalking) directed at a specific
person that would cause a reasonable person to fear for her. his. or others' safety, or to suffer substantial emotional distress.
Stalking by a student not based on sex or gender is addressed under the Stalking Policy.




RETALIATION
Retaliation is prohibited under Title IX and this policy and is adjudicated under this policy and procedures. Retaliation is defined
as words or acts taken in response to a good-faith reporting of sexual misconduct, or to an individual or group's participation
in Duke's complaint process or the follow up to a Duke complaint. The policy's prohibition against retaliation also protects
individuals who oppose through words or actions what they reasonably believe to be sexual misconduct. Retaliation will be
a violation of this policy when it is sufficiently serious (e.g., severe, persistent. and/or pervasive) to discourage a reasonable
person from further such· activity. The protection against retaliation applies to the parties and to all witnesses. All persons who
believe they have been subjected to misconduct under this policy are encouraged and have the option to seek support. utilize
available resources. and come forward with their concern or complaint.




        Fear of retaliation should never be an obstacle to reporting an incident of alleged sex/gender-based harassment.
        sexuaVgender violence. sexual exploitation, relationship violence. or stalking.




IV. CONSENT
Consent is an affirmative decision to engage in mutually acceptable sexual activity freely given by clear actions and/or words.




        Consent is an informed decision made freely and actively by all parties. Relying solely upon nonverbal
        communication can lead to miscommunication. It is important not to make assumptions: if confusion or ambiguity on
        the issue of consent arises anytime during a sexual interaction. it is essential that each participant stops and clarifies.
        verbally. willingness to continue.




Students should understand that consent may not be inferred from silence, passivity, or lack of active resistance alone.
Furthermore, a current or previous dating or sexual relationship is not sufficient to constitute consent. and consent to one form
of sexual activity does not imply consent to other forms of sexual activity.
Conduct is "without consent" if no clear consent, verbal and/or nonverbal. Is given. An individual is "unable to freely give
consent' when the individual is incapacitated (arising, for example. from the use of alcohol or other drugs or when the individual
is passed out. asleep, unconscious, or mentally or physically impaired). An individual is also unable to freely give consent
when the individual is coerced into sexual activity. such as, for example. through the use of physical force. threat of physical or
emotional harm, undue pressure, isolation, or confinement.
The perspective of a reasonable person will be the basis for determining whether a respondent knew, or reasonably should
have known, whether a complainant was able to freely give consent and whether consent was given. Additionally, being




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intoxicated or incapacitated does not diminish one's responsibility to obtain consent and will not be an excuse for sexual
misconduct




     THE IMPACT OF ALCOHOL OR OTHER DRUGS
    The use of alcohol or other drugs can impair effective communication about sexu.al activity and can hinder one's
    ability to pick up on danger cues and resist ah assault. Alcohol or other drugs can also lower inhibitions and create an
    atmosphere of confusion over whether consent is freely and effectively given,




V. COMPLAINT RESOLUTION
A flowchart illustrating the complaint resolution process can be found on page 52.




REPORTING
Students are encouraged to report violations of this policy to the Office of Student Conduct. 200 Crowell Hall, conduct@
duke.edu, 919-684-6938, studentaffairs.duke.edu/conduct/report-incident.
Once a report is received, an investigation and possible immediate and/or interim measures may occur, including adjudication
through the disciplinary process described below, administrative actions (e.g., a 'no contact" directive, trespass from campus.
interim suspension), reasonable academic or housing modifications, or other measures designed to reasonably minimize the
possible recurrence of. and mitigate the effects of, the alleged conduct.




     The Office of Student Conduct handles an alleged violation of this policy when the person alleged to have committed
     a violation is a student. (The Office for Institutional Equity, Smith Warehouse, Bay 8, 919-684-8222, receives reports in
     which the person alleged to have committed a violation is an employee or third party.) Reports involving an alleged
     student respondent may be filed at any time while the respondent remains a student at Duke: prompt reporting can
     aid an investigation.




A complainant may request that the Office of Student Conduct not reveal the complainant's identity in responding to a report.
(In some situations, it may be possible to proceed fully with an investigation without disclosing the name of the complainant.) A
complainant may also request that the university take limited or no action in response to a report.
A request to preserve the confidentiality of any party involved in a report or that no action be taken should be made to the
Office of Student Conduct, 919-684-6938, conduct@duke.edu. Staff in the Office of Student Conduct will confer with the Title
IX Coordinator about the request and inform the party of the extent to which confidentiality may be maintained. The university
will attempt to preserve the confidentiality of the complainant and/or respect a request for limited or no action in response to a
report except when, in the university's judgment, doing so would jeopardize the safety of members of the university community
(including the complainant) or where the university is required by law to disclose the information (such as in response to a legal
process).




IMMEDIATE AND/OR INTERIM MEASURES
The Office of Student Conduct may issue administrative actions immediately and/or on an interim basis as deemed
appropriate, including but not limited to restrictions on contact between the complainant. the respondent. and/ or other
involved parties: exclusion from areas of campus: and, removal or relocation from residential areas. The Office of Student
Conduct adjudicates alleged violations of such through its policies and procedures. The Vice President for Student Affairs, or
designee, may impose an interim suspension.




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TIME FRAMES
The Office of Student Conduct seeks to resolve complaints under this policy within 60 business days from receipt of a report,
excluding days classes are not in session (see additional information about Appeals, on page 47, for additional time frames).
An investigation typically takes 21 to 45 business days to complete. Generally, within 15 business days after completion of
an investigation, an administrative or panel hearing. if applicable, is scheduled. During this time, staff in the Office of Student
Conduct may seek clarifying information and/or meet with a complainant, respondent. investigator, or others.
Circumstances may require the university to extend this overall time frame or any individual time frame discussed in this policy.
Examples of reasons why time frames may need to be extended include the complexity of the case, delays due to fall/spring/
summer/holiday breaks, inclement weather, and other extenuating circumstances. Exceptions to these time frames will be
communicated to the complainant and respondent.




ADVISORS
A complainant and a respondent have access to trained Disciplinary Advisors to guide them through the disciplinary process.
Complainants and respondents may consult with anyone they wish (including an attorney) during any stage of this process.
One advisor of the complainant's/respondent's choice (either the university-appointed Disciplinary Advisor or another advisor
of their choice) may accompany the complainant/respondent to any meeting with Office of Student Conduct staff, the
investigator, or to a hearing. The advisor's role in any meeting or hearing is limited to quietly conferring with the complainant or
respondent through written correspondence or whisper. and th e advisor may not address any other participant or the hearing
panel An advisor may not also be a witness.




INVESTIGATION
After it receives a report, the Office of Student Conduct typically meets with a complainant and respondent separately in order
to review the disciplinary process and to hear an overview of each party's account of the incident. Immediate, interim, and/or
long-term measures may also be discussed. The Office of Student Conduct may use any information gleaned through this and/
or subsequent meetings with the complainant/respondent in the disciplinary process.
If the Office of Student Conduct determines further investigation is warranted, it will refer the report to the Director of Title
IX Compliance, who will assign the case to an investigator from the Office for Institutional Equity. The investigator interviews
witnesses, collects additional information. and submits a written report of relevant information to the Office of Student Conduct.
The Office of Student Conduct will review the report for completeness and relevance (as that term is defined in Section Vil, and
direct further investigation as necessary before the report is shared with the complainant and respondent.
The investigator's final report will be shared with the complainant and respondent. who then have five business days to respond
in writing to the report with any clarifications, witness statements, or other information. The complainant and respondent
must also submit in writing by that time the names of any material witnesses the complainant/respondent wishes to testify
(should the matter proceed to a hearing) and a summary of information each witness would provide through his/her testimony.
(Character witnesses are not permitted.) Names of witnesses provided by the complainant/respondent will be shared with the
other party. After the five-business-day deadline. the complainant and respondent may not provide any additional information
for the hearing packet (defined on page 46) and may not produce any additional material at the hearing, unless that information
was not reasonably available prior to the closing of the five-day window. The hearing panel or the Office of Student Conduct as
appropriate, determines whether to grant exceptions to this five-day deadline.
The Office of Student Conduct will determine what, if any, changes or additions are made to the investigator's report based
upon its review of the report and feedback as described above from the complainant and respondent.
The Office of Student Conduct will determine whether to proceed to a hearing based on its assessment of whether there
is sufficient information to believe that a policy violation may have occurred. The Office of Student Conduct will convey
this decision in writing to the complainant and respondent as applicable, who may ask that the Office of Student Conduct
reconsider its decision.




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VI. HEARING PROCEDURES
When the Office of Student Conduct decides that a case should proceed to a hearing, the case may be resolved either through
an administrative resolution or a hearing panel. Under both types of proceedings, the university will use a 'preponderance of
the evidence" (more likely than not) standard




ADMINISTRATIVE HEARING
At the discretion of the Office of Student Conduct, and with the agreement of both the complainant and respondent. a report
may be resolved through an administrative hearing. The parties will be notified (typically via email) of the specific violations of
the Student Sexual Misconduct Policy under consideration in advance of an administrative hearing. A designee of the Office of
Student Conduct will review the information gathered during the investigation separately and in private with each party and
give each party an opportunity to respond. The designee will determine if the respondent is responsible for the alleged policy
violation(s), and, if so, issue (an) appropriate sanction(sl. The parties will be notified in writing of the outcomes concurrently. If
the respondent or complainant does not accept the administrative hearing resolution, either party may request by the stated
deadline (typically 72 hours after notification of the outcome) a hearing before a hearing panel. as described below. If such
a request is made, the Office of Student Conduct will then proceed in scheduling a hearing panel The proposed outcome
from the administrative hearing will not be disclosed to the hearing panel unless the complainant or respondent shares such
information.




HEARING PANEL
If the Office of Student Conduct decides the case should be resolved through a hearing panel. the Office of Student Conduct
will appoint a specially trained three-person hearing panel (typically including two faculty or staff members and one student
and, when possible, at least one representative of the complainant's and respondent's schoollsll to resolve a complaint under
this policy. A finding of responsibility must be based on a unanimous vote. Sanctions of suspension or expulsion must also be
supported by a unanimous vote, A majority vote is required for all other sanctions.
The following procedures apply to a complaint that proceeds to a hearing panel:
    •    Notice. Both the complainant and the respondent will be notified at least 120 hours in advance of the date and time of
         the hearing and the names of the hearing panelists.
    •    Hearing Packet. In advance of the hearing, the Office of Student Conduct finalizes a packet with information it deems
         relevant to the case to be shared with the hearing panel. The hearing packet typically includes the investigator's
         report (if applicable). The Office of Student Conduct will share a copy of that packet with both the complainant and the
         respondent at Least 120 hours in advance of the hearing.
    •    Conflict of Interest. A complainant and/or respondent may challenge the participation of a panelist because of
         perceived conflict of interest, bias, or prejudice. Such challenges, including rationale, must be made to the Office
         of Student Conduct at least 72 hours prior to the commencement of the hearing. At its discretion, the Office of
         Student Conduct will determine whether such a conflict of interest exists and whether a panelist should be replaced.
         Postponement of a hearing may occur if a replacement panelist cannot be immediately identified.
    •    Witnesses. Th,e hearing panel may, at its discretion, exclude witnesses or witness testimony the panel considers
         irrelevant or duplicative.
    •    Electronic Devices, A respondent, complainant. advisor, and/or witness may not bring electronic devices that capture
         or facilitate communication (e.g., computer, cell phone, audio/video recorder, etc.) into a hearing room, unless
         authorized by the hearing panel The Office of Student Conduct will make an audio recording of the hearing to be
         kept on file for three years. Reasonable care will be taken to create a quality audio recording and minimize technical
         problems: however, technical problems that result in no recording or an inaudible one will not be a valid argument for
         appeal.
    •    Hearing Procedure. A hearing panel has general authority over the conduct of the hearing (e.g .. it may set time
         frames for witness testimony and it may Limit opening/closing statements or their length, etc.). The general course of
         procedure for a panel hearing is as follows: introductions: respondent's statement accepting or denying responsibility:
         opening comments from the complainant: opening comments from the respondent: questions from the panel:
         testimony/questions of other material witnesses (if applicable): closing comments from the complainant: and, closing
         comments from the respondent. A complainant or respondent may not question each other or other witnesses directly,
         but may raise questions to be asked of that party through the hearing panel. which will determine whether to ask
         them. The hearing panel determines the relevancy of any information presented/submitted at the hearing and can
         exclude irrelevant information.




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    •    Hearing Facilitator. A staff member from the Office of Student Conduct will serve as the non-voting hearing facilitator.
    •    Relevance.
         •   In evaluating the relevance of information, the Office of Student Conduct, the investigator from the Office for
             Institutional Equity, or the hearing panel. as appropriate. considers. among other things, whether the information
             bears on a fact at issue in the case, is more prejudicial than probative, or is duplicative.
         •   Polygraph examinations and/or their results are neither admissible nor considered in any part of the disciplinary
             process.
         •   A complainant's or respondent's prior or subsequent sexual activity is typically not relevant and will only be
             considered as evidence when the previous or subsequent behavior was substantially similar to the conduct at
             issue or indicates a pattern of behavior and substantial conformity with that pattern.
The complainant and respondent will receive verbal notification of the decision of a hearing panel no later than five business
days after the hearing. Notification will be individually given to the respondent and complainant at approximately the same
time. A written hearing report outlining the decision and rationale of the hearing panel will be delivered to the respondent and
the complainant typically within 10 business days of the hearing.




SANCTIONS
Sanctions for a finding of responsibility include. but are not limited to, expulsion, suspension, disciplinary probation,
recommended counseling, and/or other educational sanctions. The hearing body will determine the sanctions, first
considering whether expulsion (permanent removal) from the university is appropriate. While expulsion is the starting point for
consideration. the hearing body has discretion to decide that (a) different sanction(s) is (are) appropriate. Factors pertinent to
the determination of what sanction applies include, but are not limited to, the nature of the conduct at issue, prior disciplinary
history of the respondent (shared with a panel only upon a finding of responsibility for the allegation), previous university
response to similar conduct, and university interests (e.g .. in providing a safe environment for all).




LONG-TERM/INDEFINITE MEASURES AND/OR REMEDIES
The Director ofTitle IX Compliance and/or staff in the Office of Student Conduct will work with the complainant and respondent
as applicable,to identify and implement any appropriate/necessary long-term or permanent measures/remedies. The
Director of Title IX Compliance and/or staff in the Office of Student Conduct will also identify appropriate remedies/measures
to address any effects of substantiated conduct on the university community. Long-term remedies/measures may include
extending or making permanent any interim protective measures or implementing additional measures. The Director of Title
IX Compliance and/or staff in the Office of Student Conduct will consider whether there is a need for additional measures/
remedies, which may include 'no contact" directives and reassignment or removal from a class or on-campus living area.




APPEALS
A respondent or complainant may appeal the hearing panel's decision by submitting a written appeal statement within five
business days of the date the hearing report is sent to the parties. Appeals are limited to five pages (12-point font, 1-inch         (/
                                                                                                                                      a:
margins). The two grounds for appeal are:                                                                                             !:;
                                                                                                                                      i:
    1.   New information not reasonably available at the time of the hearing that is material to the hearing panel's decision:         a:
                                                                                                                                       C
         and/or                                                                                                                       f0.
                                                                                                                                      "C
    2.   Procedural error(sl that materially impacted the hearing panel's decision.                                                    C
                                                                                                                                       It

The appeal statement must identify the ground(sl for appeal. Note that an appeal is not a re-hearing of the case.                     -~
The composition of the Appellate Board for cases arising under this policy includes specialty trained members of the university       &
community appointed by the Vice President for Student Affairs. The chair of the Appellate Board or the chair's designee Is            t
responsible for selecting three-person panels from membership of the Appellate Board to consider appeals.                             i:
                                                                                                                                       C

If, by majority vote, the appellate panel determines that a ground of appeal is substantiated. the panel will return the case to
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the Office of Student Conduct. Otherwise, the decision of the hearing panel stands. When a case is returned to the Office of          ~
Student Conduct, the Office of Student Conduct may decide to drop the case {e.g., based on insufficient information to believe        ~
that a poUcy violation may have occurred). send the case to the original hearing panel for reconsideration. send the case to a        ~
                                                                                                                                      rJ.
new hearing panel with the same or di1ferent charges, and/or (relimplement any aspect of the disciplinary process. A different        ca:
decision (i.e .. the decision of responsibility and/or sanctions) may subsequently result.
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Procedures
The Appellate Board's role is limited to reviewing the hearing panel record, the appealing party's ("appellant") written appeal
statement, any response to that statement by the other party ("appellee"), and information presented at a meeting of the
Appellate Board, if convened.
The appellate panel will typically notify the parties of its decision regarding an appeal in writing within 20 business days from
receipt of the appeal statement. If the decision will take longer, the chair will inform the parties.
The following procedures guide the Appellate Board process:
    •      Appeal Statement. The written hearing report will include instructions for submitting an appeal. The chair may
           summarily deny an appeal if it is not based on one or both grounds of appeal
    •      Composition of Panel. If the appeal is not summarily denied by the chair, the chair will convene a three-person panel
           and notify the appellant and appellee of the names of the panel members. When possible, the chair will select at least
           one Appellate Board member from the school community of the complainant and respondent. The appellant and/
           or appellee may challenge the participation of an appellate panelist because of perceived conflict of interest, bias, or
           prejudice. Such challenges, including rationale, must be submitted in writing to the chair no later than 24 hours after
           notification of the names of the appellate panel members. The chair will determine whether such a conflict of interest
           exists and whether a panelist should be replaced.
    •      Response to Appeal. The chair will provide written notice to the appellee that an appeal has been submitted and
           will give the appellee an opportunity to review the appeal statement. The appellee may submit a written response to
           the appeal ("response"). The response is due five business days from the date the chair provides written notice of the
           appeal to the appellee and is limited to five pages (12-point font, 1-inch margins). The chair will provide the appellant
           an opportunity to review the response, though no additional opportunity to respond in writing will be provided to the
           appellant.
    •      Exceptions. The appellant and appellee may submit to the chair requests for exceptions to page limits or deadlines.
           Exceptions must be requested in advance of any deadline by sending an email to appeals@duke.edu, with justification
           for such request(s). If either party fails to meet a deadline or exceeds page limits without receiving an exception, the
           chair has the discretion to summarily reject an appeal or the appellate panel may disregard the response,
    •      Meetings. On its own or at the request of the appellant or appellee, the appellate panel may convene a meeting to
           give the parties an opportunity to amplify the reason(s) for the appeal or the response. If a meeting is convened, the
           appellate panel will invite both the appellant and appellee, who may bring an advisor of their choice to the meeting.
           The advisor's role is limited to quietly conferring with their advisee, and may not address the appellate panel. In the
           event an appeal alleges a procedural error, the appellate panel may request that (al staff member(sl in the Office of
           Student Conduct. the Office for Institutional Equity, and/or member(s) of the hearing panel attend the meeting to
           gather more information about the alleged procedural error.
    •      Written Decision. The Appellate Board will provide written notification of the final decision to the appellant and
           appellee at approximately the same time.




        GETTING HELP
        Any student at Duke University who experiences sexuaVgender violence-regardless of sex/gender-may
        contact the Women's Center at 919-684-3897 or email WCHelp@duke.edu. See 'Support Services anc;l Options for
        Complainants' below for additional information. In case of emergency or immediate threat, call 911 or Duke Police at
        919-684-2444,



        SUPPORT SERVICES AND OPTIONS FOR COMPLAINANTS
        A variety of support resources are available on campus and in the community to assist students in dealing with
        sexual misconduct, whether it happened recently or In the past. The following is a list of helpful resources. Additional
        resource information is available at studentaffairs.duke.edu/wc.
        Information, advocacy, counseling, and emotional support. The Office of Gender Violence Prevention and
        Intervention (GVPI) provides education, advocacy, and support for students who experience sexual and relationship
        violence, sex/gender-based harassment, and sex/gender-based stalking, as well as for their friends and families.

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Students of any gender can receive information, support. and accompaniment regarding medical treatment. reporting
options, academic and residential accommodations, referrals, legal options, and trauma-focused therapy. Walk-in
or scheduled appointments with the GVPI Coordinator are available during business hours by calling 919-684-3897,
emailing womenctr@duke.edu. or by visiting the Women's Center located at 001 Crowell Building (underneath the
Coffeehouse) on.East Campus. Emergency after-hours assistance is available via pager at 919-970-2108. All services
are free and confidential and do not require making a formal report to the poUce or the university.
Counseling and Psychological.Services (CAPS) also offers ongoing counseling servlces: call 919-660-1000 for an
appointment. For 24-hour crisis information and referral. contact the GVPI information line at 919-681-6882, the Dean
on-Call (pager number 919-970-4169). or the Durham Crisis Response Center at 919-403-6562 (for 24-hour hotline). All
services are confidential and do not require making a formal report to the police or the university.
Medical concerns. Students should seek medical attention immediately to have the most options for the prevention
of pregnancy and sexually transmitted infections. Even if physical injuries are not apparent, one may have injuries
as a result of sexual assault that are not easily seen. For immediate and urgent medical concerns. students may go
directly to the Emergency Department (EDJ of Duke Medical Center (off Erwin Road near Trent Hall), Duke Police (911
or 919-684-2444 from non-campus phones) can provide transportation without students having to make a report.
Services available at the Emergency Department are: medical care. evidence collection. emergency contraception.
and sexually transmitted infection prevention.
Evidence can be collected anonymously. Evidence is best collected within 120 hours of the assault. Pursuing a
criminal case is not necessary in order to have the evidence collected anonymously. A blind report can be filed that
includes no identifying information other than a case number. A student may decide Later whether to file a police
report. Health insurance and the State of North Carolina may cover portions of the costs of medical care. The GVPI
coordinator in the Women's Center will help students address any concerns they have about covering the costs of the
medical exam or other related expenses. Both the Emergency Department and Student Health have Sexual Assault
Nurse Examiners (SANE), who are specially trained to work with individuals who have been sexually assaulted.
For less immediate medical concerns, students may schedule an appointment at Student Health (919-681-WELU.
The services available are· medical care, emergency contraception, and sexually transmitted infection prevention.
The student health fee covers all services, except for a minimal charge for emergency contraception. Staff from GVPI
can accompany students to the ED or Student Health.
Reporting to the police. Sexual misconduct may be criminal in nature, and a student may choose to file a report with
law enforcement. Duke Police (911 or 919-684-2444 from non-campus phones) will respond to emergencies and
non-emergencies to provide assistance by intervening in cases of assault. providing transportation to the Emergency
Department. taking reports of an assault. and/or investigating and participating in legal or disciplinary action. They
are responsible for notifying the community in a case of continuing danger. issuing a trespass order that requires
an individual to stay away from campus or a particular area of campus when needed, and providing referrals and
information including how to obtain a restraining order. Assaults that occur off campus may fall under the jurisdiction
of the Durham Police Department or other law enforcement agency. Students may contact the Durham Police
directly (911 off campus or 919-560-4427/560-4609) or the GVPI office or Duke Police can help facilitate reporting.
Blind reporting-filing a report without one's name attached to it-is an available option with both Duke Police and
Durham Police. Regardless of whether a complainant pursues a criminal complaint. the university will investigate the
incident in question and take appropriate responsive action to ensure that the educational environment at Duke is
free of harassment and to prevent the recurrence of a hostile environment. and, as appropriate, to remedy the effects
of the harassment.




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EXAMPLES OF SEXUAL MISCONDUCT
Angela and Aaron have been in an ongoing relationship for a year and a half and have engaged in consensual sexual
intercourse. One night while becoming intimate. Angela stops and says she doesn't feel like having sex that night
Aaron continues to touch her. saying that she got him excited and it wasn't fair of her to lead him o·n like that. Again.
Angela tells him she does not want to have sex. and then is silent. Aaron decides she has given in. and proceeds to
have sexual intercourse with her.
This is a violation of the Student Sexual Misconduct Policy Aaron had sexual intercourse with Angela against her will The
fact that Angela has freely consented to sexual intercourse with Aaron in the past does NOT mean he has her consent in
thls situation.
Erin is talking to several of her friends in the hallway at a crowded party. Ryan. a student she knows from chemistry
class, comes up behind her and places his arms around her waist She says hi to Ryan and continues her
conversation. Ryan gradually moves his hands up to her breasts. She turns to him and tells him to stop, saying she
doesn't want to be touched in that way and that he should have more respect for her. He laughs, tells her she takes
herself too seriously, and again begins to grope her.
This is a violation of the Student Sexual Misconduct Policy. Ryan touched Erin in a sexual way without her consent. and
continued to do so a~er she told him to stop. This behavior is a form of sexual/gender violence.
 Kristen and Myra have been intimate for a few weeks. One night. Myra calls Kristen and asks her to come over. When
she arrives. Myra kisses Kristen passionately and leads her into the bedroom. They each express their excitement and
desire to "hook up,' and are soon making out heavily in Myra's bed. After a while. Kristen tries to engage in oral sex
with Myra. Myra tells Kristen that she really likes her, but that she doesn't feel ready for that Kristen tells Myra she's
just being shy, and ignores her when she repeats that she doesn't feel ready. Finally, Kristen threatens to reveal on the
Internet that Myra is a lesbian. Because Myra has not yet come out to her friends and family, she becomes frightened
and silent. Kristen proceeds with oral sex,

This is a violation of the Student Sexual Misconduct Policy. Because of Kristen '.s manipulative and threatening arguments,
Myra was afraid and unable to freely give her consent. Kristen did not receive consent from Myra and has committed
sexual/gender violence.
Liz and Tom have been together for six months. Liz often tells her friends stories of Tom's sexual prowess. and
decides to prove it to them. One night. she and Tom engage in consensual sexual intercourse. Without Tom's
knowledge. Uz sets up her digital camera to videotape them having sex. The next evening. she uploads the video to
an o·n une video-sharing site and discusses it with her friends on line.

This is a violation of the Student Sexual Misconduct Policy. Tom's consent to engage in sexual intercourse with Liz did NOT
mean Liz had obtained his consent to videotape it This is a form ofsexual exploitation.
Andrew and FeUx have been flirting with each other all night at a party. Around 12:30 a.m., Felix excuses himself to
find a bathroom. Andrew notices Felix slurring his speech. Andrew wonders if Felix went to the bathroom to vomit.
When Felix returns, the two begin flirting more heavily and move to a couch. As the conversation continues, the two
become more relaxed and more physically alfectionate. Andrew soon suggests they go back to his room, and Felix
agrees, As they walk down the stairs, Andrew notices that Felix looks unstable and olfers his arm for support and
balance. When they get back to his room. Andrew leads Felix to the bed and they begin to become intimate. Felix
becomes increasingly passive and appears disoriented. Andrew soon begins to have sexual intercourse with him. The
next morning, Felix thinks they had sex but cannot piece together the events leading .up to it

This is a violation of the Student Sexual Misconduct Policy Felix was passive, and the Policy states that consent may
not be inferred from silence, passivity. or lack of active resistance. Moreover. Felix was clearly incapacitated by alcohol.
and thus unable to freely consent to engage in sexual activity with Andrew. Although Andrew may not have known how
much alcohol Felix hod consumed, he saw indicators from which a reasonable person would conclude that Felix was
incapacitated, and therefore unable to give consent Andrew in no way had consent from Felix.
Denise is a graduate teaching assistant in Paul's economics class. She notes that he has not been performing well on
take-home assignments and exams. Both of them have come to a party, each with their own group of friends. Denise
has "consumed one can of beer, while Paul is rather intoxicated Denise sees Paul and approaches him. She flirts
with him. telling him that she can help him improve his grades if he will hook up with her. As Paul turns to walk away,
Denise grabs his buttocks and squeezes them.




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This is a violation of the Student Sexual Misconduct Policy. Denise. in a position of power over Paul as his teaching
assistant. attempted ta arrange a quid pro quo sexual re[ationship. Additionally. she did not seek consent from Paul to
touch him. even if a reasonable person could conclude that Paul was not too intoxicated in order to provide consent.
A student had recently visited another country: on his return, he wrote an article for The Chronicle in which he
used sexually expUdt terms and examples to describe the treatment of women in that country. Other students are
offended by the article.
This would not be a violation of the Student Sexual Misconduct Policy. Sexual harassment is unwelcome conduct of
a sexual nature that. because of its severity and/or persistence, interferes significantly with an individual's work or
education. The conduct is evaluated from the perspective of a reasonable person and in consideration of the context of
the behavior. It is not enough that other students are offended by the article for it to be a violation of the policy. Duke is
committed to principles of academrc freedom and conduct with a legitimate educational or related purpose will not be
considered a policy violation.
Abby and Mike are graduate students working in the same lab. They have been dating for a year. Abby often calls
Mike names and damages his belongings when she's upset. She once poured a soda over his laptop after she saw
him talking to another woman. Last week, she threw a cell phone at his head when he was late picking her up from
work.
This would be a violation of the Student Sexual Misconduct Policy. Relationship violence, including domestic and dating
violence. includes physical. sexual. emotional. economic. or psychological actions or threats of actions that reasonable
person in similar circumstances would find intimidating. frightening. terrorizing, or threatening.
Monica filed a complaint with the Office of Student Conduct alleging that. after she broke up with Marcus. Marcus
has been stalking her. Marcus has told his friends about the complaint and several of them have launched a Twitter
campaign threatening Monica and the witnesses supporting her claim if Monica doesn't drop the complaint
The conduct by Marcus's friends would be a violation of the Student Sexual Misconduct Policy. The policy prohibits
retaliation against anyone who files a complaint or participates in the investigation of a complaint.




                                                                                                                                 51


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                             STUDENT CONDUCT PROCESS FOR
                            SEXUAL MISCONDUCT ALLEGATIONS
                                                                                                                         /
/

         Student complainant
                                    '                           /

                                                                     OSC sends the student
                                                                                                    '                                Student complainant is informed                  '
         or third party reports                                        complainant a letter                                            of disciplinary option through
           incident of Sexual                                        requesting to meet and                                              the university. Student may
        Misconduct to a) Office                                       outlines resources for                                            participate in the disciplinary
                                                          ,,.
                                                          ~

                                                                                                                   ,,.
          of Student Conduct                                          support. including the                                             process or decline to do so.
      (OSC) or bl to a university                                     option to file a report                                              In some cases, if enough
        employee, who informs                                        with the appropriate law                                             information is available to
           osc and provides                                           enforcement agency.                                                investigate or initiate some
         names of the parties                                   \.                                  .J                                  intervention with al') accused
       involved, if known. Note:
        Employees designated
            as a confidential                        /
                                                                                 i                            '
                                                                                                                                          student. the university will
                                                                                                                                         proceed even if the student
                                                                                                                                     declines to participate, keeping
        resource (e.g .. medical                          OSC forwards to Office of Gender                                                the complainant's request
         providers, therapists,                           Violence Prevention & Intervention                                             for confidentiality to extent
         clergy acting as such                             (GVPll in the Women's Center a                                             possible. Campus environment
          in their professional                            copy of the report. GVPI reaches                                           is evaluated when appropriate.
        role at Duke. university                          out to the complainant to provide                                          OSC will discuss the matter with
          ombudspersonl are                                 confidential support. A student                                           the student complainant (if he/
        exempt from reporting                              who declines to meet with OSC                                              she chooses to meet with OSC)
                 to OSC.                                     may still meet with GVPI staff.                                             b efore deciding what to do.
\.                                  .)               \.                                                       .)         \.                                                           .J




                                                                                                                                                          ,,
                                                                /
,                                                                          An investigation         '                         /
                                                                                                                                                                                  '
       A determination will be
                                    '                                  may be conducted by
                                                                     the Office for Institutional
                                                                                                                                          A 'no contact' directive may
       made by OSC whether                                                                                                                 be put into place between
        sufficient information
                                             ~


                                            ......
                                                                       Equity and a report of             -
                                                                                                          ~                                 the complainant and the
                                                                         findings submitted
       exists to move forward                                                                                                            respondent. Additional interim
                                                                      to OSC. DukeReach will
           with a hearing.                                                                                                               measures may be considered.
\,.                                     .                             be offered as a resource
                                                                        for the respondent.                                   '-
                                                                \.                                  ./




                  '~
/

      At the discretion of OSC,
                                 ....,                          /
                                                                                                    '
                                                                                                                                         /
                                                                                                                                                  No later than five     '
                                                                                                                                               business days following
      an administrative hearing
                                                                        At the discretion of                                                  the hearing, outcome will
        may be conducted to
                                                                       OSC, a three- person                                                   be conveyed individually
         resolve the matter. If
                                                                      specially trained panel                                                    to respondent and
        both complainant and                                                                                                      .,..
          respondent accept              - --➔                         will consider the case.                                                      complainant at
                                                                          Respondent and                                                          approximately the
       resolution, the matter is
                                                                      complainant are invited                                                    same time. Written
       resolved. If one or both
                                                                     to participate in hearing.                                                notification will typically
      do not. a hearing panel is
                                                                                                                                                  be made w ithin 10
              convened.
\.                                  .)                                                                                                              business d ays .
                                                                \.                                   ./                                  \.                                  ./




                                                                                                                                         r                               ....,
                                                                                                                                                  Both parties have
                                                                                                                                                right of appeal within
                                                                                                                                                grounds of appeal to
                                                                                                                                                   Appellate Board.
                                                                                                                                         \.                                  ~




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                   ExhibitB




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Dukeu
                                                                                        200 Crowell Hall
                                                                                              Box 90893
                             NIVERSITY                               Durham. North carollna 27708-0893

 Office of Student Conduct                                                   Telephone: (919) 684-6938
 Dean of Students Office                                                             Fax: (919) 681-7390
 Student Affairs                                                   www.studentaffairs.duke.edu/conduct


                             Student Conduct Board Hearing Report
                                     CaseNo. -      -2018
                                  Wednesday, August19,2020

      This is written notice of the Hearing Report as required under Section VI of the
Student Sexual Misconduct Policy (the "Policy") of Duke University.

       On May 6, 2020, the Complainant reported that on January 19, 2018, the
Respondent engaged in non-consensual sexual activity with her when he penetrated her
anally with his penis. After receiving the report, OSC obtained written statements from
both parties. On or about May 2020, OSC forwarded this matter to the University's Office
for Institutional Equity ("OIE") for investigation. Ericka Lewis and James Mason, OIE
Investigators, were assigned to-conduct the investigation. On July 22, 2020, Ericka Lewis
and James Mason completed the investigation and compiled an investigative report
regarding the same. The 45-page investigative report included attachments that
consisted of the initial incident report; written statements from both parties; summaries
of interviews with the Complainant, Respondent, and witnesses; and, documentary
information provided by both parties and witnesses. Both parties had an opportunity to
review the draft report, submit comments, and propose changes to the investigators'
report before it was finalized.

       The completed investigative report was forwarded to OSC to determine whether
there was sufficient information to move forward to a hearing. OSC determined that there
was sufficient information to move forward and convened a three-person hearing panel
consisting of A.G. Chancellor, Jessica Emig, and Shawn Lenker ("Hearing Panel"). On
July 28, 2020, OSC shared the hearing packet with the parties and on July 29, 2020, the
hearing packet was shared with the Hearing Panel. The hearing packet included the
investigative report and attachments prepared by Ericka Lewis and James Mason.

       On August 6, 2020, the Hearing Panel considered whether the Respondent
violated the University's Policy by engaging in sexual misconduct, specifically sexual
violence, with the Complainant between the evening hours on January 18th , and the early
morning hours of January 19, 2018.

  Present for the hearing was the Respondent and his advisor, Joe Cheshire; and the
Complainant and her advisor, Elizabeth Boehne. The hearing was coordinated by Dean




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Jeanna Mccullers. In a d ~ i e s , the Hearing Pan~                             uestioned
the following witnesses: _      , Victoria Krebs, and -                         1



       Based upon the record as a whole, the Hearing Panel determined by a unanimous
vote that, pursuant to Sections II, III, IV, and VI of the Policy, a preponderance of the
evidence shows that the Respondent engaged in nonconsensual sexual misconduct with
the Complainant. Specifically, the Hearing Panel determined that the parties engaged in
physical acts of a sexual nature. The Hearing Panel further determined that there was
sufficient evidence to establish that the Respondent anally penetrated the Complainant
with his penis without her consent, and that he knew or reasonably should have known
that the anal sex was "without consent". In reaching that determination, the Hearing
Panel carefully and thoroughly evaluated all of the information and evidence presented
in the hearing packet and during the hearing including, but not limited to, the credibility
of both parties and the witnesses.

       The crucial issue was whether Respondent reasonably should have understood that
Complainant did not consent to anal sex unless he used lubrication. Complainant told the
Hearing Panel that she explicitly stated to the Respondent that she was willing to have
anal sex with lubrication and that spit was not sufficient lubrication. The Hearing Panel
found this testimony to be credible and consistent with the other testimony she offered.
Respondent denied that Complainant made any comments about lubrication until the
Complainant was leaving his room after the sexual act was complete. However, during
the Respondent's testimony he acknowledged looking for lubrication, such as lotion, and
said that when he could not locate any, he decided to use spit. The Hearing Panel found
this statement inconsistent with the Respondent's testimony that there was no
conversation between him and the Complainant about lubrication until the Complainant
was leaving the room. Moreover, the Hearing Panel did not find the Respondent's
account of other parts of the evening credible. For example, the Respondent stated to the
Hearing Panel that when the Complainant left his room, she made fun of him and they
laughed; however, this was not consistent with the witness' statements that the
Complainant appeared visibly upset before and shortly after leaving the Respondent's
room.

   Since the Hearing Panel determined that the Respondent violated the University's
Policy by a preponderance of the evidence, the Hearing Panel considered the factors listed
in Section VI of the Policy (Sanctions) and determined the appropriate sanctions.
Specifically, the Hearing Panel considered the nature of the conduct at issue, that the
Respondent had no prior disciplinary history with OSC, previous University response to
similar conduct, and the University's interest in providing a safe environment for all.
Based on the foregoing, the Hearing Panel imposes the following sanctions:



1 The following witnesses were available to participate; however the hearin
 hat th did not have questions for the following witnesses:




-·
              . The following witnesses indicated that they we
~            spond to Dean McCullers' request to participate:




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      1. Suspension: The Respondent is suspended from the University beginning with
         the 2020 Fall Semester through the end of the 2021 Summer Semester (three
         semesters). The Respondent is eligible to apply for readmission for the 2021
         Fall Semester or thereafter.
      2. Educational: Before being deemed eligible by OSC to apply for readmission,
         the Respondent must successfully complete a course of instruction, meet with
         the Director of Title IX Compliance or participate in counseling (if the
         Respondent chooses) that addresses sexual misconduct. If the Respondent
         decides to participate in a course of instruction, the course should be approved
         by OSC, in conjunction with the university's Director of Title IX Compliance,
         before the Respondent begins the course of instruction. The course of
         instruction, meeting, or counseling must include, but need not be limited to
         examination of:

             a. Affirmative consent, including definition, how it is communicated, and
                what does not constitute consent

Appeal Rights

       Pursuant to Section VI of the Policy, either party may appeal the hearing outcome
on the following grounds:

      1. New information not reasonably available at the time of the hearing that is
         material to the hearing panel's decision; and/or
      2. Procedural error(s) that materially impacted the hearing panel's decision.

The appeal must be submitted in writing to gJ>peals@duke.edu within five (5) business
days of the date the Hearing Report is sent to the parties. This means that any appeal
must be filed by 5:00 p.m. on August 26, 2020. The appeal statement is limited to
five pages (12-point font, 1-inch margins) and must identify the ground(s) for appeal.
Please note an appeal is not a re-hearing of the case. The parties may refer to Section VI
of the Policy for more detailed information regarding filing an appeal.




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                   Exhibit C




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                             COMPL.\INT OF SEXUAL l\fiSCONDUCT
                                         INVESTIGATIVE REPORT
                   PREPARED BYERICKA.LE\VIS AL~ J..:\.MES :MASON


CASE mThIBER:                                             000i9·2018
COl\lPL.\.INAl\"T:
RESPONDENT:
DATE OF All.EGATION:                                      JANUARY 19) 2018
DATE OF REPORT:                                           JULY7,2020

All.EGATIONS 1
                             (Complainant)1 an undergraduate student, reported that on
 January 191 2018: - (Respondent), an undergraduate student,. engaged in non-
 consensual Se}\."Ual activity .,,ith her when he penetrated her anally with his penis at
-          ResidenceHall -
INTERVIE\V LIST




LIST OF AITACHMEl'\'TS
Attachment A                  Office of Student Conduct Report: pw\ided by OSC, page 12
Attachment B                          ,Titten statement, prO\ided by OSC, page 15
Attachment C                          nitten statement, provided by OSC: page 18
Attachment D                  Te:.1 messages ~tween -        and ~ provided by -      page 20
Attachment E                           ketch o· · o o l l l : pro\ i d e ~ page 24
Attachment F                          uedical         . rovided by . . page 25
 Attachment G                           essages tween ~    provided b y - page 32
 Attachment H                -           ketch o~ ~ b y . , a g e 35
 t Thi, c;ue has nYo mcident repam ritg:uding -            allegmans. The fint report was Sl!d on li!Ilua.':· 19, 201S,
 and it identifies .illu tla complainant, but
 ananymoudy o!\~
                                                  := ·
                         :L"y 10, 2019, and it identified
                                                                  ntify a r;i~parubnt. Thi! 1~or.d raport wu filed
                                                                  1 a re1pande11C, but it did not identify a compb.ina:1t. The
 firstreert  (Atb.chmi!nt A) \\'a! modifiid in .2020 to I mh               1 the re,pcindent.
 ~         ovide-d redacted medic:ll re~ord~ !!he recei't-ed !:'om D12ke Uni·.-ersity Ho.pita!.

                                                                                                             Pagel of-44




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Attachment I         Dean Victoria Krebs' February 12, 2019: notes (redacted), provided
                     by OSC, page 36
Attachment J         Te..,'t messages between                  . pro\.-ided by -

Attachment K       lllilllil te.'l.'t message and email statements, pro,ided by -
                    page 41
Attachment L        _ 12. __ Uemen~ pro,ided b ·           a e 43
Attachment M        Te.,1 messages between                     provided by r■ page 44


IN\TSTIGATIVE PROCFSS
The investigators interviewed -         -       and eight students. They informed all
individuals of their credentials an~ir impartial role as the only investigators assigned
to the case. They also informed them of the prohibition of retaliation, and that they could
not guarantee confidentiality or anon}mity. They ex·plained that it is not the practice of
the Office for Institutional Equity (OIE) to record inteniews, and confirmed with each
individual that they were not recording the interview.


RELEVANT PROHIBITED CONDUCT
The Duke Unh-ersity Student Se.xual 1Iisconduct Policy, as printed in the 2017-2018 Duke
Community Standard in Practice Guide: .4 Guide.for Undergraduates prohibits se,..-ual
,iolence. The Policy pro,ides:
       Se.'1.-ual violence is a particularly severe form of harassment defined as any
       physical act of a se:..'Ual nature based on sex and perpetrated against an
       individual ,dthout consent, or when an indhidual is unable to freely giYe
       consent.
       Physical acts of a Se}.1lal nature include: but are not limited to, touching or
       attempted touching of an unwilling person's breasts, buttocks, inner thighs,
       groin, or genitalia, either directly or indirectly, and/or se,mal penetration
       (ho,\-e,--er slight) of another person's oral, anal, or genital opening \\ith any
       body part or object.
       Consent is an affirmative decision to engage in mutually acceptable se.x'Ual acthity
       freely given by clear actions and/ or words.


INTER.VIE\<\' SUl\IMARIFS
                                     COlfPLAINAl\"T



                                                                                   Page 2 of44




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 The investicators inten-iewed                 .,·-ia
                                             Zoom on May 21: 2020, from 4:15 to 5:17 p.m.
                         - advisor, was present during the interview.
              ,-as a first-year student in January 2.018. She stated that her friend
                 · trodue€d her t<lllat party a. fe,1,,· nights prior to January 18, 201S.
        stated that on Thursday: J anuary 18, 20181 she went to a pregame at a house near
         ampus. She said she saw . . .t the pregame and they played a couple of games
 together. She said she drank a 'coriibination of vodka and beer. She recalled that she
 wanted to remain at the pregame, but -       old her that she would have to leave \\1th him
 if she wanted to hang out with him. - stated that from the pregame she ~ o o k
 an Uber to De,ine's, a local nightclub in Durham. She said that she lost                  at                 llllllfmiile
 Devine's due to the large crowd.

- t a t e d that after she left De,i.ne's she went to her residence hall and te.,..ted -
 According to the te.\.t messages, llllllbegan te.\.ting      t 12:25 a.m. on January 191
 2018. (Attachment D) She said t:hatshe then went to               \·here . . .met her at a
 side door. She recalled that they went to -          room an      roommate was present.
 -     said that during their earlier conversation that evenina. - told her that his
 roommate would not be in his room. She stated that she told ~      he was uncomfortable,
 but-     convinced her that it would be okay for her to be th~he recalled that -
 roo=t!e seemed "engrossed" in a video game on bis computer and that he was wearing
 Bose headphones.

 llllltated that -      had a. loft bed, which was close to the ceiling. (Attachment E) She
 said she realized ~ vel of drunkenness when she had difficulty climbing up into -
 beth llllllstated that llllremo\·ed her shirt and jeans and threw them off the bea. !:>be
 said sneput herb~ and thong underneath a pillow because she did not \ ~ be
 naked in front of -      roommate when she got dressed. She recalled that ~            \-as
 already in his boxers.

-stated that she and -          kissed and he petformed oral sex on her.4 She said that
- - - ~ h e wanted ~ - e sexual inter<:ourse and he put on a condom. She stated
 tha~ l!cked his hand and rubbed her vagina for lubrication. - said that they had
 had vagmal sex in the "'missionary" position ~ o n top an'= on her back. She
 recalled that the condom tore and she asked ~ t another condom, which he did.
 She noted that lllllseemed annoyed and accused her of breaking the condom.

 -         stated that she and~      en switched to the "doggy style" position.s She said that
     she was on her hands an~~~ and that her upper body was against the end of the bed
     while   ..,,,,-ason his knees behind her. She stated that during vaginal intercourse in

     i 1nn1tig2tor Lewis a;xecali1£' she belie·.-ed !he mu too int-iicic:1ted to eng;age in ie;,.11:d ;icti-:ity . . . . .tned,
     "My jud~e:i.t wa, impaired, 'out I co1Uented :and. I \\'3.i not bla.:k oot d.unk."



         In-
     • I ~.,ritten statement, ahe !.Ud th._
     ;t;rt~
                                                      11,o con;,a,ruually ~atrated h,;r n~na ,vith hi; fm~er. ~
                  e uked . . ..:-r a condom, he put it on, ;md th.the ptnatrated her ;mu;, wi•.h his fin]i;er:1, whi~
     qualified u "'coru.e1mw exploration." {Attachment B)
     1
                 \\Titte:i. ~titement, :1he 1tated tlm ihe ulced to swit.:h to the doggy st;·la po,itic-n, and -put on a naw
     condom. (Attachmar.t B)

                                                                                                                  Page3of44




                Case 1:20-cv-00996 Document 1-3 Filed 11/02/20 Page 51 of 178
    this p<>sitionJlllpenetrated her anus l\ith his fingers . . aaid that she was surprised
    '"'hen - , e n e t r .r anus \\1th his fingers: but noted that it did not bother her. She
    statedthatbecause          had not mentioned. anal penetration: she brought it up. She said
    she that when the;- opped having se.~ she told           that she might be open to having
    anal sex if he had a lubricant. She recalled that - -old her to "spit." -      said that she
    told . .he would not spit because saliva would not be sufficient lubricat1on. She stated
    that slietold him that she would only consider anal penetration ifbe had a~               he
    noted that during their conversation1 her buttocks were facing- . . .aid that
    then penetrated her anus with his penis. She stated that the ._,enetration hurt an ·
    that she was "trapped" against the edge of the bed. She stated that she told- h a t the
    penetration hurt and that she wanted him to stop .•       aid that eYentuallya . ttopped
    and she moYed so that her anus was no longer expose . She said she wanted to discuss
    the incident \\1th -  but he was not interested in having the conversation.

~id!Mhe
'fflfu-;d
                   put on her undem·ear and clothes, and that while lea,ing-            room.
                an "asshole" and a '"bad person."' She recalled that when she Teit"liis roo~
she pass a male who was brushing his teeth. She said she pointed
standing in his doorway, and screamed tha~          ,-as an "asshole," She
                                                                                   who was
                                                                                   that after
                                                                                                   toll
she entered the stairwell she began to cry. She said she called t111•1111111iii1ii,        n
her she could come to her room. She stated that while walking from
Residence Hall ( - where she and •••llived, she saw
acquaintancet and a male named _          , She recalled thatllllllllllnd
over their shoulders and escortecflier"to' ■■II She said 'tliat1lieyas -e er questions1
- d not recall what she told them other than her request that they take her to

-          stated that . . .and-brought her to                    ·oom. She recalled that she
'lfflually went t~ o o m ~ said she had                 1c , \ · a and that she collapsed
    in her hallway on the way to herroom. 6 She sta!ed that         . alled llllllll£rien~ -
                and be came o,·er. She recalled sobbmg on the floor m her ~           e-said that
              called their resident assistant (R.\)." She said that an officer from the Duke
      nffers1 ; Police Department picked her up and lllllma llllllltccompanied her to
    Duke University Hospital. She stated that she ~ rapekitpertormed at hospital.
    (Attachment F)
    TeA"t messages provided by . . reflect the follo,\ing communication on January 19,
    2018~ beginning at 3:08 p.m.:
            -           What'd you tell people[?]



                   -
                        Dude what'd you do [?]
                        Are vou okay??

                        Please don't tell people I ra.P8(1 you • • • I have no idea ,\'bat
                        happened and I'm hearing a lot of stuff

    ~ Ii l l l l t\Titti!!l 1tate:nent, .ui~ uid . he collaps:J. due to emotional diau-ass .•
                                                                                          ahc stated th.at sh~ felt :mal

    ·
    p:iin b~fore ;,he went to the hospital. (Att:a.cl=ent B)
      ■•• the RA, did not resi:o:r.d to ln•;e!tigat,n le"-i1 • em.ails reque.ting to inten:iew her.

                                                                                                            Page4 of44




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                ~              tome please

         -          :My name is ■ and I really do not think that is a good idea.
          -         ~ am so confused~ I want to lmow what you're saying.
                    I've heard some temole things and I don't know where they're
                    coming from. I just need to talk to you

    (Attachment G}

                         RESP01''DENT

    The im·estigators inten-iewed-ia Zoom on May 28, 2020 1 from 3:05 to 4:04 p.m.
    Joe Cheshire -advi.sor1 w a . s -t during the inteniew. The investigators
    conducted a fo~intenie"· ,,;           ..'.ia Zoom on June 11,, 2020: from 12:31 to 12:41
    p.m. Mr. Cheshire was present during e follow-up intervie\\',

- sas a first-year student in January 2018. He stated that he met -       at a fraternity
~       two days before the alleged incident. He noted he did not intera ~ her ben,·een
 the first time he met her.and January 181 2018.
Ill stated that on the e\"ening of January 18: 2018, he saw ~           ta fraternity party. He
    said that after the party: he went to De,ine's. He stated that'ii:Taw-      at De\ine's and
    recalled she came up to him a few times and tugged on bis shoulder. He said he stayed at
    Devine's for an hour and then left with fraternity members to get food. -        stated that
    he returned to his room at approximately 1:00 a.m.
~        ated that he was getting ready for bed when he receh·ed te.,t messages from . .
 requesting to come to his room to '-'hook up." He said he fell asleep and thatllltalled
 him numerous times. He recalled he answered her call and provided directions to his
 residence hall. He said he let her in through a side door and thev walked to his room.
 - stated that his roommate 1                  was in the room .,·ben arrh-ed. He said
 the lights were off: but the room was not pitch black because           computer monitor
 was on. He recalled that~          vas sitting at his desk liste        usic and playing a
 video game. (Attachmenrm-
- = -tated that he and - . e dan.d she removed her clothes before she got into his
~        nwstigator Lewis asked          f he threw -      clothes away from his bed ~
 ~        · He said he did not r         oing so. - stated that he P.erformed oral sex on
 ~         d then they engaged in vaginal se.x. When asked ifhe asked. .o use her salh-a
  for lubrication for ,-a.ginal sex: he said he did not recall: but not:I'fuat it could have
  happened. He recalled he used a condom. When asked if the condom ripped and if he
  put on a second one, be said yes, but also noted that he was not certain because the s~7.lal
  activity occurred .     . s ago. 'When asked ifhe penetratedlllllanus with his fingers
    during vaginal se:          ·aid he did not recall doing so.

                                                                                    Page5 of4.t




    Case 1:20-cv-00996 Document 1-3 Filed 11/02/20 Page 53 of 178
-       stated that during vaginal sex, 11111.-uggested the doggy style position. He stated
~ , - h e ~ e d around she s~tick it in my ass." \\'ben asked if he and.
  discussed'iubrication prior to anal se..,:lllllsaid he did not recall. Investigator     ,
  informedllltbat            aid that she told him that she had nm·er tried anal penetration
  and that she asked if be bad lube. -stated that he did not recall lllmaking that
  statement or askinle!for ube. Whe~ ifbe told -. o spit to create lubrication for
                             1.


  anal penetration,       said he did not recall He s~did not reca.ll-            elling him
  that spit was not o y and that she did not want to engage in anal sex wi         brication .
         stated that he penetrated . .anally with his Penis. He stated he used the same
•         m that he used during ,-ag~penetration.llllsaid that after two brief thrusts,
-         aid, "stop" and he stopped. 'When asked ualtold him that it hurt; he said no
    and that he did not recall. In,·estigator Le"is ask~ - told him why she told
    him ~ - ~ a id he did not recall. He stated that after he stopped penetration, he
    and - o o ~t each other, began to kiss: and resumed vaginal sex for three to four
    minutes.
-            tated that at~'Ximately 3:00 a.m., he asked -             if it was okay to "'call it a
  rught." He said tha. . .sked if she could stay in his r o ~ e stated that be toldlllll
.Jbatbe was eager to co to class the ne.'d: day and asked her if she could go to her room.
-           stated thadlliiiilclimbed off his bed and got dressed. He recalled-was
  "lingering" in his~-ay. He stated that as she was lea,-ino- she yelled to b.im-iti'at the
  ne:...1 time they should go to her place to get lube. He said               so commented about
  being upset about not sleeping in his room. When asked ·                   alled him any names,
  he said he did not recall and             did not believe she di . .t1e said he recalled lea,-ing
  to go to the bathroom and that            eft at approximately g:30 a.m.
    During-         ollow-up inteniew, Investigator.uestioned him about statements
    he made during a meeting ,,ith Dean Krebs in eoruaty 2019 1 a year after the sexual
    encounter. Investigator Lewis informed-=iiat according to Dean Krebs' notes, he told
    her that prior to anal sex, -     told h i ~ t she wanted to have anal s e x . he
    looked for lube and that he tried to use spit for lubrication. (Attachment I)          tated
    that he did not recall looking for lube or using spit for lubric.a.tion. Investigator wis
    informed him that according to Dean Krebs> notes, he told her thatllllllaid "ow" during
    anal penetration.. . .aid that he rec~ed - s a i d , " ~and ~ e d that he could
    not recall if shes~·." Investigator l..ewtS intormed -           hat according to the notes1
    he informed Dean Krebs that after he and - - -esumed vaginal sex, he was not as nice
    to her as he should have been, lllstated that he might ha,·e been referring to his denial
    of -       request to spend the night in bis room.
    ~          ted that while on his way to class later that morningi he received a text from a
      rraternity he was rushing. He recalled the text message informed him that he was no
      longer welcome to join the fraternity. He said he receh·ed a similar message from a
      different fraternity an hour later. He stated that later that afternoon: his friend -
    -            accused him of rapin~

                                                                                      Page6 of44




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On January 19, 2018, ~ d                                   engaged in the following text message
e..'{change beginning at ~ m ..

                        \\'hat's going on -           ?)
                        \\'here's - r , , - r
                         Please taikto"ine [.]

                        Hey right now ifs probably best if you don't talk to -              r
                        do anything you may regret_. I know it's frustrating                d
                        to hear but the best tl1ing to do right now is ,,.,,clit and not make
                        contact ·with people or react to an~thing you hear.
                        Okay can you please just tell her if what's going on is all true I
                        really had no idea what was going on and if I did that I fucked
                        up bad1 but I really don't think I would do that.

    (Attachment J)
Investigator Le"is showed -  the text messages during his intervim\". •  stated that
when he sent the message to . -. he did not ha,-e a full underst~         of -
allegation. Investigator Le"is~. .what he meant when he said1 ""if I didtliat'i
fucked up bad.,:- a i d he was referring to raping someone generally. He noted he
was trying to convey to     .allhat
                                  he would not have engaged in that behavior.
-          ated that he asked _ ,·hat he recalled ,vhen.               ,-as in the room ,\ith   1111
    He said that-old hiin"t!iat he heard, "sex noises:
~          uestioned the timing of . . . i illegation, He stated that he believes that.
    decided to accuse him two ye~              -ause he was recently featured in newspapers and
    on social media for his \\·ork on a project.




- "-as
    Investigator Lewis inteniewed -           via Zoom on May 21, 2020, from 4:00 to 4:15 p.m.

               a first-year student in January 2018. He stated he met-    prior to coming
    to Duke because they were both from the same state. He said he does not know -
-       t;,,ted that around midnight on January 19, 2018, he and his friend
~ n g to their residence hall \\-hen they noticed a female cry"ing under the archway
on East Campus. .He "'          when he asked the female if they could help her, he noticed
~ He sai                      ooked like she had lost her breath and she could not speak.
~ ated that                 en asked them to walk her to her -       and they agreed.
           stated that durin~      ,:1-k, -     told them that she had betin raped. He recalled
    that - told him and ~              t sh e and the male were in his room engaging in sexual
                                                                                        Page 7 of4.i




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        activity when he proceeded to have anal sex with her. He stated that -      old them that
        she said. no to the male1 but he continued to engage in the umvanted beha\ior, - a id
        that -     mentioned the male's name~ but he could not remember it.
    ~ ; ited that the nro..1: morning! -       e.xted him and asked if he could take her to an
    ~ n -East Campus to speak with someone regarding ser."Ual misconduct. He stated
    that he walked with - - =o the office. He noted he had not heard anything regarding the
    alleged incident since that time.




        The investigators intervie",:ed -     ia Zoom on May 22, 2020: from 2:01 to 2:16 p.m.
    -         was a first-year student in January   2018.   He said that he did not know -        or
        1111fn January 2018.
               tated that on January 19 1 :2018i at around 2:30 or 3:00 a.m., he and his friend
                .,,-ere walking towards Blackwell Residence Hall ,,·hen ther noticed a female as they
        were approaching an archway. He said he did not know the female but ~ d . He
        described her as "hysterical" and "mostly incoherent." He said that h e r ~ "pretty
        red" and it appeared to him that she had been crying. -stated that he rec.alled she
        commented1 ''We were together, but I ,1;ouldn't ha\'e let him do that." He stated that he
        andllllllltscorted her to her residence hall.
-      tated that a few days later) -told him that the female had been intoxicated,
~ d e d up in a room where sh~unwanted anal se..,. He recalled that . .told
 him that he took her to the '1Nomen's Center.




- \-as  The inyestigators interviewed   .,fa    Zoom on May 221 2020, from 3:33 to 3:44 p.m.




-
        He stated he did not  knm-
                a first-year student in Janua1y 2018. He said he me             n January 19, 2018.


             stated that at approximately 1:00 or 2:00 a.m. on January 19, 2018. he and -
        wer.assing the Randolph Building on East Campus when they saw. . . He
        tba          ppeared to be happy and that she told them that she was gomgto-room.
        He           t be a n ~ . ve                      ·oom. .     stated that at approximately
        3:00 or 3:30 a.m.,~ t o                     room and was erying and sobbing. He recalled
        that later that mornmg or the fo owmg ay -              old him that someone forced -
        to ha,·e anal sex.




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- \'aS  The investigators inteni.e\\·ed -          i.a Zoom on May 25, 2020, from 6:oo to 6:37 p.m.
                       a first-year student in January 2018. She said she met.during their
        first year and she noted that they are friends. - - t a t e d that sh
        their first year, but noted that they had not spo         years.
                                                                                .a:iunng
-..iL-;ited that on January 19t 2018, she was in her residence hall with_,,ben she
~ ~ f r o m - a t 2:00 or 3:00 a.m. Sh.e said that-was ~ g ." She
 recalled that~ ~d asked to come to her room.
- ated that "·hen . .arrived at her room, two males were holding -                 up
because she ap eared to be unable to walk on her own. She recalled the males told her
        that they found         nan archway. She said t h ~ u~ ~ommate's
        bed and called          · ·end, . . . She said that . . .ppeared to~ ck" and that
        her eyes looke     ig." She stated that ~reed to tak~ o -oom to take care
        ofher.
              stated that she had to support . aown the stairs to her room. She recalled
            as "wailing" loudly. She said thatshehelped ~ n d . .o-room. She
     sai    at - appeared to be '"hypernmtilating." She stated--told them that
     she had consensual ,'<lginal se.xwith        ,rnd that he penetrated her anus ,,i.th bis fmgers.
     She said that         lso told her that she toldllll she would not have anal sex unless be
     had lube1 but          enetrated her anally. She said that l l ltold her that she yelled for
    -      o stop1 a.no. ne stopped and she got away.s
~                   ated that after llllllllllharedher account,           ed            an.RA, and
                ,uggested they c~·Vomen's Center. Sl:ie reca.ne tha                 ecided t o ~
        police escort to Duke University Hospital. She said that she and         ccompanied -
-                stated that sometime in January 201~ k e d ber to prepare a written
        statement,. which she prepared and provided to. ,~a t0A1: and email on February 2 1
        2018. (Attachment K)<;




-\-as
~
        The investigators intervie,\"e-        ;-ia Zoom on May 27, 2020., from 5:02 to 5:21 p.m.
                  a first-year student in January 2018. He said h e ~during his first year
              e said they are friends. He stated he does not know - - ~
    -        stated that at 3=31 a.m. on January 191 2018, he received a call from - H e
        noted he did not know ~              time. He recalled that           ,old him he needed
        to come over, and that he b eard ~    creaming and crying in the background.




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- s t ated that when he arri\"ed at -         he sawlllllln the common room. He said
  that -      was screaming and crying.""'R'erecalled      ~i       elped . .to her
  room"""'aiidcalled an RA.

     ~
             ted tha-

                                                                                     be.
                         told him that \\·hile ha,in~ \\1th someone she had met, the male
        eu bout ana1sex and she said no. He said 1111111111told him that the male penetrated her
     anally. He said.     ndicated that she felt uncomfortable ·with somethings
     male's roomma e was asleep below them. He said she told him that she called
     and requested - call him.
 - t a t e d that per - · e q uest, he prepared a written statement in 2018 regarding
  the alleged incident. He said he did not prm-i.de the statement to - Attachment L)




     The in.-estigators inten-i.ewed        a Zoom on May 291 2020, from 1:02 to 1: 07 p.m.
     ~        ,-a.s a first-year student in Ja.Iiua:ry 2018. He said ~ d -            Yed two to
     'ui'ree"rooms apart in ■■■I He stated he did not know -
 -          tated that on January 191 2018 1 he obsen·ed a female ente1-room. He stated
     that he did not see either of them.leaY~        oom.




 - \-as
     The investigators inten-iewed-          ia Zoom on June 1, 20201 from 4:00 to 4:37 p.m.
                 a first-year student in January 2018. He said that l l l .,-a.s his roommate
     during the 2017-2018 academic year. He noted he did not kno\-
                tated tha~        sually went to sleep at 10:00 p.m., but on January 16, 2018_.
           ,--as not home at that time. He recalled that at appr o . - ·v 2:00 a.m., on January
     191 2018, he was in his room doing math homework when              ntered their room with
     a female.            tated that the room lights were off, but       p was on. ~       that
     neithe             or the female said anything to him. He stated that soon afte-and
     the fem e entered the room1 they climbed up int~ b e d .
~               ated that he was listening to music1 but the music ,vas not loud enough that he
~              t he -d the female's \·oices and activity. He said that at first he heard the
     female sugges          ey go to her room since she had a single room! but tha         ecline
     the.offer due to the distance to her residence hall. He said that he thought ·             d
     the female were cuddling and sleeping until - e d started "shaking."
     that be did not obserre any sexual acth-ity b ~nd the female b ecause
     bed was higher than fo·e feet from the floor and close to the ceiling. He said he saw the
            's clothes on the floor-         tated that he believed the female raised her voice at
            efore she got off the     .
 •
                                                                                    Page 10 of44




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             ated that the female appeared to be angry with -       when she got off the bed.
        o    that he did not know why the female was angry. He said that he left the room
- after the female left. He recalled that while leaving bis room, he told his R'\
  that.had se."< in their room.
      recalled thatt\vo weeks later, .     informed h1m that there were allegations that
     e~'llally a..~aulted the female. He said t h a t -asked him to "'·ouch" for him.
 - . ,tated that he told -        hat he did not k n ~at happened beh\'"een him and
 "tiieTemale.



 The im•estigators interviewed   - -ia     Zoom on June 4: 2020, from 5:30 to 5:50 p.m.
         was a first-year student in Janua.ry 2018. He stated that he m e ~at a
 semiformal 8\·ent a fewdaybeforeJanu~    . , 1 • 2018. He stated that he met .l llllfcfuring
    . fi st year and that they both lived i ~
          tated that on January 18, 2018, h e ~         t Devine's. He recalled that -
- told him that he planned  to ~    t  h     .  . . }~tated  that at 2:16 a.m., on Janlla.l)'
  19, 2018, after he returned t o - - he texted_,ecause he observed~ his
  underwear. . .valking to a vending machine to purchase a condom. (Attachment M)
  lnvestigato~ asked - i f he obsen·ed            llllllat         and he said he did not
~         ated that at 3:24 p.m. on January 19, 2018~ he received a text message from _
asking if anything bad happened hours earlier. (Attachment M). He recalled that        Ill
told him that a fraternity and student life group~            to stop attending their events.
He ~       that la.terthat day, . .old him that l l laccused him of se,,."Ual assault, but
thatllllllltbought the sexual encounter was consensual. He said that-            old him that
- a sked if he wanted t o ~ anal sex and that they had anal s~recalled
that someone told him that-          \'aS crying when she left -       oom, but he could not
recall who shared that information \\ith him.




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                  Attachment A (Office of Student Conduct Report)


  Duke
   \JHIY£~SIT'f


Your Information


Your name




What is
your
affiliation?
Resident
Assistant


Incident

Nature of incident
Se:-..1.13.l ~lisconductTitle IX-Related


How did you
learn of the
incident? Phone
Call


Student involved
in the incident




Factual account
of the incident



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            last name unknown), a friend of                                 called _ •             . the
            ~ o ~43am,                         ·tnameunknmm)was also in-room at this time.
            old - - that         lliaiad      been engaged in consensual, va~inal sex. ••■ told
              hat then. the male- vas with asked -               if she wanted to haYe anal sex. -

. .\\"as drunk. When      •••taw
 said no, but the mal~ had anal sex with be:r while ~
                                              -
                                                               -as trying to get away. -
                                                           ppeared slightly intoxicated but more
 emotionally distressed than any1hio~ else.. . .·as not physically harmed but looking for
                                                                                                    aid


 sources of information to help na\igate ne~t steps. At that point,                   ailed the ~C on
 call to help sort througl} anonvroous, emmzeuc-,· options for               mce        was still
 somewhat intoxicated,        ]         JOcl - d i d not want er o make eg y binding
 decisions. -aged the RC on call 3 times (3:46am, 3:52am, and 3:57am) v,ith 2
 different cellpllone numbers but did not recei,·e any callbacks (as of 4:55am). At that point,
               earched for the Women's Cen , · bsite and called the emergency page number to
               Sheila. Nurse Sheila talked to         directlv and recommended -◊ come to the
-emergency    room   for a physical examination.               called 911 initially for a hospital
 transport and was re-routed to Duke University Police Department (DUPD). DtJPD began
 asking questions abou ~ d                  f        formed the DUPD that illllhad been raped.
               id not feel comfortable with the number of questions DUPD was asking. DUPD
 said okay, and they would call back later. - - =ailed nurs                       o con.furn this was a
 good, legal option. Nurse - - =onfume~                    n and told                          did not
 need to answer any uestions if she was not comfortable. Afthat point, DlJl>D called -
 back and wormed                      t Officer Weaver was on her \\'ay to pick Uf~             front of
 Pegram dorm.                                                       outside to the waiting police cars.


 IR#
 00079-2018·


 Reported On
 January 19, 2018 5:04 AM


 Additional Incident and Student Information


 Date/Time of
 incident
 Janua1y 19, 2018 2:30 am


 Wa
 DUPO
                                                                                           Pagel3of44




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invol
ved?
Yes


Incident location
On-Campus Residential'Pegram


Room




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            Attaclm1ent B




                             g~ · · on1.1t.11
   I came ID   ■■■■born                                     .-ouml 2:30AM on ~• morning of Ftiday,
J11~a,y 19, 2018, allhOUv-fl I WIIB 1M Tillnelay l'l!Qhl IX> UII aa we IJad bletl oot tnal nlgl'll. 818
fr•l •proa•""'' •nd t~n Dew,o's. UPQn ,rriOMg ••■■■l-ot mo n l/'lo building ,nd I
was uflder lt,e tmpraasion !hat r.e a.1d I wO\Ad be aJone Jn hit room after eattler converaatlcXI. I
came lo-            oam wflh L'le e,q:,fidt l~l'AIOII or i'IA'\>lng ~Xldll teliltiO<'la ~ him i'lcb:!rng Ot'lll
1111d Yegl'lal self, Ir conaenau&I. I had no lnterilfon& of per1iclpstlng In enal M1C that night.
    When we airived In his roam, hit roommalll was f)r'OSC!ll and I expi-aued that I VIIIS
u.noomfortllblo with th<11, •nd btought up tNit " ~ hlJIIQ boon alono In my room lnstoad, H I
haw a lingle. He complained at>wt 11111 dlalllnce ot my dOfm and e11ld hia 100mm11te !lad on
"41!dphol,e:s ""d wn too concomtud to no¥co us. Hi3 roommnt n0"'1r looked at mG; lo my
kncNII~..
   /\ftllr unc:amfortllbly •grccilng ta i!BY ii hls room, only beeall$C his bed was fuly loftad (high
aod out or ey881ght ol ll~ room mete, who was playing e OOtnptJter oeme et tne 01!1811;}, I
alnJggled to <:limb tip .r,e loftad bed, 1111 my coon:llnalion   w•
                                                               irnpalred due lo 1h11 aloohot I
a:,cpliclllr told- fm drunk,, Like nielly dn:nk. I wootdn't be h9re If 1 - IIOber, Soba ma

                                                                   mci:,w 57
~no;,,s be(ter t,eca.n,e you ht'll!I bi!>ell • jMk lo m& 11111 night YCN Wj!rt, Ndll about h;tving lo pay
ush f0r mo Ill Dovino"s GVQn \hovgll I Vonrnr>-ed you the                        wo CIYQel got In, ,rict I
lled b$en lellng you a1nce right b&be we left the pregeme 17le                   ,.., my ce&h end r 110o11
11'>9 ~ ..,.tt;, you. I WOC!ldn't hevo cuh. Yov •ffl told me to loeV9 my fliend end It WQ\lld b4 fl~
yau'd tel18 care af It. Then )'0U left me Jn Oew,e'1, fOC!dt)' dlaappeare:i. And when I wanted to
com• ow, tonight. yOU l"US!utd I'll• •nd nadi, mo l;:l)C'rll!I •lier tying •botA your l'OOfl\mll\e not
            here. But rm here now ao whalliwr I guess.'
                g.,e<l lhal I'll! hedt1'l been 111eck" atld !hat Oe-.lne's lladn't t.Hn a big cleat. He said
                 lnil.hill roortVTlllUI would be In the IQOm bQ(;11U118 he WN suppc>Md lo IJ4 tenting, We
 starled to 1,:11111 lh0111y 111et lhl& mgu,menL I dick,'t proceed lurf.!ler wllh my stcle or Irle argument

       v-,•
-bOolt\1-W I ww ho wol,lldn't 19"'° with nw:i.
      /IIJJ         progreesed, ne uncnaeea me. He waa aready ooly In n111 boxer-lltlllh.. He threW
 b0Ch my Plll'.IUI ~ my shirt off' thO bod 111nd Q<lb t,c, lixr, won Mien I H•od him noC           '°
 bec8uM lhen I would be forcoo t> be only In my brNIS ard 1hong In front of hla room'Tlll-le
 Whi!II I gol dtel!Sed lat~. I man■g~ lo k~p my bralelle ~d thong on lhe bed. Anet he~
 kissing ol mouui and body,~
                                                      '°'
                                                oonecl conaen&\lel oral HK on me, and conaenwahy
 p,enelr.aled rrrt 11Bglna \;fth his flngen. l lll!lklld      a condom and r.e proc&llded to gel one and
 l)'Jt It on. He nvxt P Q ~ rrr, enu. ~ hia l\nQQrt, which I Y<H u n c o ~ ~ . blll
 llllewed to 1!11ppen ard I am qoallfylr.g a,s CO!IS81'1$Ual axploraliOn, aNho..gh there ns no vftbal
 c,$Q.1$$1an oflhls..
      Wa 11'.en hed perulll-Wglnal sex ln 1'18 ml891onery poatt;on. Ha stopped e1'te,- s bit end aeld I
 Nd r9pcd u-c condom, to which I rt:pllcci, "00 you h;J'lt,I •~-«117' 1IIUIIIX! 011" tne one t,q ~
 0'1, wttk:h &QQmed lo upSGI him, allh~ I di:ln'i understand wt,y i.nca t,11 hed ,lust said ta mo It
 !ltd rpped. He left the~. got anolhilt, end dir'l'bed back up. I asluld a,.,,, oould ,wib:.h lo
 dog~~ ihan, and I>& pm on the o<ffl corodom. We-c:on\Jnued Ul have penll&-\1911tn.a1 aax In
 1ne doggy-a~a poeitiol\ ar,d he aga~ puahecl hie nngera Int.a my ar.ilS. 1lrl!ld Ill Ile recaplli,e to




                                                                                                                  Page 15 of 44




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tne feet ~the ~med I n ~ m l!nel, so whUe st• in the dogQY-@t)te P0$1Uon, I neNOI.ISly
said, •1\le never lr1ed anal before, but If you have lube, I am wllfnQ to pos,sitlty ~ill•
He re~. "Spit:
    We had Uaed "splf as en add:11onsl lubrlcanl to natunil socrallons ooce c:, twice to ~t things
tUN'ted wlh tho p,enlle-'lfaglnll S61f, bl.It I w11 not okay with using aptl as lhe sole M>r1cant for
1nac. I would not h•.ve evOt'I tirought vp rry;ng anll Im< If her-act not. teemed to want to so
aggroulvely through his penelnltlon or my onus wtth hit fingers (wlhto1,1t llSldng me), I answereQ
him, "No. Spll ls not okay. Ir you don't have real iube, I don'l want lo.° We were silll In poslllon
f« doggy styte durir,g tl'l-ls convemt;on, but the pcnllo-v3glnal and finger pe!lCll'atlon had
QSBled mld-way~                h my sentence 11bou1 C01'1$ldering trylog anal.
    Oospi'te ttiis, -         roceeded to penetrate my •nus wrui his pen1$. He conenued to, several
tl'W\Jtt:s, ll'ld lhO entire tirno I w.a OXf)(e$$!ng that It hurt and I did not wal'lt to be patllelpailng.
·OH. Thi, hurts. stopl I said not ON, Ow, Ow-' I looked down'° my belly and withed It to ltOp
w~ all or my mighl. I was pressed agalrm the end of the bed and hpped. HiS penis snpped out
of my anl>S after I-C'Je!'81 thl'V$(s, although I do not think il was purpose~. The mannM SCfJmcd
more tlrnlar to en accldenl$1 trip th:llt It c:ommon with broad IMJstt In p&nll&-Yf:9ln&I ser, In my
experience.. I lmmeol31ely l'Olled ovor at ,he opportunity to eteape., to 111t1lng pos1Uoo 10 he
could not reach my arw again, I irnmedialely staled, •1 nnt It.I leave. Right ncw. I wtnl 10
leave.' He Nld aomevilng along the lines or "YOl,/ve been diffic:ull el nlghl LEAVE If you want
 to."
     I located rtf'/ btalette and lhO!'IO whle on the bed and qolckty pul tl'lem back on. I s.ald, ·Let's
talk tbout this. I want to t,Jlc 11boVI it.• Uy lntenti:in1 we,e to -aah eiq:vess that I did not cona,ent
to wnat had JUst happened, but ne orly told me, "No. Jutl fucJ<lng Jeave.• He clltnbOCI off o( ~
bed ll'td l l'ollOWOd, lmmedie\oty locaUrog ffl'y shirt and P41ntt end dressing, I repeatecf 18\lerll
times, "You're such a licking 1sshole. I call't believe you. Whal a fucking dldc.' He stood in \tie
d00fW8Y as I qulcldy vnll<ecl out. There was• boy brushing his leelh In lhe b81tlroorn down the
haa; I looked him In the eye whle I was on the 11C!'QC of tears, gestured itllllllwho was tllR In
the d ~ y of hlia room down the h11II), ind said, "He r. a fucking asehOle.'
     I begin to piCI< 1Jp rrf'/ pace With e'tle()' 11tep, trying 1o na\ligele to the stalrw and out of !no
ou~lng ~ 1nl0xicatcd and panicl(lng. I pulled on my J ■ cketps-1 ■ a I foul'\d lhc stalra, and
 Olilcle It heliway down one flight beb'e ~ lnlo tears. I oal down 0$ the              weight      of Whul had
just ~ppened hlt me even ~rdef, l a,•ed the ftrst person who came lo mind,
She !Ives In my building and I r-gured She would be awake. I ne&ded hetp. 1needed someone. I
 pulled ~~ether~ beat I covld, enot.gh 1;> ~ 1Jp ano leave the bt,likilng. On my WfJY
blJcl< to Pegra 111, I WH crying SO han:l I could not stand Uptight f« '"iliili I fCfN second1.
Whe,, J had made ll lo tha Blllckwoll arch,                           nd his frian~0und me. Tho)'
:.asked me tr I was ol<uy, but I could POI ertcuete my U\oughta
  physlcafty wpport me end led me bad< to -
                                                                       ~e,liEsob$
                                                               el ttie way to
                                                                               .           They both helped
                                                                                              m, I COUid only
  say, '1 can't believe WN!tjusl happen«!, How could lhiS happen?                     1got'lo ■■■ t0001,
  I continued k> ay while the held me. l collap&ed onto her on her rcomrn8'e's bed. She end             1111
~ mforl me, ind ehe evcnt1.11lly begin cailling othec frtol'ld1 or mine to oome halp.
~ aa 1he flrsl to answer the pllOno. Ha came OY1!f' rrom- 0 -                                              It
  was -'Pproxl!natel)' 3AM.




                                                                                                           Page 16 of 44




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      They tried lo leEid me beck to my room, bl.It I CO\.ltdn't make ii I collapsed In the haltway,
  unable lO gel up b ~ of the emotional IRS$, I WlllS ayfng 8$ hard as I eve, h.ve before. I
  IDld on the floor sae,mlng, tty,ng to procoss hoW ~iS covld have happened 110 me, but I couldn'l
  process any rut, coherent thoughts. Somehow they got me lo• 1~ndlng pos!tlon and - -
  unlocked my room. I collapsed 1g1ln. I 18y on the loorln a ball c,y\n;, &<:teaming, eic~
  unli•••tilt 1he l'lld no Ol)tiOn bUt to c.B the Retldent Astitl8nt on-ail,
       I remember ~                           ldng whle ~ d rr,y heed ki his lap, but I COIA<! only
  catch e few ~ too consumeij by the tears end lhe emo5onal a.!)(!
  physical 1>3Jn lhet kept me on the noor. Sornchl)f;', I ended up on the phone with Sti.ch1
  Broderick rrom the Wonien'1 Center who ~keel me livtlugh ,ome options. I tried 10 Clim dDWTl
  enough lo p ~ what~ WH Hying, but Jt wa, d i ~ I weighed rr,y Optlont .. best I
  COUid, given that I WH In such d~HS, Ind c,ocirJed to go kl U'le hOs?'II to hlvtt 81'1 exa_m done.
            :ahed for tnansport wh•e -               ntlcaUy tried to prepare a bag lo take with us. I was
  able lo IUll1d Ill 1h11 polnl, llS the        ..-.s hWn9 me. I hit rr,y bed several times, ,o frustrllted
  by the ovents o( 11\C nlgnt I became lOO eJtl'IIU$1Cd 10 continue.
                   elped me ch,nge clothes bocauff I lold h!lf I could not at.and to t.1ay In the dothes
  from tti.i nigh~ tho went Wltt1 .nie IO t!'le bathroom and h~             dean up n tiotl ts wo could.
-            llyad at Pegram 1nd I r9que11Led 1t1allllltnd ~ aocompeny mo to the
  hospest; I ebsolutely needed lhem both, I cOl:Ad not go without them. I could nO( do this by
  mys,etf a.!'ld they boltl knew cJllferent pieces of me. They made me feel nfef and were helpl,,g to
  gr04.1nd me. The tell'$ finally mos~y s.iOpped, Ind the oumbnes$ set In, I started 10 fed the pa1n
  In my •~• more anct tried lo retpond whet1 people apoke to me.. I went e~lon11ly ntmlb lhen.
  All I could feel WH the pnylicaf pain. My brain had slopped. I tiec.me. eh~ of I per10n. t
  remained~ lhie S1at.e until litlc the! next momlng, when we mtumed 10 the dorm from lhe
  hospilfll.
  Wo ani11ed at the hospbl 1101.mcl 4:30AM. While there, I slept for a short period, but only after
  tney administered T)'lend ID help my pnys1c11 pain t;11bgJoe, and only because I was too
  exhausted to •~Y awake. I was ie(rifled to deep bec:ause I felNld rr,y bolln would make me
  tefive the events ot the night. Make me relive how I hid been vlolal&d. Nthoogh moments lcept
   llathlng thrcuQh my head that caused me IO e,y for • thOft lime ain or Mltld me Into an
   lnlemal panic, If I 11&yed awake, I c1Md focus or,                          They were '1ere to make



- ould
   things belle,, They kept me hol~ on,

~               oont of 8'e events of the momlng of ~nua,y 19th, 2018 111 best that I, -
                   remember and recount tnem as ot Januar; 20th, 2018.




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               Attacl1D1ent C                                        \"ritten Statement)




I.la)' 7, JOJO.

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-..;th the C1>111pbi1J:1nl VI January af JO:IJI. ~t only ad !hi, f;,l:,.e allesation p<O<Tlpt !hr:, Tetter lh;at led to
lhis written sl3t.,ment, il a,l,o alienated m<: from my peers, paralyzed me in h,ar whe1> I humbly
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repcr,u:4lllM of ,.,Nd! 10uJ> m~l>'f moce people, than jUl.t rny.elf.




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              tn tht:- ~ing or 2018 wh.:-n fta lernity fU$h t>es~n, IYI'~$ C>Yt <:>f m-; comm rt ~,;,ne, l h;d ~\'Cf
 ~n to IJrge par~. but In an effo,t to fit th,e mold of what manvof my Ii lends valued. I jof,ied lo . At
the time, i was romantically 111\>0lved v,lth a cl.issmate and the two of us had plans fotthe romir\1t
 weeh. Howc-.-.:1', an one or u- e,.,enings. m-; dai..w..., Ul1.'lvailalile a1.J b"""u""' u d..,t.t, e. ru:.tcrn at
the~ ru~h e-.-e llts, I asked a fricr'CI of a friend if $1\e would joio as mv p1U$ ooe to the tvent It Y;as at this
te">'t,lll ti1.1l l be!H:'lle I ltl'Jo.t met lhe Curnpl.iiridnl. l11e Ct>tnpl.ti"4•1l wa~ Uu, dab:' uf 0111: uf my friend-:. .tnd
we ,ended up talking briefly. I !att!r learned d~ Complllnant was. also .i friend of my date, Isa'" !:tie
Compl~rl\ant briefly tlvougtloot the re~t of the evening. Two d;&y$ l;iter, I r~n into the Compl;a]n:inl at a
 p.utv ln the basen~t or a hou5e, Beuuse tt.e baserne,11 wassm.ill and we were .ill In dose quarters,
"'"" ipolte a lew Um ... that ,:vcni11.3. r,•cntu.af}y, vie erttled up making 0'.11' wa1 to O.,yjn,:,•~. The
CumpLtin.1nl rt,pt!,llt,dl•, c:..:ime up to""" ,i~kirli; me to 1:orne b.lck lo l1N tloun wiU1 ~r. I left ~vine'~ in
an Uber with~~ othl!r guys. I did not li:~·11: v.ith the (ornp\a~nt- When Iiot bac~ to my dorm, I had
 bru~ht:'d 111!' l<:!t:U1.ind was rn.u.li lut b!:tl. , .,....,,,.. ti,,c,tl,I polling tll!' r.,t.,fn.,, i11 bt,(.,.u!A! I h.:.d oo plans of
~einR a llyone- after rrtum~i; w mv dorm. Too Complainant 'liiJS text int! me rcpcate-dly and ca llln~ l
 bcfo:ve it w.1~ the third CQ!f tha l 1 ;ictuall'( answi:r,:d and llw:., f in.,lfy w=t ta let kt in my
dorm. Afi;er b,fi!fl~ eng.ii;~i;: Oil !,ma II tal~, we gut into my I.Jed o)Od had cort<.P.nsual se~ usin1 a condom.
 In the mi<bt of having ~sef\S'U-11 $ie~ with her facing awa·,· fr,;,m me, the Cgmpbin;;ar,I iexpliciUystated
 •'stick It lomv       ,3~~ • rert'fe'10ll1:l my penis which de~plte b.!lni; u1w,asy about the r!!quest, I fi5ured 4,,.,,as

 more ln!X>:P«irnc~ th.in mon, and did so until she to!<! me tt- stQp which I immediately complied with
as wor1 ,b >tie, tulJ rne to, Wt! r.-,,urn~ cor1setl6UJI YJbllkll hlkrl<>UfS<e and oiler ward~ I lotd lt>t!
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lod.~ro ~&c1l~st me.

          ~ lollcwlni; day, l re-otl~ed numerous lei<tl. 11\dtell Uni; th;it I Y.lltl. no lor,i;er welcame In t:tor lain
eroops ...,ith frii:-nds I Ii.ad btlllt u<>.1t rt'lationships with. I was .al•:m;i,ted frWtl rn;inv of my fricoos as ii
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          W'l'l•le I ill!Jf:lrect..te Duke gn,lng tne the 0pp0rtunil)' tc te'Sp<lfld to the aflt!-gatlans prior lo
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'utnd.ctfueM.s.s of .!l tell""" Duke ~tudent.. I lla';e mtved durrr,.; rnv tlme at Ouke to help a~ rh.lny other
~IJXiellb on oiAr c;1mpuu~ i I pc:,:;~ib~/c;an, and I ~!ff lir\t and rQfef!1i;i,t dis~ppointed WI m),df f,;,r
patticip;>ting in "con,.r,,....~I r,ncounter "'ilh ~ f.,m,lc, ~tudent l didn't k,10,,i. wdl enaugh to t,.,ve
consens\Jal sex with ~cintse had I known who~ really was, I would ne,,er be in this posltioo, and
1.econdlv, I'm di~wcinled in u,., Ulfflpl;sin•nl for whak ~her.. lryin:s la do to mr, wl>c!n ..i,., i> ""'"'" ol
hN actions a lld het words during our cons-cnsua I eru:ounter and is now hurting t~ true Comp ta inants
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                                                                           Sint~r.lv.




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 Attachment D (Te.'.\.1: Messages Between




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                           iM~s,;rirti:
                     Fri, Jan 1'\ 1l:25 .,:,Ii




     What where are you




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   Where are you

   I'm still here




                                     ..
                                          -
                                     I'm so mad ·
                    .I .wanted t hook up ·with tu

             ~                                0
.,,;-
         on
         ~
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  <                                             CD




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\.,UI I It: LU I I   IY   UUI 111 ll lt::11




Lmk lot




I'm ready for ya

But you're not coming I bet

If you don't come soon I'm
gonzo


                                                 0



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111




 <                                                      CJ)

      gonzo




      You here?




      Cmonn




      It's been 5 min

      I'm going to bed if you Lyon




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      Attaclunent E




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                        Attachment F (                        Iedical Records)




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HIST"ORY
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Attachment G



                  Fri, Jan   rn,   3:08 Pi\-1


   What'd you tell people

   Dude what'd you do

                                                         0
          •
.all Verizon ~
                  n     1:39 PM
                                           8 0* ~ @ ~   65%L~~=
 <                                                        CD
   Wliaf'a you ten peopfe

    Dude what'd you do

    Are you okay??




    Please don't tell people I raped
    you          have no idea what




                                                              Page 32 of 44




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happened and I'm hearing a lot
of stuff



          talk to me please




        I am just so confused, I
        to know what you're




                        1:39 PM        f...@   -1   *65% C::
<                                                       CD




                                                        Page33 of 44




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    Please don't tefl people I raped
    you        I have no idea what
    happened and I'm hearing a lot
    of stuff

                    Fri, Jan ·19, 7:07 P J


            talk to me p1ease




                                                Delivered

-          am just so confused, I
    want to know what you're
    saying

    I've heard some terrible things
    and I don't know where they're
    coming from I just need to talk
    to you




                                                     Page34 of44




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         Attachment H (       ketch of        oom)




-f-t1_,::_::._:-__=_======::===:::::::=~:::;:::~t--~0C~

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                                                      Page 35 of44




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Attachment I (De.an Victoria Krebs' February 12, 2019 notes (redacted)



                    hKiderit Report   2019: Note "'Update/O0'5:e File"




                                                                         Page 36 of 44




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Attaclunent J (Te..'\."t l\Iessages between




                                   •I

                                         d


     What's going on -


     Whem's -
     Ple.;se talk to me




     Oby ~fl ~01.1 plei:$e ,:ust tell her # what's going
     Oi1 is all true
                   I realty h~ no klea what was gotnO
     oo and if I did that I ftJCked i,p boo but I realty
      don't think I lNOUld do th.ilt

      Can I tak to her



                                                                      ".



      ()l(ay   but iS r.he okay?

                       I don't ktlCJ1f ii<1W CO ~pond 10 that, gj courso :
                       thll'lnot~av .·· ·              .     , ·.·.· _: _- .: '

      But last night after she was tot.any f1t1e we talk a
      little tMt and then she lett t'm still so contl,lSed
      where it wenl wrong
      She mad~ fun of me alittle bit and        ~ il!u(Jhed
      and then she reft

                    rm nol OlaB in ii posiilon to say ,m, ,111 bul if I




                                                                                  Page 38 of 44




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Why?




But whv? like It's riot fair if shl'! can just tell
people t raped he-r, there's way m~ to the story
than tnat

Thanks




               .    '
                   '.
                                               .      '   .

Yeah id really app<eoate that




Tomorrow after 4:10. ~ d a y morning or
after 4'10

                                             -fll tot_h s know

Thank you



                                   Wednesdey morning et 9?




                                                                 Page39 of 44




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    UU:r.. 'WIIJ   t Uf'\lf:S' U   ~   .ti tU li , ....., JI a f ~ ii;..Gl'-f   J'-'~'   tsc:IJI

    people I raped Iler, there's way mOJe to the story
    than lhat




    How isllll1oiflg




    Yeah id reany appeeciate that




    Tomorrow atter 4:10. 'WedneSday morni119 or
    .afler 4 :10

                                                                                                   rttkn.bcrkncw
                                                                                                    '..... .
                                                                                                   -.            .;,.,
                                                                                                               '..:•



    Thank you




    Thanks for 11-\e texts arid the orfer to meet wrth
- l c:brt think k would be a good Id ea fol' tJ$
~down and talk right now. Maybe after
    some-time has passed we cOUkf sit down.
    Thanks a~in for offering.




                                                                                                                         Page 40 of 44




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Attachment K (                                                          e.'lrt l\.lessages and Email Staten1ents)




        Cn 1h?" •1•v1~1,,1~ •~•? Ftt'J~r, ,.,,r~J4fl ~· l 7Ji ,; ; 251 : J l r 1 - J t 1.• :m: Sh~·~~ ).t,Q!)il't ... I' 11
        \~,~·,.ire !r,~C1ht-rt"rrl\1 I t-.tr,h¥.nt0 ~ t.ood. ,ev t► ~~1t i,-, ftr1:f .                   ,. :It"'' ,, ..
        w~ol ~re-;. " · .......,. cr,ct,c;, 'I 0f'l'lr6 r                      I"'
                                                                    , re ,-.,. uc-,1.:!lv' mp. -h,,•.ul::d net, tole
                                                                                                                     ff''' h,(lfYll1t1.~c ~ b.;:d. 6-;:t-,...c ~n
        hc.t .111.:J I S)LI I t ,·r :,-'TJ1 , ,a;r·u,.Ht(; O'\' ~l-:.vuf1A\ 1.:. ~nd: ,,.. "'i;Ho ,,• d ,u :i .. , tc:,
        ".r.J:-"' .. t"' -. .,,rrffl          ttr:.rtMh.id µul11f 1 - •/\n" 1..._n; -                                          •-f'4'1ff\•....,.-...Uanc:.,i.- l t-:.1
        &:c.~1i:.ttr,~d hm t-:.1 ll■•••~t~ ~ r J r u t e t d e d t-a l~II !flt:- ·:fhtltdrl1-t1t lhtr ·,1,~,~
        ha,·1:1; :on:,en,.,,:, oai;1r..;1,:,e:, In h:, 1':lcm ·~h1lc hi: rc,:m,,._,:-C w.1. ll"cre. S ,c said:h..t:he had.
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        t<ll1 h,d·,;, h~dM~dotu:•·\o, l1c ;,·,J ,r;t~·r, <'-'<~ . -;-,-,~r-.ih~ tct.1 mg tt,•i i:,o:.,..,d~d t,, M•e•.,st·,,>,'.ie•
        _,,r, M tn,e,, h«-cbth"' or,:h•C?Jr.d f-ar•"'3l' fr= the l,.,:j_ Sh•ihe1 tdd me th,: they                                                      ~, ·,..,s
        a,t._,l d:;r~ c:,ol•"'- •nd :ho ,aid ,he ·-.--cul:1'01: dcM rt ,f he r :,:j h:d 1,;be boJt he d ,cl m,:. 5h,e :o'd
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        t )C Ce<:t:to, to.;, tj tt:e, .... _."..,. .1ft~~t.zll1,g t::i the: Di.. ,,e \\·:men'!:i Ce1t=r. J f,:u~e n'th:, ::::rv11th
      -         ilr-d arrru:::'d ~t -;h'!' h:1:.:ub s.:im~L,"TlC e.lrl\· 1, the- men- )&.




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                            Attachment L




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   ,Ullt,!   ti ·~'t   IU       ,I   rmt imm«h:trd y. I h~r,<11           L~.11   ul   11 .        •       .ii   l:31. l ~tUw;,
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hyst~,i~I !,.:for;- uk<l 11) \'otcll n>~ op ;in wfo,t n~(II}• ~.M g,,illG ,:i,1 nod "hl• "'
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(ll>t:'l'lti,1~) m1.1u111.i 2_lll am ~ : i ; . h~•.in!,\,x•r:-,n,1tal ~ ;;!/irnil M," ,.,11, • goy l u - 1 II,
lll•I ,,,n.,11h,.., hi, 11.,m~- ·1 h:11. It.: l,-;E.•n '" .111ally r-..p~ h.11 :uknh..i h:id ~aiil "" ;1 l~-,.y 1im.:, ,iml
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Jud t.,w.111;, p,'\01'1~· cl()th~ in fr,')111 {>fhin., ,c.; w¢IJ, 1bcn, she hrokc d,.)\1:11 .:ninr. in sh~ lull~·~y
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                  ExhibitD




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Duke"                       NIVERSITY



October 7, 2020




Dear Mr.   Ill,
A panel of the Appellate Board comprised of Or. Carmen Rawls, Pratt School of Engineering
Assistant Dean; Tasha Curry-Corcoran, Student Affairs Education and Training Associate Director;
and me, reviewed the appeal of the hearing panel decision in case 00079-2018, dated August
16, 2020. The panel found you responsible for Sexual Misconduct, namely Sexual Violence.

You raised an appeal on the basis that there were procedural errors that materially impacted
the hearing panel's decision. In support of your appeal, you submitted a written statement on
September 2, 2020. The Complainant declined to submit a written response. The appellate panel
convened a hearing on September 30, 2020, which you attended, accompanied by your advisor,
via Zoom. The Complainant did not attend.

After conducting a thorough evaluation of the issues you raised in your appeal and reviewing
the hearing panel record, the appeal statements, and the information presented at the meeting,
we determined, by a 3-0 vote, that the appeal grounds were not substantiated.

You alleged seven procedural errors that materially impacted the hearing panel's decision.

    1.   You argued that you were unable to prepare for and question a key witness, Dean
         Victoria Krebs. Specifically, you assert that you were denied access to "essential
         information," namely the full, unredacted, notes from your February 2019 meeting with
         Dean Krebs and that you were not informed that Dean Krebs would be a witness at the
         Student Conduct Board hearing.

         The appellate panel concluded that there was no "procedural error that materially
         impacted the hearing panel's decision." First, the panel observed that Dean Krebs was
         on the witness list provided to you more than 120 hours in advance of the hearing, as is
         required under the policy. Thus, you had adequate opportunity to prepare to question
         her as a witness. Second, the appellate panel was unpersuaded that you were denied
         access to the full unredacted note. You had the opportunity to review the investigator's
         report, but did not object to the inclusion of only a redacted version of the notes, nor
         did you request in writing the notes in preparation for the hearing. While you maintain
         that you requested the notes in a pre-hearing meeting with Dean Mccullers, she denies
         that request was made and there's no documentary evidence to support it. When you
         did request the notes to prepare for your appeal, the Office of Student Conduct supplied
         them promptly. Third, there is no evidence to support the conclusion that the
          unredacted notes would have "materially impacted the hearing panel's decision."
         Importantly, despite the fact that you now have the unredacted notes, you did not
          provide the notes to the appellate panel. Nor did you provide any explanation of why
         the notes would have been relevant to the hearing panel's decision.

    2.     You argued that Dean Krebs, as a witness, "made decisions on what evidence was
           relevant, what would be provided to [you], and what information would be included in




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         the hearing packet provided to the panel." However, we determined that only the Office
         of Institutional Equity investigator in this case made the determination as to what would
         be included in the Investigative Report and which portions of Dean Krebs' notes would
         be redacted. As a result, we found no evidence of a conflict of interest.

    3.   You also argued that it was a conflict of interest for Dean Krebs to both be a witness and
         determine what portion of her notes were included in the investigative report. Because
         the investigator made the decision about the notes, we found no evidence to
         substantiate this basis for the appeal.

    4.   You argued that "had [your] hearing been moved to the following week as [you]
         requested, [you] would have been entitled to have [your] case resolved under the new
         Title IX grievance procedures adopted by Duke on August 14, 2020." According to a
         technical assistance document issued by the Department of Education's Office for Civil
         Rights, the new Title IX regulations do "not apply to schools' responses to sexual
         harassment that allegedly occurred prior to August 14, 2020." Because the allegations
         against you concerned conduct in January 2018, it was not a procedural error for the
         Office of Student Conduct to use the procedures set forth in the 2019-2020 Student
         Sexual Misconduct Policy.

    5.   You argued that witnesses who testified to the Complainant's "emotional capacity"
                                         of
         were prejudicial. The calling witnesses and the admission of evidence is left to the
         discretion of the hearing panel, and the appellate panel found no evidence that the
         witnesses' testimony was prejudicial.

    6.   You argued that "the virtual nature of Zoom did not provide an adequate opportunity
         for the panel to properly evaluate the credibility of the witnesses, Complainant, or
         Respondent." Nothing in the policy prohibits the use of Zoom for a hearing, and you
         have pointed to procedural error in the administration of the virtual hearing. 1

    7.   You argued that the panel did not apply the preponderance of the evidence standard .
         However, the hearing panel's decision clearly states it applied the preponderance of
         evidence standard. To the extent that this ground for appeal asks the appellate panel to
         reweigh the evidence, that is not an appropriate ground for appeal.

For the reasons explained above, the appellate panel voted to uphold the hearing panel's
decision and deny the appeal. We know you will be disappointed in this outcome, and we want
you to know that we reviewed the case thoroughly before reaching our decision.



Sincerely,




Tim Bounds
Division of Student Affairs
Chair, Appellate Board

1
 Your appeal notes that the Complainant and her advisor made a claim that your advisor rolled his eyes,
and you imply this was only possible due to the virtual nature of the hearing. Even if true, this would not be
a procedural error, and there is no evidence that the alleged eyerolling had any impact on the hearing
panel's decision.




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                   Exhibit E




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                                UNIVERSITY'S MISSION STATEMENT

James B. Duke's founding Indenture of Duke University directed the members of the University to "provide real leadership in the
educational world"by choosing individuals of"outstanding character, ability, and vision" to serve as its officers. trustees and faculty; by
carefully selecting students of "character, determination and application:· and by pursuing those areas of teaching and scholarship that
would ·most help to develop our resources, increase our wisdom. and promote human happiness.'
To these ends, the mission of Duke University is to provide a superior liberal education to undergraduate students. attending not only to
their intellectual growth but also to their development as adults committed to high ethical standards and full participation as leaders in
their communities; to prepare future members of the learned professions for lives of skilled and ethical service by providing excellent
graduate and professional education: to advance the frontiers of knowledge and contribute boldly to the international community of
scholarship, to promote an intellectual environment built on a commitment to free and open inquiry, to help those who suffer. cure
disease, and promote health, through sophisticated·med1cal research and thoughtful patient care; to provide wide ranging educational
opportunities, on and beyonq our campuses, for traditional students, active professionals and life-long learners using the power of
information technologies: and to promote a deep appreciation for the range of human difference and potential, a sense of the obligations
and rewards of citizenship, and a commitment to learning, freedom and truth.
By pursuing these objectives with vision and integrity, Duke University seeks to engage the mind, elevate the spirit. and stimulate the
best effort of all who are associated with the University: to contribute in diverse ways to the local community. the state, the nation and the
world: and to attain and..malntain a place of real leadership in all that we do.
                                                                                   - Adopted by the Board of Trustees on February 23, 2001




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    The information in this bulletin applies to the academic year 2017-2018 and is accurate and current, to the extent
possible, as of July 2017. The university reserves the right to change programs of study, academic requirements,
teaching staff, the calendar, and other matters described herein without prior notice, in accordance with established
procedures.

     Duke University is committed to encouraging and sustaining a learning and work community that is free from
harassment and prohibited discrimination. The university prohibits discrimination on the basis of race, color, religion,
national origin, disability, veteran status. sexual orientation, gender identity, sex. genetic information, or age in the
administration of its educational policies. admission policies, financial aid, employment, or any other university
program or activity. The university also makes good faith efforts to recruit. employ, and promote qualified minorities,
women, individuals with disabilities, and veterans. It admits qualified students to all the rights, privileges, programs.
and activities generally accorded or made available to students. Duke University has designated Dr. Benjamin D.
Reese, Vice President for Institutional Equity, as the individual responsible for the coordination and administration of its
nondiscrimination and harassment policies generally. The Office for Institutional Equity is located in Smith Warehouse.
114 S. Buchanan Blvd., Bay 8, Durham, North Carolina 27708; 919-684-8222; ben.reese@duke.edu.
    The university also does not tolerate harassment of any kind. Sexual harassment and sexual misconduct are
forms of sex discrimination and prohibited. Duke University has designated Howard Kallem as its Director of Title
IX Compliance and Age Discrimination Act Coordinator. He is also with the Office for Institutional Equity and can be
contacted at 919-684-1437 or howard.kallem@duke.edu.
     Questions or comments about discrimination. harassment. domestic violence, dating violence. and stalking can
be directed to the Office for Institutional Equity, 919-684-8222. Questions or comments about sex-based and sexual
harassment, domestic violence, dating violence, and stalking committed by a student can be directed to the Office of
Student Conduct at 919-684-6938. Additional information. including the complete text of the university's discrimination
and harassment policies and appropriate complaint procedures, may be obtained by contacting the Office for
Institutional Equity at oie.duke.edu or the Office of Student Conduct at studentaffairs.duke.edu/conduct.
     The Family Educational Rights and Privacy Act (FERPA), 20 U.S.C § 12329; 34 CFR Part 99, is a federal law that guides
the release of students' education records. of which disciplinary records are a part. For additional information about
FERPA, see www.ed.gov/policy/gen/guid/fpco/ferpa/index.html.
     Duke University is prepared to make reasonable academic adjustments and accommodations to allow students
with disabilities full participation in the same programs and activities available to students without disabilities. The
Student Disability Access Office assists students with disabilities who are enrolled in Trinity College and the Pratt
School of Engineering. In order to receive consideration for reasonable accommodations under Section 504 of the
Rehabilitation Act or the Americans with Disabilities Act (ADA), a student must have a physical or mental impairment
that substantially limits one or more major Life activities such as, but not limited to, hearing, seeing, speaking, breathing,
performing manual tasks, walking, caring for oneself, and learning. Substantially limiting refers to an impairment that
prevents an individual from performing a major life activity or significantly restricts the condition, manner, or duration
under which an individual can perform a major life activity.
      Students requesting accommodations under the provisions of Section 504 or the ADA (e.g., academic, housing.
etc.) must consult Dot Mishoe. director, Student Disability Access Office, 919-684-8231 or 919-668-1329 TTY. to explore
possible coverage. Students with medical conditions not covered under the provisions of ADA must consult Duke
Student Health Services at 919-681-9355 for further information.
    Duke University recognizes and utilizes electronic mail as a medium for official communications. The university
provides all students with e-mail accounts as well as access to e-mail services from public clusters if students do not
have personal computers of their own. All students are expected to access their e-mail accounts on a regular basis to
check for and respond as necessary to such communications. Students are also required to provide an accurate local
physical address and a cell phone number through DukeHub.
     Information that the university is required to make available under the Student Right to Know and Campus Security
Acts may be obtained from the Office of News and Communications at 919-684-2823 or in writing to 614 Chapel Drive,
Box 90563, Duke University, Durham, North Carolina 27708.
     Duke University is accredited by the Commission on Colleges of the Southern Association of Colleges and Schools
to award baccalaureate, masters, doctorate, and professional degrees. Contact the Commission on Colleges at 1866
Southern Lane. Decatur, Georgia 30033-4097 or call 404-679-4500 for questions about the accreditation of Duke
University.
     This publication may be accessed online at registrar.duke.edu/university-bulletins.




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                            ACADEMIC CALENDAR 2017-2018
Trinity College of Arts and Sciences: the Pratt School of Engineering: the Nicholas School of the Environment: the Graduate
School: the Sanford School of Public Policy: the School of Nursing. Consult the calendars of the various schools for additional
information,


SUMMER 2017
Monday, February 20                     Registration begins for all Summer sessions
Wednesday, May 17                       Term I classes begin. The Monday class meeting schedule is in effect on this day.
                                        (Therefore, all summer classes meet this day.) Regular class meeting schedule begins
                                        on Thursday, May 18: Drop/Add continues
Thursday, May 18                        Regular class meeting schedule begins
Friday, May 19                          Drop/Add for Term I ends
Monday, May 29                          Memorial Day holiday. No classes are held.
Wednesday, June 14                      Last day to withdraw with W from Term I classes (Undergraduates)
Monday, June 26                         Term I classes end
Tuesday, June 27                        Reading period
Wednesday, June 28                      Term I final examinations begin
Thursday, June 29                       Term I final examinations end
Monday, July 3                          Term II classes begin
Tuesday, July 4                         Independence Day holiday. No classes are held.
Thursday, July 6                        Drop/Add for Term II ends
Monday, July 31                         Last day to withdraw with W from Term II classes (Undergraduates)
Thursday, August 10                     Term II classes end
Friday, August 11                       Reading period (Until 7:00 PM)
Friday, August 11                       Term II final examinations begin, 7:00 PM
Sunday, August 13                       Term II final examinations end




FALL2017
Tuesday,August22                        New graduate student orientation begins
Tuesday,August22                        New undergraduate student orientation begins
Wednesday,August23                      11:00 AM. Convocation for new undergraduate students:
                                        4:00 PM. Convocation for graduate and professional school students
Monday, August 28                       8:30 AM. Fall semester classes begin: Drop/Add continues
Monday, September 4                     Labor Day. Classes in session
Friday, September 8                     Drop/Add ends
Thursday or Friday, October 5 or 6      5:30 PM. Founders' Day Convocation
Friday, October 6                       Last day for reporting midsemester grades
Friday, October 6                       7:00 PM. Fall break begins
Sunday, October 8                       Founders' Day
Wednesday, October 11                   8:30 AM. Classes resume
Monday, October 23                      Bookbagging begins for Spring 2018
Wednesday, November 1                    Registration begins for Spring 2018




                                                                                                                                  7


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Friday, November 10                   Last day to withdraw with W from Fall 2017 classes (Undergraduates Onlyl
Wednesday, November 15                Registration ends for Spring 2018
Thursday, November 16                 Drop/Add begins for Spring 2018
Tuesday, November 21                  10:30 PM. Thanksgiving recess begins
Monday, November 27                   8:30 AM. Classes resume
Friday, December 1                    Graduate classes end
Saturday - Tuesday, December 2 - 12   Graduate reading period
Friday. December 8                    Undergraduate classes end
Saturday - Tuesday, December 9 - 12   Undergraduate reading period
Wednesday, December 13                Final examinations begin (9:00 AM.)
Monday, December18                    10:00 PM, Final examinations end




SPRING 2018
Sunday - Tuesday. January 7 - 9       Undergraduate Winter Forum
Wednesday, January 10                 8:30 AM. Spring semester begins: The Monday class meeting schedule is in effect on
                                      this day: Regular class meeting schedule begins on Thursday, January 11:
                                      Classes meeting in a Wednesday/Friday meeting pattern begin January 12:
                                      Drop/ Add continues
Thursday, January 11                  Regular class meeting schedule begins
Monday, January 15                    Martin Luther King, Jr. Day holiday: classes are rescheduled on Wednesday, January 10
Wednesday, January 24                 Drop/Add ends
Monday, February 19                   Registration begins for Summer 2018
Friday. February 23                   Last day for reporting midsemester grades
Friday, March 9                       7:00 PM. Spring recess begins
Monday, March 19                      8:30 AM. Classes resume
Monday, March 26                      Bookbagging begins for Fall 2018
Wednesday, March 28                   Last day to withdraw with W from Spring 2018 classes (Undergraduates Only)
Wednesday, April 4                    Registration begins for Fall 2018: Summer 2018 registration continues
Friday, April 13                      Registration ends for Fall 2018: Summer 2018 registration continues
Saturday. April 14                    Drop/Add begins for Fall 2018
Wednesday, April 18                   Graduate classes end
Thursday - Sunday, April 19 - 29      Graduate reading period
Wednesday, April 25                   Undergraduate classes end
Thursday - Sunday, April 26 - 29      Undergraduate reading period
Monday, April 30                      Final examinations begin
Saturday, May 5                       10:00 PM. Final examinations end
Friday, May 11                        Commencement begins
Sunday. May 13                        Graduation exercises: conferring of degrees
April27- 30                           Thursday-Sunday. Undergraduate reading period
Mayl                                  Monday. Final examinations begin
May6                                  Saturday. 10 p.m. Final examinations end
May12                                 Friday. Commencement begins
May14                                 Sunday. Graduation exercises: conferring of degrees




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                                 UNIVERSITY ADMINISTRATION
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Jeffrey Vincent, PhD. Interim Dean. Nicholas School of the Environment
Nancy Allen, MD. Vice Provost. Faculty Diversity and Faculty Development
Edward J. Balleisen, PhD, Vice Provost for Interdisciplinary Studies
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Scott Lindroth. PhD. Vice Provost for the Arts
James S. Roberts, PhD, Executive Vice Provost for Finance and Administration
Jennifer Francis. PhD, Vice Provost for Academic A1fairs
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Stephen Nowicki. PhD, Dean and Vice Provost for Undergraduate Education
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Search in Progress, Vice Provost for Innovation & Entrepreneurship Initiative


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Carmen Rawls, PhD, Assistant Dean for Advising and Outreach


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Zoila Airall, PhD, Associate Vice President of Student A1fairs for Campus Life
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Joe Gonzalez, MA, Interim Assistant Vice President. Housing and Residence Life
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Christopher Roby, MS, Assistant Vice President and Executive Director, University Center Activities & Events
Suzanne Wasiolek, JD, LLM, EdD, Associate Vice President of Student A1fairs and Dean of Students
William Wright-Swade[. MEd, Assistant Vice President and Fannie Mitchell Executive Director, Career Center


 ADMISSIONS AND FINANCIAL AID
 Christoph 0. Guttentag, MA, Dean of Undergraduate Admissions
 Alison Rabil. EdD, Assistant Vice Provost and Director of Financial Aid




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\ ··      /             DUKE COMMUNITY STANDARD
   \'./
                        Duke University.is a community dedicated to scholarship, leadership. and service and to the principles of
                        honesty, fairness, respect. and accountability. Citizens of this community commit to reflect upon and lJphold
                        these principles in all academic and nonacademic endeavors, and to protect and promote .a culture of
                        integrity.
                        To uphold the Duke Community Standard:
                            •    I will not lie, cheat, or steal in my academic endeavors:
                            •    I will conduct myself honorably in all rriy endeavors: and
                            •    I will act if the Standard is compromised.




       STUDENTS' OBLIGATION TO ACT WITH RESPECT
       TO THE DUKE COMMUNITY STANDARD
       The Duke Community Standard (DCS) stresses the commitment that students share with all members of the community to
       enhance the climate for honesty. fairr:iess, respect, and accountability at Duke University. Students affirm their commitment
       to foster this climate by signing a pledge that includes taking constructive action if they witness or know about behavior they
       perceive to be inconsistent with the DCS. which may include violation of university policies. Although there are no disciplinary
       sanctions associated with the failure to act. students are nonetheless expected to take action-to do something-as a
       responsibility of membership in the Duke community.
       The university recognizes that it is not always easy to act in these situations. but several alternatives are available to suit a
       student's level of comfort and confidence. These alternatives are not mutually exclusive.
              •   Speaking directly with the individual exhibiting the behavior, both to gain clarity about the situation and to inform the
                  individual about the concern.
              •   Publicly calling attention to the behavior as it is occurring.
              •   For incidents involving social behaviors, alerting residence hall. Student Affairs, or other university staff. The information
                  provided will give staff an opportunity to address the matter informally or through appropriate formal channels.
              •   For cases involving academic integrity, alerting the instructor that cheating may be occurring in the course. This alert
                  can be in any form. including anonymous notification, and the reporting student will not be identified. The information
                  provided will allow the faculty member to consider corrective measures, in consultation with the Office of Student
                  Conduct. and to address the topic with the class or suspected student(sl.
              •   Directly alerting staff in the Office of Student Conduct (919-684-6938: conduct@duke.edu), who will confer with the
                  faculty member involved, if an academic issue, or with the reporting student(sl. strategizing next steps. Maintaining the
                  confidentiality of the source is possible. but may limit the extent of action that can be taken.



       THE CONTEXT OF THE DUKE COMMUNITY STANDARD
       The honor code at Duke is named the community standard because community is at the center of our conception of what
       it means to act honorably. Community entails a sense of connectedness to others and their welfare. feeling part of Duke
       University every day and being responsible for its continual improvement. Community refers as well to a feeling of connection
       to the city in which we are located. It posits the counterbalancing of group benefit with individual needs and wants. and a Duke
       identity with the many personal identities based on demographics and interest. The kind of environment we strive to achieve is
       one in which civility (but not docility) reigns: an environment in which ideas are promulgated, and challenged. in a stimulating
       give and take: an environment in which learning (whether from peers, faculty, administrators. or others in the Duke and broader
       communities) is accomplished with openness. honesty, and respect.




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Citizens of the Duke community commit to acting with purpose, civility, and intention, both with personal decision-making and
with interactions with each member of this community. Choosing to be a citizen of the Duke community means acknowledging
the value of each member, participating in active reflection and asking the question: "How do my actions impact others?'
The honor code at Duke is named the community standard because it expresses our institution's core values and a
concomitant set of expectations for behavior. Because behavior is derivative of fundamental values, the standard applies
off campus as well as on. The principles it articulates, while lofty in one sense, are firmly grounded in individual decisions
made on the ground every day about every aspect of undergraduate life, in academic and co-curricular activities alike: in the
classroom, residence halls, K-ville, off-campus apartment complexes. Myrtle Beach. Paris. and wherever else students may go.
In addition, the standard asks that students not only reflect on their own behavior, as important as that is. but that they also act
to encourage the integrity of their peers. By inspiring and supporting each other. students can shape their environment so that
it reflects the ideals expressed in the Duke Community Standard.
The Standard, therefore, expresses our goals for undergraduate education in the broadest sense and is foundational to
undergraduate life at Duke. It is followed by an equally important pledge that students sign as members of the community.
Duke University seeks to engage all students in its tradition of honor, a tradition that defines the institution and helps to
guide students during their college careers and beyond. The students here today, who are the beneficiaries of the efforts of
those who preceded them, have an extraordinarily important role to play in perpetuating and strengthening this tradition. We
welcome. and count on. your involvement



THE HISTORY OF THE DUKE COMMUNITY STANDARD
In 1999-2000, Duke participated in a national survey through the Center for Academic Integrity. Through responses from
undergraduate students, as well as from faculty and staff. the survey assessed the climate of academic integrity at Duke in
comparative context with other institutions. As a result of the findings, the provost formed the Academic Integrity Council (AIC)
in 2001 by appointing representatives from across the community whose charge was and remains to review academic integrity
policies and practices and make recommendations to improve the climate of integrity on campus.
An early goal of the AIC was to review the existing Honor Code, which had been in effect for the undergraduate community
since 1993. The AIC determined that the Honor Code needed revision to make it shorter while embracing all aspects of a
student's life at Duke. A major element of the revision was the inclusion of the fundamental values that must inform the
definition of a community of honor.
This Duke Community Standard was proposed to the faculty councils ofTrinity College of Arts and Sciences and the Pratt
School of Engineering. as well as to the Duke Student Government. It was approved for the undergraduate community and
implemented in the fall of 2003. The Standard was also incorporated into the code of each graduate and professional school of
the university and, thus. represents the values we uphold as an institution.
Duke University is committed to ongoing evaluation of principles, policies, and practices, and to lively conversation about
issues of integrity. Thus, Duke participated again in a national survey on academic integrity in the fall of 2005 and in intensive
discussions of academic and social integrity from summer 2006 through spring 2007. The result of these continuing and
broadened discussions was a revised Community Standard, put before the undergraduate student body in a student
government referendum of April 2007 and overwhelmingly approved. Implemented in summer 2007, the new Duke Community
Standard differs from its predecessor chiefly in its level of commitment to taking action (see "Students' Obligation to Act with
Respect to the Duke Community Standard" on page 12).
In the spring of 2011, Duke University again surveyed undergraduate students about integrity, this time expanding beyond an
academic focus to additional questions about integrity in other domains (i.e .. social. work. and civic) inside and outside the
classroom. In-depth focus interviews were also conducted with a sample of graduating seniors. Results showed a marked
reduction in academic dishonesty in three key areas that were identified as problem areas in the 2005 survey: fabricating or
falsifying a bibliography, falsifying or fabricating lab data, and copying or paraphrasing a few sentences without appropriate
attribution. One area of concern that emerged from the 2011 survey was an increase in reported unauthorized collaboration.
There was also a gap between students' perceptions of the prevalence of dishonesty across these multiple domains and
students' self-reported rates of engaging in dishonest acts within these domains. Duke University will continue efforts to narrow
students' perception of the frequency of academic dishonesty and actual self-reported rates of cheating and other dishonest            1:
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              GET INVOLVED
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              The Undergraduate Conduct Board is a pool of students, faculty and staff who are selected/appointed
              to hear referred cases of potential violations of university policy. A three- or five-member panel, typically
              chaired by a student, hears each case. About 10% of the total caseload of the Office of Student Conduct
              is referred to a hearing ofthe Undergraduate Conduct Board. The Board has the ability to issue any
              sanction available through the undergraduate disciplinary process for a finding of responsibility, including
              suspension or expulsion. Rising juniors and seniors are eligible to apply. See studentaffairs.duke.edu/
              conduct.

              Disciplinary Advisors are students and staff trained in the undergraduate disciplinary process. They offer
              information about how the process works, advice on how to approach each stage of the process, and
              can support students in attendance at a formal Undergraduate Conduct Board hearing. Students of any
              undergraduate class year, including first-year students, may apply. See studentaffairs,duke.edu/conduct.

              The Duke University Honor Council is a student-led organization focused on promoting the Duke
              Community Standard throughout campus. The Honor Council achieves this through outreach campaigns
              to familiarize students with the Standard as well as through discourse-focused events allowing students
              to discuss the Standard and its principles in the context of their own personal Duke experience The
              Honor Council works closely with administration, the Kenan Institute of Ethics, and prominent student
              organizations to best create a campus community and culture that highlights values and ethics. For
              additional information, contact 2017-18 Honor Council Chair Kushal Kadakia T '19 at
              kushal.kadakia@duke.edu




A STATEMENT OF PRINCIPLES
The Duke Community Standard expresses a standard for behavior-a set of expectations of students who claim membership
in Duke's learning community. ALL incoming undergraduates, upon admittance to Duke, are required to sign a pledge to adhere
to these values and to conduct themselves in accordance with these values throughout their undergraduate careers, Likewise,
upon completion of each academic assignment, students may be asked to reaffirm their commitment to the Duke Community
Standard by signing a statement indicating that they have adhered to the Duke Community Standard in completing the
assignment.
The Duke Community Standard, thus, is a statement of principles. The specific policies, or rules and regulations of the
university, define the conduct for which students can be held accountable.




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Duke University has high expectations for students' scholarship and conduct. In accepting admission. students indicate
their willingness to subscribe to and be governed by the rules and regulations of the university, which flow from the Duke
Community Standard. These policies reflect the Duke Community Standard's fundamental values-honesty, fairness, respect,
and accountability.
Undergraduates acknowledge the right of the university to take disciplinary action, including suspension or expulsion, for
failure to abide by the regulations or for other conduct adjudged unsatisfactory or detrimental to the university community.
Students and groups may be held accountable for any violation of university policy that may or may not be included in this
guide, whether on or off campus. In addition to local ordinances and state and federal laws. the following policies govern the
undergraduate community.



ACADEMIC DISHONESTY

LYING
Lying is communicating untruths or misrepresentations in order to gain an unfair academic or employment advantage. !Wording
adopted from the Duke Fuqua School of Business code.I
It includes, but is not limited to:
    •    falsifying information on a resume;
    •    misrepresenting one's own research;
    •    providing false or misleading information in order to be excused from classes or assignments; or
    •    intentionally underperforming on a placement exam.



CHEATING
Cheating is the act of wrongfully using or attempting to use unauthorized materials, information, study aids, or the ideas or work
of another in order to gain an unfair advantage. It includes, but is not limited to;
    •    plagiarism on any assignment:
    •    giving unauthorized aid to another student or receiving unauthorized aid from another person on tests, quizzes,
         assignments, or examinations;
    •    using or consulting unauthorized materials or using unauthorized equipment or devices on tests, quizzes,
         assignments, or examinations:
    •    altering or falsifying any information on tests, quizzes, assignments, or examinations:
    •     using any material portion of a paper or project to fulfill the requirements of more than one course unless the student
          has received prior faculty permission to do so:
          working on any examination, test, quiz, or assignment outside of the time constraints imposed:
    •     the unauthorized use of prescription medication to enhance academic performance:
    •     submitting an altered examination or assignment to an instructor for re-grading; or
    •     failing to adhere to an instructor's specific directions with respect to the terms of academic integrity or academic
          honesty.
"Plagiarism" occurs when a student. with intent to deceive or with reckless disregard for proper scholarly procedures, presents
any information, ideas, or phrasing of another as if they were his/her own and/or does not give appropriate credit to the original
source. Proper scholarly procedures require that all quoted material be identified by quotation marks or indentation on the
page, and the source of information and ideas, if from another, must be identified and be attributed to that source. Students are
responsible for learning proper scholarly procedures.
The term "assignment' includes any work, required or volunteered, submitted for review, academic credit. and/or disciplinary
sanction.
All academic work undertaken by a student must be completed.independently unless the faculty member or other responsible
authority expressly authorizes collaboration with another.




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STEALING
Stealing is the act of intentionally taking or appropriating the property of another, including academic work, without consent or
permission and with the intent to keep or use the property without the permission of the ow ner or the rightful possessor.




               INFORMATION ABOUT PLAGIARISM
               AT DUKE

               INTRODUCTION: OUR IDEAS EMERGE AGAINST THE BACKDROP OF
               PREVIOUS FORMULATIONS
               Rarely, if ever, do we develop ideas in our individual minds, free of the effects and influences of others'
               previous findings, claims, and analyses. This is not to suggest that writers never forge new ideas: rather,
               the majority of one's thoughts-and certainly the intellectual thinking that we do in university settings-is
               prompted, shaped, and changed in response to and in light of what has already been stated by others, Our
               ideas emerge in response to reading others'texts. in sites of conversation and verbal exchange, with and
               against the grain of the words and formulations of others.
               It is appropriate to think of the university as a vast society of influences, composed of various formal sites
               of critical discussion, reporting, and debate, both verbal and written. University persons-both scholars and
               students-gain status and authority by dint of their intellectual involvement in written and verbal exchange
               (detailing their findings. casting written arguments, offering careful analyses of their objects of study). Since
               the university values the public thinking of its faculty and students, it requires that its members formally
               recognize who has made which sorts of statements in what settings. Scrupulously citing the origin of
               quotations, summaries, and other borrowed material included in your paper enables the social value of
               respect to exist within intellectual circles of research and scholarship around the globe. Not to formally
               recognize the work and influences of others in your writing is to plagiarize, violating an ethic of mutual
               regard.



               THE ACADEMIC COMMUNITY'S GUIDELINES: THE PRACTICE OF
               DOCUMENTATION
               It has become commonplace to envision the verbal and written exchanges between speakers and listeners,
               readers and writers, researchers and their sources, as interactions constituting communities of discourse.
               Discourse communities share interpretive, analytic, and argumentative conventions, Academic discourse
               communities (often shaped as 'disciplines· or 'fields of inquiryi agree to refer scrupulously to one another's
               writings and research findings by explicitly linking quoted materials to the name of the person or persons
               who uttered or wrote them, and by carefully describing the influence others have had upon them.
               In fact, a mark of strong academic writing is the practice of situating one's claims and findings within
               a tradition of inquiry into the subject. detailing the nature of the exchanges that have preceded the
               present foray into the ongoing conversation, at times indicating one's affinities or disagreement with one
               or another avenue of thought. Ethos and authority are enhanced when writers demonstrate their uses
               of others' statements, texts, and representations, and when they appropriately identify these sources in
               their arguments and analyses. This practice is called documentation. Guidelines for how to correctly cite
               materials used within your writing and rules for assembling the list of works that you cite in your paper are
               compiled by academic organizations which produce style manuals. Information firom these style manuals
               can be accessed in the Citing Sources section of the Library web page.



               PLAGIARISM DEFINED
               Academic communities. then. demand that writers credit others fortheir work, and that the source of
               their material clearly be acknowledged. Not to do so is to plagiarize. to intentionally .or unintentionally
               appropriate the ideas, language, key terms. or findings of another w ithout sufficient acknowledgment that
               such material is not one's own. As the Modem Language Association defines this transgression:




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        Scholarly authors generously acknowledge their debts to predecessors by carefully giving credit to each source.
        Whenever you draw on another's work. you must specify what you borrowed whether facts. opinions. or quotations
        and where you borrowed it from. Using another person's ideas or expressions in your writing without acknowledging
        the source constitutes plagiarism. Derived from the Latin plagiarius ('kidnapper'), plagiarism refers to a form of
        intellectual theft. . .. In short. to plagiarize 1s to give the impression ·that you wrote or thought something that you in
        fact borrowed from someone. and to do so is a violation ofprofessional ethics. (Joseph Gibaldi. MLA Style Manual
        and Guide to Scholarly Publishing. znd. ed., New York: M LA. 1998: 151l.
    Plagiarism encompasses a range of errors and violations. Though the charge of plagiarism can be leveled against
    writers who incorrectly or neglect to cite borrowed materials. it most often tempts students who find themselves in
    the dire straits of having to complete a written assignment without previously having undertaken the. laborious and
    time-consuming process of research. reading. note-taking. interpretation. and analysis. Wholesale copying from
    sources is an easy way to fill up the page and to turn something-anything-in on time. In all cases, it is far better
    to contact one's instructor and honestly to discuss with him or her a strategy for completing an assignment rather
    than to risk humiliation and discipUnary consequences Instructors wilL within reason and to the best of their abilities.
    help you to get your papers started and help you to make progress with your work. You wilt do yourself and your
    tnstructorsjustice if you openly and squarely discuss the circumstances of your progress·or lack thereof.
    On occasion. students accused of plagiarism have claimed that their plagiarism has occurred without their
    knowledge or intent. Since ignorance of convention is not a reasonable defense. it is best to become thoroughly
    acquainted both with the various ways in which plagiarism is construed. and with the conventions of source
    attribution and proper documentation. Some students seem to believe that there are different degrees of plagiarism,
    some not as a bad as others. No distinctions are made between any of the following acts. All constitute instances
    of plagiarism as outlined in The Duhe Community Standard in Practice: A Guide for Undergraduates. and all constitute
    transgression of the university's Community Standard. You will be charged with plagiarism if you:
        •    Copy from published sources without adequate documentation.
        •    Purchase a pre-written paper (either by mail or electronically).
        •    Let someone else write a paper for you.
        •    Pay someone else to write a paper for you.
        •    Submit as your own someone else's unpublished work. either with or without permission
    If the work you submit is not yours. it does not matter how you came by it. If you use another person's work to further
    your own understanding of a subject. you must credit the source. (Adapted from Hillard. V. Plagiarism: Its Nature and
    Consequences. Duke Libraries: Citing Sources.)




ACADEMIC FREEDOM
Freedom of inquiry and the free exchange of ideas are essential for the fulfillment of the university's mission. Academic
freedom is a right and responsibility of students as well as faculty. Students who believe that their academic freedom has
been abridged should submit a w ritten complaint to their academic dean. The dean may enlist the faculty in establishing the
merits or extent of the complaint by appointing a disinterested two-person subcommittee of the Faculty Hearing Committee to
provide advice. Cases not resolved by the dean may be brought to the attention of the provost. Students may also seek advice
of the student ombudsperson in resolving a complaint.



ADVERTISEMENTS

BANNERS
Banners on the exterior or interior of the Brodhead Center. East Union Building. Bryan Center. and the Plaza are approved and
installed by University Center Activities and Events. Housing and Residence Life approves banners on the exterior/interior of
residence halls (contact the appropriate Residence Coordinator). Banners attached to residential buildings are limited to five
feet by five feet in dimension (or smaller) and may not cover the windows of a room in a manner that impedes egress. Banners
may not have objects hanging from them (normally used to weigh banner down). Only banners or flags can be hung outside
of windows. Requests for hanging banners on all other university buildings and light poles must be approved by Facilities




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Management located at Smith Warehouse, Bay 1 (919-684-2122). Contact FaciLities Management. University Center Activities
and Events. or Housing and Residence Life for specific guidelines. All exterior banners (including flags) in residential areas must
be removed by the last day of classes each semester.



CHALKING
Chalking is prohibited on any surface, including. but not limited to, sidewalks. archways. and benches.



POSTERS, ANNOUNCEMENTS, AND BULLETIN BOARDS
The following is a checklist of procedures with reference to the posting of notices on university bulletin boards. building doors.
containers, light posts, trees. and sidewalks:
   •     Posters/flyers must provide information regarding student activities. give information of an academic nature, make
         announcements pertinent to the business of the university, or supply information to members of the Duke community
         regarding available campus services or products.
    •    Posters/flyers must state the name of the sponsoring organization. business, department. or person responsible.
    •    As appropriate for the surface, staples, thumbtacks. magnets, masking tape, or transparent tape may be used to
         attach posters/flyers to approved bulletin boards or posting areas. The use of glue, nails, and duct tape or any other
         heavy-duty tape is prohibited.
    •    Posters/flyers must never be attached to doors, windows. trashcans. entryways, exteriors of buildings, interior walls,
         stairway railings, floors. benches or ceilings, nor may they be placed on the windshields of parked automobiles or on
         sidewalks. ·                                  ·
    •    Posters/flyers may NOT be attached or affixed to any tree or utility pole.
    •    Posters/flyers (and the fasteners used to attach them) must be removed within three days after the advertised event.
    •    All posters/flyers may be periodically removed from bulletin boards as part of routine maintenance.



ALCOHOL

UNIVERSITY-WIDE POLICY
As a community of scholars and learners. Duke University expects those within its community to be responsible with the use
of alcohol. This policy shall guide the role of alcohol everywhere on the Duke campus and at all events sponsored by Duke
organizations. schools. or administrative units. Students, staff. and faculty members are encouraged to learn about the social.
physiological, and psychological consequences of drinking and alcohol abuse. Excessive and high-risk drinking can lead to
negative consequences for the Duke community, including assault. illness, injury. litter, noise, property damage. and driving
under the influence. All members of the Duke community share responsibility for creating an environment that limits dangerous
drinking behaviors and, therefore. reduces the likelihood of these negative outcomes.
The following shall guide the role of alcohol in the Duke community:
    •    All possession. consumption. and distribution of alcohol at Duke University shall be in accordance with applicable
         North Carolina state laws.
    •    Members of the Duke community are responsible for behaving in a manner that is not disruptive or endangering to
         themselves or others. Being under the influence of alcohol shall not be a mitigating factor for an individual's behavior.
    •    When persons under 21 years of age can reasonably be expected to be present at an event. proper precautions must
         be taken to restrict distribution and consumption of alcohol to persons of legal drinking age. Student organizations
         shall also adhere to the specific guidelines for events outlined in The Du!?e Community Standard in Practice: A Guide
         for Undergraduates (for student organizations that cater primarily to undergraduates) or the Graduate and Professional        CJ
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         Student Alcohol Policy (for student organizations that cater primarily to graduate/professional students).                   I
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    •    Advertising or other communication that references the availability of alcohol at a function may neither promote
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         alcohol as the focus of the event nor promote excessive drinking.                                                             -a
    •    Each community (e.g .. Undergraduate, Fuqua. Law) may establish additional guidelines and policies governing the              'C
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         possession, consumption, and distribution of alcohol that reach beyond these minimal expectations. Violations of              t
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         policies shall be adjudicated using existing procedures within each segment of the university.                                "C
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UNDERGRADUATE POLICY
The remainder of this policy, specifically for undergraduates. augments Duke's university-wide alcohol policy. For individuals as
well as groups, whether on campus or off, prohibited behavior includes:
    •    underage possession/consumption:
    •    unsafe/irresponsible behavior:
    •    violation of community expectations:
    •    general provisions violation: and,
    •    violation(s) of expectations for group-sponsored social functions.
Sanctions for violations of any of these prohibited behaviors are outlined in this Guide (see "Sanctions" on page 60). Parents
of students under the age of 21 may be notified of alcohol-related disciplinary violations when a student's health or safety has
been/is at risk.
See "Appendix F - Information and Resources Concerning Substance Use" on page 72 for health effects associated with
alcohol and other drug use, helpful resources for assistance, and legal ramifications of illicit possession, use, or distribution.



UNDERAGE POSSESSION/CONSUMPTION
Students under 21 years of age are not permitted to purchase, possess, or consume alcoholic beverages. Being under the
influence of any amount of alcohol while underage is considered a violation of this provision. Groups are considered in violation
of this provision if they facilitate the acquisition of alcohol by anyone under the age of 21.



UNSAFE/IRRESPONSIBLE BEHAVIOR
Unsafe or irresponsible behavior is defined as actions that are harmful or potentially harmful to one's self or others involving the
use of alcohol. Such behavior includes, but is not limited to:
    •    consuming an excessive quantity in a short amount of time, including, but not limited to, shotgunning, shots, and
         chugging:
    •    participating in or facilitating drinking games or progressive parties:
    •    consuming through beer bongs:
    •    use or attempted use of fraudulent identification or another's identification to obtain alcohol: and
    •    making alcohol available to underage drinkers.



COMMUNITY EXPECTATIONS VIOLATION
It shall be a violation of the alcohol policy to engage in an action while under the influence of alcohol that is disruptive to the
community. Such behavior includes, but is not limited to:
    •    driving:
    •    exhibiting disorderly conduct. damaging property. and/or fighting:
    •    littering:
    •    running away or hiding from university or public officials, including law enforcement
    •    vomiting and/or urinating in public: and
    •    cursing and/or shouting at others.




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              HEALTH AND SAFETY INTERVENTION
              Because health and safety of students are of primary importance, students are encouraged not only to look
              out for their own health and safety but also for that of their peers. When a person's health and/or safety is/
              are threatened or appear(s) to be in jeopardy, immediate action should be taken to prevent injury/illness/
              danger. Dial 911 (or 919-684-2444 if you are on campus) for help. Whatever the particular need/problem, it is
              important to respond in a responsible and timely manner.
              Formal disciplinary action for a violation of the alcohol policy will not be taken against students for whom
              medical assistance is sought, or against those who seek medical assistance for themselves or for others,
              provided that the student/group has not violated other university policies that warrant formal disciplinary
              action.
              A student who receives medical assistance may be required to meet with a substance abuse specialist in
              DuWell for education , assessment, and possible referral for treatment. The student may also be required to
              complete an educational assignment. Parents of such students under the legal drinking age may also be
              notified. A group that facilitates the acquisition of alcohol may also be required to notify its advisor, provide
              an educational program for members, and/or change its processes for hosting events.
              In the event that a student fails to meet with the specialist, chooses not to participate in the treatment
              program outlined, or exhibits a pattern of abusive behavior with alcohol, the student may be subject to
              formal disciplinary action and/or placed on a Medical Leave of Absence or Administrative Action until he/
              she produces documentation that appropriate treatment has been successfully sought.
              A panel of the Undergraduate Conduct Board will be informed of a student wh·o has received 'amnesty'
              under this provision of the Alcohol Policy should the student be subsequently found responsible for a
              violation of policy related to substance use for purposes of effective sanctioning.




GENERAL PROVISIONS VIOLATION
Duke University has established the following general provisions regarding alcohol on campus:
   •    No kegs or other common-source containers are permitted on campus in private rooms, student apartments.
        commons rooms, or other public space. (University-approved bartenders, who will be responsible for carding, may
        distribute alcohol from kegs in public space at events.) Common-source containers, include, but are not Limited to,
        trashcans, recycling bins, kiddie pools, cases of beer, and coolers.
   •    Only university-approved bartenders are permitted to distribute alcohol on campus, including alcohol from common-
        source containers.
   •    Except at events in a licensed facility providing a cash bar, no spirituous liquor or fortified wines may be served to
        undergraduates.
   •    All students on university property consuming or possessing alcohol must carry a valid driver's license, state
        identification card, military identification card, or passport.
    •   Alcohol may not be brought in glass containers to on-campus Bring Your Own Beverage ("BYOB") events.
    •   No individual may possess more than six cans at a BYOB event. Each can may not exceed 12 ounces.
    •   Containers holding more than 24 ounces are prohibited from BYOB events.
    •   No alcoholic beverages are permitted in first-year houses (or the surrounding grounds) on East Campus.
    •   No alcoholic beverages are permitted within the confines of campus athletic facilities during sporting events.
    •   The use of alcoholic beverages as a prize is prohibited.




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EXPECTATIONS FOR GROUP-SPONSORED SOCIAL FUNCTIONS
Recognized groups may be held accountable for violations of the alcohol policy that occur during a group-sponsored event on
campus. To ensure that such violations do not occur, a group will be held accountable if the group failed to take appropriate
precautions. Appropriate precautions must include:
    •    a trained, sober party monitor fo r every 25 persons expected to attend the event;
    •    adequate and accessible non-alcoholic beverages and food:
    •    compliance with all fire safety regulations:
    •    adequate control of access to event:
    •    enforcing occupancy limits for the venue, including commons rooms, hallways, and stairwells:
    •    calling for medical/police assistance as needed: and
    •    serving of alcohol by university-approved bartenders only.
Expectations for and obligations of student party monitors are communicated online through DuWell. Duties of party monitors
include. but are not limited to, prevention of alcohol policy violations, intervention and care of inebriated, at-risk individuals,
elimination of safety hazards, and attention to group precautions. Checking identification will be the responsibility of university-
approved bartenders. Groups may be held accountable for the actions of individual party monitors.
Party monitors and university officials may deny access to events to anyone who is visibly intoxicated and/or disruptive.
Social events that fail to meet any of these expectations may be shut down immediately.




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----
              AIL student events at which alcohol will be present. whether there is a university-approved bartender or
              the party Is BYOB. are required to have trained party monitors.
               Party monitor trainings allow studerits to talk with other student Leaders and Leam:
                  •    The goals of hosting events
                   •   The roles of the party monitor
                  •    The risks associated with alcohol use
                  •    How to promote safe social behaviors
                  •    Resources and support for your group
                  •    How to develop skills to address potentially dangerous and questionable behavior among your
                       guests. including overconsumption of alcohol
               Register for trainings at bit.ly/dukepartymonitor.




ANIMALS ON CAMPUS
Any animal brought on campus by students or guests may not be unrestrained. With the exception of service animals, animals
are prohibited inside any university facility, unless authorized by the space manager responsible for that facility/space. Any
type of animal abuse is prohibited, including but not limited to abandonment of or failure to properly care for an animal.
Animals, live or dead, may not be used in pranks or otherwise for amusement or ceremony in connection with any institutional
or student group function or activity. For purposes of this policy, the term "animal" includes any wild or domesticated. warm-
blooded or cold-blooded animal.
Animals may not be brought to campus for large-scale student events and activities including, but not limited to, Homecoming,
Duke Reunions, Last Day of Classes, Springternational. Joe College Day, Old Duke Concert. etc. For more information, contact
University Center Activities and Events at 919-684-4741.



BRIDGE PAINTING
The purpose of this policy is to ensure an aesthetically pleasing campus, protect university facilities, and allow for students to
use the "Free Expression" bridge/tunnel without damaging neighboring property. Individuals and groups may express opinions
within this area that are not restricted by content. except by legal standards,
The surface of the "Free Expression" bridge/tunnel (located on Campus Drive under Main Street) may be painted within
the span of the ceiling of the tunnel (but not the ceiling itself), as well as on the outer edge of the Pettigrew Bridge facing
Campus Drive and, the exterior (inner) face of the concrete Campus Drive tunnel walls. However. painting is not allowed on the
sidewalks or roadways inside or outside the tunnel. Supplies are the responsibility of the painter(s) and are not provided by the
university. Painter(s) may not impede the flow of traffic. Any ladders used may not exceed six feet.
There is no restriction regarding painting over the sections of the tunnel that other people or organizations have painted-no
matter how recently they have been painted. However, animosity is often generated toward groups who paint over sections that
are advertising events not yet held or sections painted very recently. Please use courtesy and common sense when selecting
an area of the tunnel to paint.
Any person may remove non-conforming material. Policy violations resulting in the need for restoration should be reported to
Duke University Police. Reimbursement for any restoration costs (i.e., paint removal, cleaning, removal of residual substances,
and so on) will be the responsibility of the violating party.
No painting will be allowed at any other locations on the campus of Duke University, including these areas near the tunnel:




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Painting is permitted on the outer edge of the Pettigrew Bridge facing Campus Drive and the exterior (inner) face of the
concrete Campus Drive tunnel walls.


   •    the Main Street bridge and the railroad trestle
        (see right):




    •   the Duke stone walls (see right):




    •    the Pettigrew Street Bridge (side of
         the bridge on Pettigrew Street not
         overlooking Campus Drive: see right):




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   •    on any light poles, signs or sign posts (see
        right>:




   •    the steps and handrails from Campus
        Drive to Pettigrew Street (see right):




   •    any handrails, roadways or sidewalks,
        even if located inside the tunnel (see
        right): or




   •    fencing along the Main Street bridge.


Students who violate these expectations will be held accountable through the university's disciplinary process and may also be
arrested and/or cited for violation of NC law. Note that defacement of any public property (i.e., property not owned by Duke) is a
violation of North Carolina law.




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               Although there is no restriction on the content painted on the Free Expression tunnel and the Pettigrew
               Bridge (except by legal standards), painters should consider the broad effect of what is depicted/written on
               the walls on the overall campus climate.
               Consider these questions as you plan to paint
                   •    Is the content in generally good taste?
                   •    Does the content offend or target a specific person or group of people?
                   •    Is the content something that could be taken out of context and appear harmful?
                   •    Is it something that visitors to Duke can appreciate?




CLASSROOM DISRUPTION
Students who behave in the classroom in such a way that the educational experiences of other students and/or the instructor's
course objectives are disrupted are subject to disciplinary action. including possible exclusion from a course. Such behavior
impedes students' ability to learn or an instructor's ability to teach. Disruptive behavior may include, but is not Limited to:
non-approved use of electronic devices (including cellular telephones): cursing or shouting at others in such a way as to be
disruptive: or, other violations of an instructor's expectations for classroom conduct.



COMPUTING AND ELECTRONIC COMMUNICATIONS

SECURITY AND PRIVACY
The purpose of this policy is to establish and promote the ethical. legal, and secure use of computing and electronic
communications for all members of the university community.
The university cherishes freedom of expression, the diversity of values and perspectives inherent in an academic institution,
the right to acknowledgment. and the value of privacy for all members of the Duke community. At the same time, the university
may find it necessary to access and disclose information from computer and network users' accounts to the extent required by
law, to uphold contractual obligations or other applicable university policies, or to diagnose and correct technical problems. For
this reason, the ultimate privacy of messages and files cannot be ensured. In addition, system failures may lead to loss of data,
so users should not assume that their messages and files are secure.
Neither the university nor its agents restrict the content of material transported across its networks. While the university
does not position itself as a censor, it reserves the right to limit access to its networks or to remove material stored or posted
on university computers when applicable university policies, contractual obligations, or state or federal laws are violated.
Alleged violations will receive the same academic due process as any other alleged violation of university policy, contractual
obligations, or state or federal laws.



ACCEPTABLE USE
In making acceptable use of resources you must:
    •    Use resources only for authorized purposes.
    •    Protect your userid and system from unauthorized use. You are responsible for all activities on your userid or that
         originate from your system. Your userid and password act together as your electronic signature.
    •    Access only information that is your own, that is publicly available, or to which you have been given authorized access.
    •    Use only legal versions of copyrighted software in compliance with vendor license requirements.
    •    Be considerate in your use of shared resources. Refrain from monopolizing systems, overloading networks with
         excessive data, degrading services, or wasting computer time, connection time, disk space, printer paper, manuals, or
         other resources.




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   •    Seek pre-approval from OIT before deploying/using code that potentially impacts server resources or automates
        processes (e.g .. in registering for classes).
In making acceptable use of resources you must not:
   •    Use another person's system, files. or data without permission (note that permission from an individual user may not be
        sufficient-some systems may require additional authority).
   •    Give your password to another person (including to your parents). Contact the OIT Help Desk if you need assistance
        with giving other people authority to access your files or e-mail.
   •    Use computer programs to decode passwords or access-control information.
   •    Attempt to circumvent or subvert system or network security measures.
   •    Engage in any activity that might be purposefully harmful to systems or to any information stored thereon, such as
        creating or propagating viruses, worms. or "Trojan horse" programs: disrupting services; damaging files: or making
        unauthorized modifications to university data.
   •    Make or use illegal copies of copyrighted software or other copyrighted works, store such copies on university
        systems. or transmit them over university networks.
   •    Use mail or messaging services to harass another person.
   •    Waste shared computing or network resources. for example. by intentionally placing a program in an endless loop.
        printing excessive amounts of paper, or by sending chain letters or unsolicited mass mailings.
   •    Use the university's systems or networks for commercial purposes; for example, by selling access to your userid or by
        performing work for profit with university resources in a manner not authorized by the university.
The above list only addresses some of the most common issues that arise with regard to computing. All prohibitions found in
applicable law and other university policies also apply to the computer systems.



GROUP E-MAIL
Large-scale e-mail communications within groups or units. including surveys, announcements. etc., require the implicit or
explicit prior approval of that group or unit. In the case of such communications from outside the unit. the approval must always
be explicit. Visit the OITweb site for full information at oit.duke.edu/about/policies/group-email-policy.
Note that the above computing policies are subject to change. For current policies. visit oit.duke.edu.



DISORDERLY CONDUCT
Disorderly conduct is contrary to the mission of the university and will be addressed through the disciplinary process. Disorderly
conduct is defined as:
    •    any unreasonable or reckless conduct by an individual or group that is inherently or potentially unsafe to other persons
         or their real or personal property: and/or
    •    any behavior by an individual or group that disrupts the peace or interferes with the normal operation of the university
         or university-sponsored activities.
Disorderly conduct includes. but is not limited to: reckless driving: interrupting or interfering with the carrying out of the duties
of a university or public official, including law enforcement: vomiting and/or urinating in public: and, indecent exposure.



DRONES
Unmanned Aerial Systems (UAS), or "drones." have emerged as a new technology of interest both for hobbyists, and more
importantly for possible research, academic. and commercial uses at Duke. For the full and latest Duke policy on drones, visit
drones.duke.edu/policies.




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DRUGS AND DRUG PARAPHERNALIA
Duke University prohibits members of its community, both ind ividuals and groups, from manufacturing, selling, delivering,
possessing, using. or being under the influence of a controlled substance without legal authorization. A controlled substance
includes any drug, substance or immediate precursor covered under the North Carolina Controlled Substances Act, including
but not limited to opiates. barbiturates, amphetamines, marijuana , and hallucinogens.
The possession of drug paraphernalia is also prohibited under North Carolina state law and university policy. Drug
paraphernalia includes all equipment. products and material of any kind that are used to facilitate, or intended or designed to
facilitate. violations of the North Carolina Controlled Substances Act.
In addition to disciplinary action, the conduct officer, or designee, may require a student to take a leaye of absence, and return
to campus may be conditional upon proof of completion of a substance abuse treatment program.
(See "Appendix F - Information and Resources Concerning Substance Use" on page 72.)




               Did you know that a finding of responsibility for a student's first-time possession or use of marijuana
               may result in a sanction of disciplinary probation? This could prevent a student from studying abroad or
               participating in programs such as DukeEngage.




DUKECARD
As stated on the back of the DukeCard. the card "should be carried at all times and presented upon request to any university
official. lltl is not transferable. The transfer of an ID card to another person, or the possession of another person's ID card. may
result in confiscation of the card and [disciplinary! action."



FAILURE TO COMPLY
A student or group may be held accountable for failure to comply with:
    •    directions. requests, or orders of any university representative or body acting in an official capacity, or impeding with
         the carrying out of such directives:
    •    instructions of law enforcement officials acting in an official capacity:
    •    specified protocols and policies for protected research data: and/or
    •    sanctions rendered during the disciplinary process (including sanctions issued by a residential staff member).



FALSIFICATION/FRAUD
Honesty and integrity are critical components of the Duke Community Standard. A student or group may be subject to
disciplinary action for any of the following actions:
    •    any intentional misrepresentation of fact (by action or concealment), including furnishing false information. to any
         university official:
    •    any intentional misrepresentation of fact (by action or concealment) to obtain or attempt to induce another to
         surrender a right. benefit or property: and/or
    •    forgery. alteration. or misuse of any official document. record. key. access code or instrument of identification. or
         possession of such forgery.




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FIRE SAFETY
It is a violation of university poLicy to light any material on fire on campus. Candles, other open flame devices, and incense
are strictly forbidden for use inside university facilities except during official religious ceremonies such as the observance of
Chanukah. Those individuals or groups wishing to utilize candles in observance of a religious holiday or any other event shall
contact OESO-Fire & Life Safety Division to obtain permission and information concerning fire prevention. Students and groups
will be held financially accountable for any damage they cause as a result of violating this policy and will be referred to the
disciplinary process. Additionally, students may be subject to a revocation of their Housing License for any violation of the Fire
Safety policy.
Electrical Wiring/Appliances. Tampering with electrical wiring, including, but not limited to, the installation of direct-wired
ceiling fans and unauthorized entry into electrical panel boxes, is prohibited. Residents are responsible for any damages
caused by electrical appliances that are not owned by Duke University.
All electrical appliances shall be UL approved and maintained in good condition. Numerous electrical devices plugged into
one outlet through an outlet cube or extension cord may cause a circuit overload or may cause overheating of the electrical
appliances, resulting in a fire. Therefore, the use of outlet cubes or extension cords is prohibited. Use a power strip with a built-
in circuit breaker.
Heat-producing appliances (e.g .. hair dryers, coffee pots, irons, etc.) should never be plugged into multi-plug adaptors,
extension cords, or power strips, and should never be left unattended.
Fire Alarms/Drills. Never assume that a fire alarm is a drill or false alarm. Remain calm and evacuate the facility. Evacuation
is mandatory for all individuals when the fire alarm is sounding. Anyone who fails to evacuate may face disciplinary action.
Remember to follow the instructions of the emergency responders. Do not re-enter the facility until authorized. If you have any
information regarding the. alarm, present that informatirm immediately to the responding emergency personnel.
Fire Extinguishers, Sprinklers, and Other Fire-Fighting/Detecting Equipment. Relocating, removing, tampering with, or
destroying smoke detectors or fire-fighting equipment is strictly prohibited. Damage and/or theft of fire equipment also is
punishable under North Carolina state law.
Fireworks. Students may not possess/use fireworks of any kind on campus. Anyone who sees a person with these materials
should immediately report it to Duke Police.
Flammable/Combustible Materials in the Residential Areas. Flammable/combustible materials, including but not limited to
gasoline, lighter fluid, and propane lanterns, are not permitted in residential areas.
Grills. North Carolina state law prohibits the use of portable charcoal. gas, or electric grills within 10 feet of all residence halls/
apartments. Storage of grills not in use, which are cool, is permitted on the exterior of the structure or in approved locations.
Failure to abide by this ordinance may result in a fine as determined by the Durham Fire tv1arshal in addition to disciplinary
action.
Halogen Lamps. Fire & Life Safety and Housing and Residence Life (HRU prohibit halogen lamps in residential areas. The very
high temperatures reached by their bulbs constitute a fire hazard and a potential source of burns. In addition. the geometry of
the floor model lamp tends to make them very unstable and easily tipped over.




                Duke takes matters of fire safety very seriously. Please contact Duke Police, Fire Safety. residence hall team
                members. or other university staff if you spot any of the following
                    •    broken or beeping smoke detectors
                    •    fire extinguishers that.have been removed from their posts
                    •    brush or other uncontained fires
                    •    downed electrical wires
                DUPO: 919-684-2444
                Fire Safety: 919-684-5609
                RC on-call; 919-970-4466
                Tampering with fire safety equipment often results in revocation of a student's Housing License.




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Obstruction of Hallways, Stairwells, Sidewalks, and Lawns. North Carolina fire safety codes prohibit the obstruction of hallways
and stairwells. The Durham Fire Marshal mandates the immediate removal of all items obstructing hallways and stairwells. HRL,
Facilities Management, Fire & Life Safety, or Duke Police will remove without warning or reimbursement furniture. bicycles,
lumber, and all other items found obstructing hallways or stairwells. University furniture will be removed from hallways and
stairwells and residents may be charged for missing furniture. Sidewalks, stairways, and entryways must not be used for
purposes other than ingress or egress. Bicycles may not be left in these areas or other locations where they may cause harm to
persons or groundskeeping equipment.
Motorcycles must be parked in parking lots. Delivery trucks, automobiles, motorcycles, scooters, and mini-bikes are not
permitted on lawns and walkways, patios, or stairwells. These vehicles must be parked in Legal parking spaces.
Open Fires on Campus. Open fires, including bonfires, are not permitted on Duke University property except as approved by
the OESO Fire & Life Safety Division and the Durham Fire Marshal. Students who either provide or contribute materials to burn
or who ignite or attempt to ignite flammable materials will be considered in violation of this policy. Students also should realize
that such actions violate state law and may result in a citation for unlawful burning.
Open Flames. It is a violation of university policy to light any material on fire on campus. Candles, other open flame devices,
grills, incense, and any other flame/heat producing items are strictly forbidden for use inside university facilities except during
official religious ceremonies, such as the observance of Chanukah. Permission for use of any open flame devices (including
those used for religious ceremonies) must be obtained from OESO Fire & Life Safety Division prior to use. A copy of the signed
approval letter must be maintained at the location approved for an open flame device.
Students will be held financially accountable for any damage they or the open flame device causes as a result of violating this
policy and may be referred for disciplinary action.
(See "Appendix H - Theme Parties and Decorations' on page 78,)




GAMBLING
It is against North Carolina state law and Duke University policy to gamble, with the exception of the state lottery. A person/
organization is gambling if he/she/it operates, plays, or bets at any game of chance at which any money, property, or other
thing of value is bet. Raffles of any kind, including those sponsored by student groups, are also prohibited. A "raffle" is defined
as ·a game in which the prize is won by random drawing of the name or number of one or more persons purchasing chances"
(N.C.G.S. §14-309.15). Poker nights and casino games are permitted only if no admission is charged, no buy-in is required, and no
real money is wagered.




GUESTS
Students and groups are responsible for notifying their guests of university rules and regulations and may be held accountable
for the conduct of their guests. Guests can be Duke University students or non-students. Guests on campus who do not abide
by university policies are subject to being trespassed.
Students are responsible for the behavior of visitors to their room/apartment and may be found responsible for behavior that
occurs there whether or not the occupant(s) is/are present.




HARASSMENT
Harassment of any individual for any reason is not acceptable at Duke University. Harassment is unwelcome verbal or physical
conduct that. because of its severity. pervasiveness, and/or persistence. interferes significantly with an individual's work or
education, or adversely affects an individual's living conditions. (See the "Student Sexual Misconduct Policy and Procedures"
on page 42 for the definition of and procedures related to sex/gender-based harassment by an undergraduate or graduate
student.) The Office for Institutional Equity responds to allegations of harassment in which an accused is not an undergraduate
student; see oie.duke.edu/we-can-help/complaints-and-concerns/harassment for the university's full Harassment Policy.




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HAZING
Hazing is a serious infraction of university regulations. The potential for hazing typically arises as part of a student's introduction
to or initiation in an organization (fraternity, sorority, athletic team, or other group) in which there is often a perceived or real
power differential between members of the organization and those newly joining it.
Hazing defined. Hazing is defined as any action taken or situation created, whether on or off university premises, that is
harmful or potentially harmful to an individual's physical. emotional, or psychological well-being , regardless of an individual's
willingness to participate or its bearing on his/her membership status. Such activities and situations include, but are not limited
to:



LEVEL I VIOLATIONS
    •    marching in line
    •    road trips
    •    wearing apparel which is conspicuous and not normally in good taste, and/or inappropriate for the time of year
    •    calisthenics
    •    line-ups
    •    pledge/signature books
    •    periods of silence
    •    stand.ing for a length of time
    •    personal servitude
    •    activities that would not normally construe hazing but because of time, place, or manner make them inappropriate



LEVEL II VIOLATIONS
    •    sleep deprivation or interruption of consecutive sleep hours
    •    expected or forced consumption of food, drink (including alcohol), or other substance
    •    acts of humiliation or degradation (including streaking or wearing degrading or humiliating apparel)
    •    restrictions on eating or bathing
    •    acts that disrupt academic instruction or learning of others
    •    interruption or interference of academic commitments



LEVEL 111 VIOLATIONS
    •    branding
    •    paddling in any form
    •    compromising (sexual) situations


Any individual or group found responsible for hazing will be subject to sanctions outlined in the disciplinary process. including.
but not limited to: disciplinary probation, social suspension, suspension of charter, restrictions on member recruitment and/or
group activity, removal of the individual from the group, loss of housing privileges, suspension, and/or expulsion. Sanctioning
will increase with the level of violation and any previous hazing violations. (Levels of violation listed above are guidelines only
and may change given particular circumstances of a violation.) Students should also be aware that hazing is a misdemeanor
under North Carolina state law.
Acts or potential acts of hazing may be reported to the Office of Student Conduct (919-684-6938) or Duke Police (911 or 919-
684-2444). In addition, concerns may be reported confidentially via voicemail to the university's Hazing Hotline at 919-684-5766.
Maintaining the confidentiality of the source is possible, but may limit the extent of action that can be taken.




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    WHAT IS HAZING? WHAT IS NOT HAZING?

    ROAD TRIPS
    Zeta Gamma fraternity plans a group outing to enhance the sense of brotherhood among its associates and new
    members during the pledging period. The new member educator uses the group listserv to announce a weekend
    camping trip three weeks in advance. In the email, all members are notified that the group will spend two nights
    sleeping 1n tents at Jordan lake. and the email includes details such as departure/return times and a list of planned
    activities. The email asks the members to respond with their availability and invites them to pitch in $10 for food and
    non-alcoholic beverages. The email makes explicit that no alcohol will be served on this trip. and that all members
    are encouraged to attend but that attendance is not required.
    This is NOT a violation of the Hazing Policy. All members of the Zeta Gamma fraternity are invited to participate in
    the camping trip and contribute an equal amount of money The trip includes a specific agenda and sets detailed
    expectations for a member's time commitment.
    The recruitment chair of the Lambda Pi Psi fraternity planned a surprise getaway for its new members. A few
    associates were asked to help plan the event. and the recruitment chair secured the DukeCard of a first-year student
    in order to enter the East Campus residence halls. At 3 o'clock on a Saturday morning. current members stormed
    into the new members' rooms and yelled at them, stating they had 15 minutes to get dressed and meet at the East
    Campus Bus Stop, blit that this was an optional activity. Tl:ley were not given any further instructions. New members
    put their clothes on and ran to the bus stop, where cars were waiting for them. After they got into the cars. the new
    members were blindfolded and were driven approximately 20 minutes to an undisclosed location. They were made
    to get' out of the car and hand in their cell phones and wallets to an associate. The new member educator then told
    the new members that they needed to make their way back to campus by 10 o'clock in the morning for mandatory
    physical training.                                                                       ·
    This IS a violation of the Hazing Policy. Regardless of the new members' willingness to participate. the activity was
    harmful to their physical and emotional well-being. The new members engaged in this activity under the watch of
    associates. In addition to Hazing. the group may be charged with potential policy violations of Noise, Disorderly Conduct.
    and Properfy/Facl1ities/Services - Unauthorized Access. Lambda Pi Psi's president. new member educator, and current
    members who participated in the activity by dnving or waking up the new members may also be held individually
    accountable for policy violations.



    SCAVENGER HUNTS
    The business fraternity Epsilon Delta Omeg·a has developed a scavenger hunt to help create a sense of belonging
    and brotherhood. Teams consisting of both new and associate members are given a list of tasks to be completed on
    the Duke campus that engage them in learning more about the university and each other. Such tasks include visiting
    the Duke Chapel crypt and getting the names of the former Duke presidents who are buried there. finding out who
    the 'Griffith" is in the name "Griffith Board Room" and what his role was at Duke. and meeting one of the directors of
    academic engagement at the Academic Advising Center. A specific time limit is set for the scavenger hunt during the
    day. and the members of the team who have completed the most tasks each win a gift certificate to The Parlour in
    Durham.
    This is NOT a violation of the Hazing Policy. There is no penalty for not completing tasks. Members -are not required to
    complete ridiculous or dangerous tasks. Current members are asked to participate equally in the activity
    A highly regarded a cappella group has auditioned a large number of students and is ready to accept a few new
    members. but wants to make sure they are committed to the long practice hours and tight-knit friendship. They
    distribute a list of required tasks the new members must complete between the hours of 10 PM and 8 AM the
    following morning. The new members are split into teams based on which students have access to cars, and the
    returning members gather at a member's off-campus house to watch a basketball game. The task sheet. which
    includes activities like stealing a parking gate arm, taking a selfie while riding the mechanical bull at a local bar. and
    bringing a pizza to the house. also notes that for each task the team does not complete. a team member will have to
    run a circuit around the East Campus loop.




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This IS a violation of the Hazing Policy. The new members are subjected to absurd requirements that offer no substantial.
meaningful engagement with either the group members or the university. New members are put under additional
pressure with physical penalties. and the current members are not participating equally in the event Further. the new
members are required to violate university policy by taking a parking gate arm. which may result in additional disciplinary
charges for the group.



CO STUM ES/APPAREL
The Marketing Club is considering creative ways to market its annual Library Party to the Duke community. One
member suggests that during the week before the party, members dress up during the day in costumes that lend
themselves to this year's theme, 'Heroes and Villains.' The group asks for volunteers from the planning committee
to participate, and gives them flyers to pass out on the Bryan Center Plaza and around campus to passersby.
Throughout the week before the party, Superman, Darth Vader, Black Widow, and Buffy the Vampire Slayer are
spotted on campus talking to people about the party.
This is NOT a violation of the Hazing Policy. Students are invited to volunteer to dress up to promote the party, and
wearing a costume is not a condition of membership or joining the group.
The women's gymnastics team is trying to gather interest from the Duke community in attending its only home meet
of the season. Each year, the freshman members of the team are required to don silly costumes such as a cow with
udders, a monkey suit, and a cowgirl. The older members of the team instruct the freshmen to ride the East-West
campus bus for hour-long shifts wearing their costumes and handing out flyers for the meet.
This IS a violation of the Hazing Policy. First-year team members are singled out an.dare made to promote the m~et
without the older members of the team. Evet:1 if upperclassmen had to do the same activity when they were freshmen
(which still is considered a violation of the Hazing Policy), new members may not be required to do so.
Making an activity optional does not change the fact that it may be construed as hazing. The culture of joining
new groups creates a tacit understanding that those who want to join will participate in any way possible to gain
acceptance. Consent to-being a participant in or perpetrator of hazing is not justification for violating this policy.



OTHER EXAMPLES OF HAZING:
    •    Physical training, calisthenics, exercise (Level I); New members may neither be asked nor required to
         participate in any physical activity except in the context of club sports, intramurals, etc.
    •    Being required to have on one's person specific objects, food, or beverages (Level I)
    •    Texting or calling new members at various times of day and night in order to run errands (Level I)
    •    Requiring new members to clean up following group parties (unless all members of the group are asked to
         participate) (Level I)
    •    Mandatory study hours at unusual times or that interrupt a student's academic schedule (Level Ill
    •    "Kidnapping' new members at any time of the day (Level I or Ill
    •    Torturing animals (Level II or Ill)
    •    Requiring new members to serve as designated drivers (Level I or II)



COMMON ACTIVITIES THAT ARE NOT CONSTRUED AS HAZING:
    •     Requesting that new members wear more formal attire, such as ,blazers and ties, on a certain day of the
          week (apparel that is not conspicuous or inappropriate)
    •     Requesting that new members wear a specific color to an event for members of the group (apparel that is
          not conspicuous or inappropriate)
    •     Tenting in Krzyzewskiville. Students who sign up to participate in tenting are given explicit instructions and
          expectations for attendance before getting involved. Tent checks and sleeping in cold weather are not
          construed as hazing; those who choose to tent are not seeking membership or initiation into an organization




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NOISE
Students and groups are expected to respect the rights of others at all times. During specified hours. higher noise levels are
permitted but must remain at a level considerate of those students who wish to study or sleep:



CENTRAL AND WEST CAMPUSES:
Quiet hours are in effect at all times other than as noted below. when reasonable levels of noise will be permitted:
        5:00 p.m.-7:00 p.m. Monday-Thursday
        5:00 p.m.-2:00 a.m. Friday
        1:00 p.m.-2:00 a.m. Saturday
        1:00 p.m.-6:oo p.m. Sunday
Additionally, amplified sound is permitted on the Plaza between noon and 1 p.m. on weekdays.



EAST CAMPUS:
Quiet hours are in effect at all times other than as noted below, when reasonable levels of noise will be permitted:
         5:00 p.m.-midnight. Friday
         Noon-midnight. Saturday
         Noon-6:oo p.m. Sunday



ALL CAMPUSES:
From reading day(s) through the end of finals. quiet hours are in effect 24 hours a day.
Students who are disturbed by noise should attempt to resolve the situation by contacting the other party(iesl involved: or.
if needed, seek the assistance of living group officers, resident assistants, graduate residents, or residence coordinators. If
necessary. persistent complaints may be registered by calling Duke Police at 919-684-2444. Students are responsible for
the actions of their guests: cohesive units, as a whole, may be held responsible for violations of this policy by their individual
members or their guests. Initial complaints will be referred to appropriate residential staff. Depending on the nature and severity
of the violation, as well as the existence of prior violations. the complaint may be forwarded to the Office of Student Conduct for
disciplinary action.




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PHYSICAL ABUSE, FIGHTING, AND ENDANGERMENT
Any physical abuse, fighting, and / or endangerment to an individual or group is specifically prohibited This behavior includes,
but is not limited to:
    •    physical violence (initiating or responding to) or attempted physical violence against a person or group. This includes
         fighting.
    •    threat of physical violence against a person or group.
    •    any action that endangers the health, safety, or welfare of a person or group.
!Wording adopted from Eastern Michigan Student Conduct Code.I




PICKETS, PROTESTS, AND DEMONSTRATIONS
Statement of Policy. Duke University respects the right of all members of the academic community to explore and to discuss
questions which interest them, to express opinions publicly and privately, and to join together to demonstrate their concern
by orderly means. It is the policy of the university to protect the right of voluntary assembly, to make its facilities available for
peaceful assembly, to welcome guest speakers, to protect the exercise of these rights from disruption or interference.
The university also respects the right of each member of the academic community to be free from coercion and harassment.
It recognizes that academic freedom is no less dependent on ordered liberty than any other freedom, and it understands that
thi? harassment of others is especially reprehensible in a community of scholars. The substitution of noise for speech and force
for reason is a rejection and not 'an application of academic freedom. A determination to discourage conduct which is disruptive
and disorderly does not threaten academic freedom: it is rather, a necessary condition of its very existence. Therefore, Duke
University will not allow disruptive or disorderly conduct on its premises to interrupt its proper operation. Persons engaging
in disruptive action or disorderly conduct shall be subject to disciplinary action, including expulsion or separation, and also
charges of violations of law.
Students planning a picket. protest, or demonstration should contact University Center Activities and Events (919-684-4741) for
guidance and further information.
Rule. Disruptive picketing, protesting , or demonstrating on Duke University property or at any place in use for an authorized
university purpose is prohibited.
While Duke University recognizes the right to voluntary assembly, members of the university community must recognize that
the Medical Center provides care for individuals needing uninterrupted medical services in tranquil surroundings. Accordingly,
all pickets, demonstrations, mass assemblies, and protests shall be confined to campus areas and are strictly prohibited in or
around any Medical Center building.
Hearing and Appeal. Cases arising out of violations of the Pickets and Protests Regulations will be heard by the University
Judicial Board, in accordance with the procedures outlined herein. The University Judicial Board shall have jurisdiction over
members of the student body, members of the faculty. and administrative personnel of the university not subject to the
personnel policy handbook Hearings will be conducted with regard for academic due process. The decision of the University
Judicial Board shall be final if the accused is exonerated or if there is no appeal. In other cases, students may appeal to the
president. or, in his/her absence, the provost. in which case such appeal shall be solely on the record of the proceedings
before the Hearing Committee of the University Judicial Board. Argument on appeal shall be on written submission, but the
president may, in addition, require oral argument.
A Hearing Committee will consist of two faculty members, one dean, and two students. These students will be selected from
members of the judicial boards or governments in the undergraduate, graduate, or professional colleges or schools. The
chair of the Hearing Committee will be designated by its members. The Hearing Committee will conduct its proceedings in
accordance with academic due process.
Amendments. These regulations on pickets, protests, and demonstrations may be changed or amended by the university
at any time but any such change or amendment shall be effective only after publication or other notice. These regulations
supersede any regulations heretofore issued on the subject.




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        Q)       ill             Students may be held accountable by the university for their behavior off campus. from Durham to Dubai.
    \        '     /             Undergraduates are commonly issued citations by local law enforcement for such behavior as possessing a
         -1;-~
                                 container of alcohol while under the age of 21 and playing loud music and/or having loud guests after 11:00
                                 p.m. (the time at which the Durham Noise Ordinance goes into eifect each night>.
                                 Students who live off campus are encouraged to meet their Durham neighbors and be considerate of
                                 them. All undergraduates should become familiar with local ordinances and laws before leaving the Duke
                                 campus.




                 PROPERTY/FACILITIES/SERVICES
             Students and groups are expected to respect the property of others (including that of the university) and may be subject to
             disciplinary action for the following:
                       •   theft of the property and/or services of another;
                       •   damage. destruction. or defacement of the property of another, including littering or chalking of university property;
                       •   wrongful appropriation of the property and/or services of another:
                       •   unauthorized possession and/or use of the property of another, including knowingly being in possession of stolen
                           goods (this includes unauthorized use of vehicles, equipment, services, the Duke University name and logo);.
                       •   unauthorized access, entry, and/or use of university or non-university facilities or property, including but not limited to
                           buildings, classrooms, residential rooms, athletic areas. Central Campus pool, parking areas, roofs, ledges, and tunnels;
                           and/or
                       •   violation of any policy or guidelines pertaining to specific usage of a university facility.
             [Wording adopted from Eastern Michigan Student Conduct Code.I




                 SEXUAL MISCONDUCT
                 See "Student Sexual Misconduct Policy and Procedures" on page 39.



                 SMOKING
                 Duke University seeks to preserve a living and working environment supportive of behaviors that contribute to the physical
                 health and well-being of all community members. Smoking any substance is not permitted in any university building,
                 including residence halls and apartments. Examples of prohibited smoking devices include, but are not limited to, cigarettes,
                 e-cigarettes, and vaporizers.
                 Smoking is neither permitted within 10 feet of residential buildings, academic buildings, and dining facilities, nor anywhere
                 on the campus of the Medical Center. Smoking is prohibited in specifically designated outdoor areas as determined by the
                 manager of those spaces (e.g .. the Plaza).




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SOLICITATION
Recognized student organizations may use the Plaza for the purpose of sales, distribution, or promotion of events (also known
as "tabling"). Tabling is administered by University Center Activities and Events (UCAE}. Contact UCAE at 919-684-4741, 036
Bryan Center, or visit studentaffairs.duke.edu/ucae for more information and detailed guidelines.
Solicitation is prohibited within a 200-foot radius of the West and East Campus bus stops.
Commercial or outside solicitors (including student employees of outside vendors} are prohibited without permission of the
appropriate space manager.



STALKING
Stalking is a course of conduct (including cyberstalking} directed at a specific person that would cause a reasonable person to
fear for her, his, or others' safety, or to offer substantial emotional distress. Sex/gender-based stalking falls under the Student
Sexual Misconduct Policy (see page 43).



UNAUTHORIZED SURVEILLANCE/PHOTOGRAPHY
Capturing or recording audio, video, or photographic images of an individual in a location or under circumstances in which that
person has a reasonable expectation of privacy, including, but not limited to, shower/locker rooms, residence hall rooms, and
restrooms, is prohibited. Also prohibited is the storing, sharing, and/or other distribution of such unauthorized surveillance/
photography (no matter whether directly or indirectly obtained) by any means, electronic or non-electronic.
{Wording adopted from Rice University.}




     Alumni or current students who are applying to law school. medical school or other graduate programs, or. who
     want to work for the government, will likely be asked to report their disciplinary history. If you have a form for us to
     complete as part of the application (often called a "Dean's Certification" form). send it to us at:
     Office of Student Conduct
     Box90893
     Durham, NC 27708-0893
     conduct@duke.edu
     fax: 919-681-7390
     Please allow 5 - 7 business days for your request to be processed. Because of the volume of requests received, we
     cannot guarantee a response earlier than five business days. though we do our best to process requests sooner.
     It is critically important that students/alumni be honest in sharing information about their disciplinary history, as
     universities/the government do follow up with us. Perhaps the worst thing you can do is minimize or even lie about
     an incident in which you were involved. Often. a student's forthrightness about an incident. and an explanation of what
     he/she has learned from the incident, can be a plus factor for a student.




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     WEAPONS/FIREARMS/EXPLOSIVES
     Although North Carolina law permits weapons on public university campuses under certain parameters, Duke University policy
     has not changed and continues to prohibit weapons on campus.
     It is against university policy to possess and/or use a gun, rifle, pistol. or other firearm of any kind. or any powerful explosive on
     university property. Additionally, other than when permitted by the Vice President for Student Affairs (or his/her designee) for
     Legitimate educational purposes, students are not permitted to possess and/or use on campus any weapon, including but not
     limited to pepper spray, mace, BB gun. stun gun, paintball gun, potato gun, realistic-looking toy gun, air rifle, air pistol. sword,
     bowie knife, dagger, slingshot. switchblade knife, blackjack, and metallic knuckles.



     OTHER VIOLATIONS
     Other violations for which students or groups may be subject to disciplinary action include, but are not limited to:
         •    violating any other published or posted university regulation not specifically mentioned in this section, including the
              Housing License, Housing and Residence Life regulations, student activities regulations, guidelines for organizations,
              parking regulations, etc.:
         •    acting as an accomplice through action or negligence to the commission of any prohibited act:
         •    attempting or intending to commit any violation of laws and/or university policies; and
         •    violating local ordinances or state or federal laws (as determined through the university's disciplinary process},
              including those related to noise, housing occupancy, and/or the use or distribution of alcohol.




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      STUDENT SEXUAL
      MISCONDUCT POLICY
      AND PROCEDURES:
      DU KE'S COMM ITMENT
      TO TITLE IX


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     I. INTRODUCTION
     Duke University is committed to encouraging and sustaining a learning and living community that is free from harassment.
     violence, and prohibited discrimination. In that regard and consistent with federal law (e.g., Title IX of the Education
     Amendments of 1972 and the Violence Against Women Act), Duke has developed this comprehensive Student Sexual
     Misconduct Policy, applicable to all students (undergraduate, graduate. and professional. or any student enrolled in any Duke
     program}, Further, Duke conducts extensive education and awareness programs with the goal of preventing and discouraging
     sexual/gender violence and other forms of sexual misconduct.
     As discussed more fully below, this Student Sexual Misconduct Policy prohibits all forms of sex/gender-based harassment.
     sexual/gender violence, sexual exploitation, relationship violence (domestic violence and dating violence), and stalking.
     Collectively, these terms are referred to in this policy as "Sexual Misconduct." They are defined below under "Prohibited
     Conduct." (Note that non-sex/gender-based harassment is also a violation of university policy, as described under the
     university's Harassment Policy, available at bit.ly/dukeharassment.l
     The Student Sexual Misconduct Policy serves three principal purposes. First. it establishes conduct standards-namely,
     prohibited sexual misconduct-for all Duke students. Note that a violation of this policy may also constitute a crime, which can
     be independently reported to Duke Police, Durham Police, or other appropriate law enforcement agency.
     Second, the Student Sexual Misconduct Policy outlines reporting. investigation, and complaint resolution procedures in cases
     where it is alleged that a Duke student has engaged in sexual misconduct. This policy refers to the individual who is the alleged
     victim of the behavior(s} in question as the "complainant" and the student alleged to have committed the violation of the policy
     as the "respondent." Both the complainant and the respondent will be treated fairly and with respect throughout the process.
     Respondents are entitled to a presumption that there is not a violation of this policy throughout the disciplinary process unless
     and until they are found responsible for a violation of this policy.
     In the paragraphs that follow, the Student Sexual Misconduct Policy specifies to whom violations of this policy should be
     reported, the availability of confidential reporting, administrative actions available to the complainant and the respondent. how
     the university will investigate and resolve alleged violations, possible sanctions, and appeals.
     The Office of Student Conduct is primarily responsible for implementing these procedures; the Office for Institutional Equity
     assists by investigating reports that the Office of Student Conduct refers to it. Anyone with concerns about a possible violation
     of the Student Sexual Misconduct Policy by a student is encouraged to contact the Office of Student Conduct at 919-684-6938,
     conduct@duke.edu, or via studentatfairs.duke.edu/conduct/report-incident.
     Third. the Student Sexual Misconduct Policy describes resources available on campus and in the community to assist
     students in dealing with the impact of sexual misconduct. whether it happened recently or in the past. Such services include,
     for example, the Office of Gender Violence Prevention and Intervention (GVPll in the Women's Center, Counseling and
     Psychological Services (CAPS}, DukeReach, Duke Police (for possible criminal conduct), and administrative actions arranged or
     issued by the Office of Student Conduct, the Office for Institutional Equity, GVPI. and/or the Vice President for Student Affairs (or
     designee}. In addition, resources are available to respondents during and, in some cases, after the complaint process.
     Dr. Benjamin D. Reese (919-684-8222, ben.reese@duke.edu}, Vice President of the Office for Institutional Equity (oie.duke.
     edul. is the individual responsible for the coordination and administration of Duke's nondiscrimination and harassment policies
     generally. Howard Kallem (919-684-1437, howard.kallem@duke.edu}, also in the Office for Institutional Equity, is the Director
     of Title IX Compliance (Title IX Coordinator). In this role, Mr. Kallem is responsible for overseeing the university's Title IX
     compliance, including this policy and its complaint-resolution procedures: as such, Mr. Kallem receives comments/concerns
     from students about this policy's implementation. The Office for Institutional Equity is located in Smith Warehouse, 114 S.
     Buchanan Blvd .. Bay 8, Durham. North Carolina, 27708.



     CON Fl DENTIALITY
     A student may discuss an alleged violation of this policy without the information being reported to the Office of Student Con-
     duct with those who serve in a professional role in which communication is privileged under North Carolina law and to those
     whom the university has designated as a confidential resource consistent with Title IX. Those persons include:

         •    Student Health staff
         •    Counseling & Psychological Services (CAPS) staff
         •    Women's Center staff
         •    Clergy who are acting as such in their professional role at Duke
         •    Ombudsperson




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Students should be aware that. with the exception of these confidential resources, all employees who become aware of
conduct that might fall under this policy are expected to notify the Office of Student Conduct with the names of the parties
involved and the details of the report. Students who serve in an ongoing peer-advising role (such as Resident Assistants) are
also expected to file such reports with the Office of Student Conduct.




INFORMATION FOR COMPLAINANTS
Complainants will be treated with respect before, during, and after the disciplinary process. During an initial meeting, the Office
of Student Conduct will inform the complainant of the university's disciplinary process and possible outcomes. The Office of
Student Conduct will communicate substantive and, when warranted, procedural developments regarding an investigation.
The alleged conduct may also be criminal in nature, and complainants have the right to report-or not to report-the conduct
to Duke Police, Durham Police, or other appropriate law enforcement agency, A criminal report does not preclude university
disciplinary action.
Complainants are strongly encouraged to seek counseling and support available through resources such as Gender Violence
Prevention and Intervention (GVPI) in the Women's Center, Counseling and Psychological Services (CAPS), and Durham
Crisis Response Center (DCRC). For more information on these resources, please see 'Support Services and Options for
Complainants" on page 48,
Regardless of whether a complainant pursues a criminal complaint and/or the university's complaint process through this
policy, the university may investigate the incident(s) in question and will take appropriate responsive action to ensure that the
educational environment is free of harassment and to prevent the recurrence of a hostile environment-and, if appropriate,
remedy the effects of the alleged harassment on the complainant. As discussed later in the policy, remedies available to a
complainant may include, but are not limited to: reasonable academic accommodations, on-campus housing reassignment,
a "no contact" directive between the respondent and the complainant, and disciplinary action against the respondent as
determined through the disciplinary process outlined in this policy. Mediation is not appropriate for any allegation of sexual
violence.
A complainant may request or the university may issue administrative actions and supports such as a "no contact' directive and
changes to academic and living situations through the Office of Student Conduct, GVPI in the Women's Center, and/or the Title
IX Coordinator regardless of whether a complainant files a formal report. A complainant will be notified as to what changes are
reasonably available and/or are being implemented.



INFORMATION FOR RESPONDENTS
Respondents will be treated with respect before, during, and after the disciplinary process. During an initial meeting, the Office
of Student Conduct will inform the respondent of the university's disciplinary process and possible outcomes. The Office of
Student Conduct will communicate substantive and, when warranted, procedural developments regarding an investigation.
Note that alleged behavior may also be criminal in nature, and a respondent may be subject to a criminal investigation by the
appropriate law enforcement agency at the same time as an investigation by the university under this policy: the respondent
may wish to consult with a criminal lawyer as the Office of Student Conduct does not provide advice as to the criminal process.
Respondents are entitled to a presumption that there is not a violation of this policy throughout the disciplinary process unless
and until they are found responsible for a violation of this policy.
Respondents have the right to (and are strongly encouraged to seek) counseling and support available through resources such              (/


as CAPS, DukeReach, or other university and local resources.                                                                            ~
                                                                                                                                        i:a;
A respondent may request. or the Office of Student Conduct and/or the Title IX Coordinator may change, academic and living               C
                                                                                                                                         (:
situations and will be notified as to what changes are reasonably available and/or are being implemented.                               a.
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II. SCOPE
This Student Sexual Misconduct Policy applies to any instance in which any Duke student (undergraduate, graduate,
professional. or any student enrolled in any Duke program) is alleged to have engaged in sexual misconduct against anyone
(e.g., a student. employee, or third party such as a visiting athlete, guest speaker. or contractor), regardless of the complainant's
or respondent's sex, gender, sexual orientation, or gender identity.' The university will respond to any complaint of sexual

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 The Office for Institutional Equity (Smith Warehouse, Bay 8, 919-684-8222) receives reports and handles complaints alleging
sexual misconduct by employees and all other non-Duke students under the Duke University Harassment Policy, oie.duke.
edu/we-can-help/complaints-and-concerns/harassment.




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    misconduct. including conduct alleged to have occurred during breaks, leaves of absence, or periods of dismissal, whether
    on or off campus. The disciplinary process is available as an option while a respondent remains a student at Duke. With the
    agreement of the Vice President for Student Affairs and the dean of the respondent's college or school. disciplinary action may
    be taken against a student who has graduated and is alleged to have committed a violation while a student.



    Ill. PROHIBITED CONDUCT
    Rule. Duke University prohibits all forms of sex/gender-based harassment, sexual/gender violence, sexual exploitation,
    relationship violence (domestic violence and dating violence), and stalking.
    Sex/Gender-Based Harassment. Sex- or gender-based harassment may take two forms:
    One form of harassment is unwelcome verbal or physical conduct based on sex that. because of its severity, persistence, and/
    or pervasiveness, creates a hostile environment by interfering significantly with an individual's work or education, or adversely
    affecting an individual's living conditions.
    The other form of harassment is a student's use of a position of authority (e.g., as a TA. RA, team captain, or officer in a fraternity
    or sorority) to engage in unwelcome sexual advances, requests for sexual favors. or other verbal or physical conduct of a sexual
    nature when:
        •      submission to such conduct is explicitly or implicitly made a term or condition of an individual's employment or
               education: or
        •      submission to or rejection of such conduct is used as a basis for decisions affecting an individual's education or
               employment.
    The conduct alleged to constitute harassment under this policy must be sufficiently severe, persistent. and/or pervasive to
    actually interfere with the complainant's work, education, or living conditions to a significant degree. The severity, persistence,
    and/or pervasiveness of the alleged conduct will also be evaluated from the perspective of a reasonable person similarly
    situated to the complainant and in consideration of the context of the behavior.
    Harassment must be distinguished from behavior that. even though unpleasant or disconcerting. is appropriate to the carrying
    out of certain instructional. advisory, or supervisory responsibilities or to legitimate academic and related discussions.
    Sexual Violence. Sexual violence is a particularly severe form of harassment defined as any physical act of a sexual nature
    based on sex and perpetrated against an individual without consent or when an individual is unable to freely give consent. See
    Section IV of this policy (page 43) for more information about consent.
    Physical acts of a sexual nature include, but are not limited to, touching or attempted touching of an unwilling person's breasts.
    buttocks, inner thighs, groin, or genitalia, either directly or indirectly: and/or sexual penetration (however slight) of another
    person's oral. anal. or genital opening with any body part or object.
    Sexual Exploitation. Sexual exploitation includes taking sexual advantage of another without consent for one's benefit or the
    benefit of another party.




            Examples of conduct that may constitute sex/gender-based harassment include:
               •    Continued unwelcome questioning about intimate or personal matters
               •    Unwelcome touching, or other physical acts of a sexual nature
               •    Severe, persistent. or pervasive comments or jokes of a sexual nature
               •    Severe, persistent. or pervasive unwelcome comments or conduct regarding an individual's sexual
                    orientation or gender identity
               •    Sending emails that contain extreme or persistent sexual messages, images, or language
               •    Repeated derogatory comments ofa non-sexual nature relating to a particular sex/gender generally and
                    targeted to (a) specific individual(s) of that sex/gender
               •    Sex/gender-based violence-non-sexual physical assault of an individual because of the individual's sex or
                    gender
            Harassment may be verbal. nonverbal, or physical and the above list is not exhaustive, but intended only to provide
            general examples of possible prohibited conduct.




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Relationship Violence. Relationship violence is any act of violence or pattern of abusive behavior in an intimate relationship
that is used by one partner to gain or maintain power and control over another partner. Relationship violence can be physical.
sexual, emotional economic, or psychological actions or threats of actions that influence another person. Relationship violence
includes domestic violence and dating violence (adapted from the Office on Violence Against Women. U.S. Department of
Justice,justice.gov/ovw/domestic-violencel.
    •      Domestic violence is any act of violence or pattern of abusive behavior committed by a student against the student's
           current or former spouse/cohabitant. person similarly situated under domestic or family violence law, or anyone else
           protected under domestic or family violence law.
    •      Dating violence is any act of violence or pattern of abusive behavior committed by a student who has been in a social
           relationship of a romantic or intimate nature with the complainant. Whether there was such relationship will be gauged
           by its length, type, and frequency of interaction.
Sex/Gender-Based Stalking. Sex/gender-based stalking is a course of conduct (including cyberstalking} directed at a specific
person that would cause a reasonable person to fear for her, his, or others' safety. or to suffer substantial emotional distress.
Stalking by a student not based on sex or gender is addressed under the Stalking Policy.



RETALIATION
Retaliation is prohibited under Title IX and this policy and is adjudicated under this policy and procedures. Retaliation is defined
as words or acts taken in response to a good-faith reporting of sexual misconduct, or to an individual or group's participation
in Duke's complaint process or the follow up to a Duke complaint. The policy's prohibition against retaliation also protects
individuals who oppose through words or actions what they reasonably believe to be sexual misconduct. Retaliation will be
a violation of this policy when it is sufficiently serious (e.g .. severe. persistent. and/or pervasive} to discourage a reasonable
person from further such activity. The protection against retaliation applies to the parties and to all witnesses. All persons who
believe they have been subjected to misconduct under this policy are encouraged and have the option to seek support, utilize
available resources. and come forward with their concern or complaint.




        Fear of retaliation should never be an obstacle to reporting an incident of alleged sex/gender-based harassment,
        sexual/gender violence. se)(l.lal exploitation. relationship violence, or stalking.




IV.CONSENT
Consent is an affirmative decision to engage in mutually acceptable sexual activity freely given by clear actions and/or words.




        Consent is an informed decision made freely and actively by all parties. Relying solely upon nonverbal                          (f

        communication can lead to miscommunication. It is important not to make assumptions: if confusion or ambiguity on               g
        the issue of consent arises anytime during a sexual interaction. it is essential that each participant stops and clarifies.    "C
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        verbally. willingness to continue.                                                                                              L
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Students should understand that consent may not be inferred from silence, passivity, or lack of active resistance alone.
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Furthermore, a current or previous dating or sexual relationship is not sufficient to constitute consent. and consent to one form      &
of sexual activity does not imply consent to other forms of sexual activity.                                                           t
                                                                                                                                       "C
                                                                                                                                        C
Conduct is "without consent" if no clear consent. verbal and/or nonverbal. is given. An individual is ·unable to freely give             C
                                                                                                                                         L
consent' when the individual is incapacitated (arising, for example. from the use of alcohol or other drugs or when the individual      .!!
is passed out. asleep. unconscious. or mentally or physically impaired}. An individual is also unable to freely give consent            2
when the individual is coerced into sexual activity, such as, for example. through the use of physical force, threat of physical or     !:!:
emotional harm. undue pressure, isolation, or confinement.                                                                               ~
                                                                                                                                        Cf

The perspective of a reasonable person will be the basis for determining whether a respondent knew. or reasonably should                c0.
have known. whether a complainant was able to freely give consent and whether consent was given. Additionally, being                    ~
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     intoxicated or incapacitated does not diminish one's responsibiUty to obtain consent and will not be an excuse for sexual
     misconduct.




          THE IMPACT OF ALCOHOL OR OTHER DRUGS
          The use of alcohol or other drugs can impair effective communfcation about sexual activity and can hinder one's
          ability to pick up on danger cues and resist an assault. Alcohol or other drugs can also lower inhibitions and create an
          atmosphere of confusion over whether consent is freely and effectively given.




     V. COMPLAINT RESOLUTION
     A flowchart illustrating the complaint resolution process can be found on page 52.



     REPORTING
     Students are encouraged to report violations of this policy to the Office of Student Conduct. 200 Crowell Hall, conduct@
     duke.edu, 919-684-6938, studentaffairs.duke.edu/conduct/report-incident.
    · Once a report is received, an investigation and possible immediate and/or interim measures may occur, including adjudication
      through the disciplinary process described below, administrative actions (e.g., a ·no contact· directive, trespass from campus,
      interim suspension). reasonable academic or housing modifications, or other measures designed to reasonably minimize the
      possible recurrence of. and mitigate the effects of, the alleged conduct




          The Office of Student Conduct handles an alleged violation of this policy when the person alleged to have committed
          a violation is a student (The Office for Institutional Equity, Smith Warehouse, Bay 8, 919-684-8222. receives reports in
          which the person alleged to have committed a violation is an employee or third party.I Reports involving an alleged
          student respondent may be filed at any time while the respondent remains a student at Duke: prompt reporting can
          aid an investigation.




     A complainant may request that the Office of Student Conduct not reveal the complainant's identity in responding to a report.
     (In some situations, it may be possible to proceed fully with an investigation without disclosing the name of the complainant.) A
     complainant may also request that the university take limited or no action in response to a report.
     A request to preserve the confidentiality of any party involved in a report or that no action be taken should be made to the
     Office of Student Conduct. 919-684-6938, conduct@duke.edu. Staff in the Office of Student Conduct will confer with the Title
     IX Coordinator about the request and inform the party of the extent to which confidentiality may be maintained. The university
     will attempt to preserve the confidentiality of the complainant and/or respect a request for limited or no action in response to a
     report except when. in the university's judgment, doing so would jeopardize the safety of members of the university community
     (including the complainant) or where the university is required by law to disclose the information (such as in response to a legal
     process).




      IMMEDIATE AND/OR INTERIM MEASURES
     The Office of Student Conduct may issue administrative actions immediately and/or on an interim basis as deemed
     appropriate. including but not limited to restrictions on contact between the complainant. the respondent, and/or other
     involved parties; exclusion from areas of campus: and. removal or relocation from residential areas. The Office of Student
     Conduct adjudicates alleged violations of such through its policies and procedures. The Vice President for Student Affairs. or
     designee, may impose an interim suspension.




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TIME FRAMES
The Office of Student Conduct seeks to resolve complaints under this policy within 60 business days from receipt of a report,
excluding days classes are not in session (see additional information about Appeals, on page 47, for additional time frames).
An investigation typically takes 21 to 45 business days to complete. Generally, within 15 business days after completion of
an investigation. an administrative or panel hearing. if applicable, is scheduled. During this time. staff in the Office of Student
Conduct may seek clarifying information and/ or meet with a complainant. respondent. investigator. or others.
Circumstances may require the university to extend this overall time frame or any individual time frame discussed in this policy.
Examples of reasons why time frames may need to be extended include the complexity of the case. delays due to fall/spring/
summer/holiday breaks, inclement weather, and other extenuating circumstances. Exceptions to these time frames will be
communicated to the complainant and respondent.




ADVISORS
A complainant and a respondent have access to trained Disciplinary Advisors to guide them through the disciplinary process.
Complainants and respondents may consult with anyone they wish (including an attorney) during any stage of this process.
One advisor of the complainant's/respondent's choice (either the university-appointed Disciplinary Advisor or another advisor
of their choice) may accompany the complainant/respondent to any meeting with Office of Student Conduct staff. the
investigator. or to a hearing. The advisor's role in any meeting or hearing is limited to quietly conferring with the complainant or
respondent through written correspondence or whisper. and the advisor may not address any other participant or the hearing
panel. An advisor may not also be a witness.




INVESTIGATION
After it receives a report. the Office of Student Conduct typically meets with a complainant and respondent separately in order
to review the disciplinary process and to hear an overview of each party's account of the incident. Immediate, interim, and/or
long-term measures may also be discussed. The Office of Student Conduct may use any information gleaned through this and/
or subsequent meetings with the complainant/respondent in the disciplinary process.
If the Office of Student Conduct determines further investigation is warranted. it will refer the report to the Director ofTitle
IX Compliance, who will assign the case to an investigator from the Office for Institutional Equity. The investigator interviews
witnesses. collects additional information. and submits a written report of relevant information to the Office of Student Conduct.
The Office of Student Conduct will review the report for completeness and relevance (as that term is defined in Section Vil, and
direct further investigation as necessary before the report is shared with the complainant and respondent.
The investigator's final report will be shared with the complainant and respondent, who then have five business days to respond
in writing to the report with any clarifications, witness statements. or other information. The complainant and respondent
must also submit in writing by that time the names of any material witnesses the complainant/respondent wishes to testify
(should the matter proceed to a hearing) and a summary of information each witness would provide through his/ her testimony.
(Character witnesses are not permitted.) Names of witnesses provided by the complainant/respondent will be shared with the
other party. After the five-business-day deadline. the complainant and respondent may not provide any additional information
for the hearing packet (defined on page 46) and may not produce any additional material at the hearing, unless that information
was not reasonably available prior to the closing of the five-day window. The hearing panel or the Office of Student Conduct. as
appropriate. determines whether to grant exceptions to this five-day deadline.
The Office of Student Conduct will determine what. if any, changes or additions are made to the investigator's report based
upon its review of the report and feedback as described above from the complainant and respondent.
The Office of Student Conduct will determine whether to proceed to a hearing based on its assessment of whether there
is sufficient information to believe that a policy violation may have occurred. The Office of Student Conduct will convey
this decision in writing to the complainant and respondent as applicable, who may ask that the Office of Student Conduct
reconsider its decision.




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    VI. HEARING PROCEDURES
    When the Office of Student Conduct decides that a case should proceed to a hearing, the case may be resolved either through
    an administrative resolution or a hearing panel Under both types of proceedings, the university will use a "preponderance of
    the evidence' (more likely than not) standard.




    ADMINISTRATIVE HEARING
    At the discretion of the Office of Student Conduct, and with the agreement of both the complainant and respondent. a report
    may be resolved through an administrative hearing. The parties will be notified (typically via email) of the specific violations of
    the Student Sexual Misconduct Policy under consideration in advance of an administrative hearing. A designee of the Office of
    Student Conduct will review the information gathered during the investigation separately and in private with each party and
    give each party an opportunity to respond. The designee wilt determine if the respondent is responsible for the alleged policy
    violation(s), and, if so, issue (an) appropriate sanction(s). The parties wilt be notified in writing of the outcomes concurrently. If
    the respondent or complainant does not accept the administrative hearing resolution, either party may request by the stated
    deadline (typically 72 hours after notification of the outcome) a hearing before a hearing panel. as described below. If such
    a request is made, the Office of Student Conduct will then proceed in scheduling a hearing panel. The proposed outcome
    from the administrative hearing will not be disclosed to the hearing panel unless the complainant or respondent shares such
    information.




    HEARING PANEL
    If the Office of Student Conduct decides the case should be resolved through a hearing panel, the Office of Student Conduct
    will appoint a specially trained three-person hearing panel (typically including two faculty or staff members and one student
    and, when possible. at least one representative of the complainant's and respondent's schoolls]) to resolve a complaint under
    this policy. A finding of responsibility must be based on a unanimous vote. Sanctions of suspension or expulsion must also be
    supported by a unanimous vote. A majority vote is required for all other sanctions.
    The following procedures apply to a complaint that proceeds to a hearing panel:
        •    Notice. Both the complainant and the respondent will be notified at least 120 hours in advance of the date and time of
             the hearing and the names of the hearing panelists.
        •    Hearing Packet. In advance of the hearing, the Office of Student Conduct finalizes a packet with information it deems
             relevant to the case to be shared with the hearing panel. The hearing packet typically includes the investigator's
             report (if applicable). The Office of Student Conduct will share a copy of that packet with both the complainant and the
             respondent at least 120 hours in advance of the hearing.
        •    Conflict of Interest. A complainant and/or respondent may challenge the participation of a panelist because of
             perceived conflict of interest, bias, or prejudice. Such challenges. including rationale. must be made to the Office
             of Student Conduct at least 72 hours prior to the commencement of the hearing. At its discretion. the Office of
             Student Conduct will determine whether such a conflict of interest exists and whether a panelist should be replaced.
             Postponement of a hearing may occur if a replacement panelist cannot be immediately identified.
        •    Witnesses. The hearing panel may. at its discretion, exclude witnesses or witness testimony the panel considers
             irrelevant or duplicative.
        •    Electronic Devices. A respondent, complainant. advisor, and/or witness may not bring electronic devices that capture
             or facilitate communication (e.g .. computer, cell phone, audio/video recorder, etc.) into a hearing room. unless
             authorized by the hearing panel. The Office of Student Conduct will make an audio recording of the hearing to be
             kept on file for three years. Reasonable care will be taken to create a quality audio recording and minimize technical
             problems: however. technical problems that result in no recording or an inaudible one will not be a valid argument for
             appeal.
        •    Hearing Procedure. A hearing panel has general authority over the conduct of the hearing (e.g., it may set time
             frames for witness testimony and it may limit opening/closing statements or their length, etc.). The general course of
             procedure for a panel hearing is as follows: introductions: respondent's statement accepting or denying responsibility:
             opening comments from the complainant: opening comments from the respondent: questions from the panel:
             testimony/questions of other material witnesses (if applicable): closing comments from the complainant: and. closing
             comments from the respondent. A complainant or respondent may not question each other or other witnesses directly,
             but may raise questions to be asked of that party through the hearing panel. which will determine whether to ask
             them, The hearing panel determines the relevancy of any information presented/submitted at the hearing and can
             exclude irrelevant information.




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         Hearing Facilitator. A staff member from the Office of Student Conduct will serve as the non-voting hearing facilitator.
    •    Relevance.
         •    In evaluating the relevance of information. the Office of Student Conduct. the investigator from the Office for
              Institutional Equity, or the hearing panel, as appropriate, considers, among other things, whether the information
              bears on a fact at issue in the case, is more prejudicial than probative, or is duplicative.
         •    Polygraph examinations and/or their results are neither admissible nor considered in any part of the disciplinary
              process.
         •   A complainant's or respondent's prior or subsequent sexual activity is typically not relevant and will only be
             considered as evidence when the previous or subsequent behavior was substantially similar to the conduct at
             issue or indicates a pattern of behavior and substantial conformity with that pattern.
The complainant and respondent will receive verbal notification of the decision of a hearing panel no later than five business
days after the hearing. Notification will be individually given to the respondent and complainant at approximately the same
time. A written hearing report outlining the decision and rationale of the hearing panel will be delivered to the respondent and
the complainant typically within 10 business days of the hearing.




SANCTIONS
Sanctions for a finding of responsibility include, but are not limited to. expulsion, suspension, disciplinary probation,
recommended counseling, and/or other educational sanctions. The hearing body will determine the sanctions, first
considering whether expulsion (permanent removal} from the university is appropriate. While expulsion is the starting point for
consideration, the hearing body has discretion to decide that (a) different sanction(s) is (are) appropriate. Factors pertinent to
the determination of what sanction applies include, but are not limited to, the nature of the conduct at issue, prior disciplinary
history of the respondent (shared with a panel only upon a finding of responsibility for the allegation), previous university
response to similar conduct. and university interests (e.g., in providing a safe environment for all).



LONG-TERM/INDEFINITE MEASURES AND/OR REMEDIES
The Director of Title IX Compliance and/or staff in the Office of Student Conduct will work with the complainant and respondent
as applicable .to identify and implement any appropriate/necessary long-term or permanent measures/remedies. The
Director ofTitle IX Compliance and/or staff in the Office of Student Conduct will also identify appropriate remedies/measures
to address any effects of substantiated conduct on the university community. Long-term remedies/measures may include
extending or making permanent any interim protective measures or implementing additional measures. The Director ofTitle
IX Compliance and/or staff in the Office of Student Conduct will consider whether there is a need for additional measures/
remedies. which may include ' no contact" directives and reassignment or removal from a class or on-campus Living area.



APPEALS
A respondent or complainant may appeal the hearing panel's decision by submitting a written appeal statement within five
business days of the date the hearing report is sent to the parties. Appeals are limited to five pages (12-point font. 1-inch         (/
                                                                                                                                      @:
margins). The two grounds for appeal are:
                                                                                                                                     ta:
    1.   New information not reasonably available at the time of the hearing that is material to the hearing panel's decision:         L
         and/or                                                                                                                        E
                                                                                                                                      0.
                                                                                                                                      "C
    2,   Procedural error(s) that materially impacted the hearing panel's decision.                                                    C:
                                                                                                                                       ct

The appeal statement must identify the ground(s) for appeal. Note that an appeal is not a re-hearing of the case.                    -~
                                                                                                                                      c0.
The composition of the Appellate Board for cases arising under this policy includes specially trained members of the university
community appointed by the Vice President for Student Affairs. The chair of the Appellate Board or the chair's designee is            t
responsible for selecting three-person panels from membership of the Appellate Board to consider appeals.                             tC:
                                                                                                                                       C
                                                                                                                                       L
If, by majority vote, the appellate panel determines that a ground of appeal is substantiated, the panel will return the case to       (/


the Office of Student Conduct. otherwise, the decision of the hearing panel stands. When a case is returned to the Office of          ~
Student Conduct, the Office of Student Conduct may decide to drop the case (e.g., based on insufficient information to believe        "'ii
that a policy violation may have occurred), send the case to the original hearing panel for reconsideration. send the case to a        ~
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new hearing panel with the same or different charges, and/or (rel implement any aspect of the disciplinary process. A different       ....C
decision (i.e., the decision of responsibility and/or sanctions) may subsequently result.                                             a
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    Procedures
    The Appellate Board's role is limited to reviewing the hearing panel record. the appealing party's ("appellant") written appeal
    statement, any response to that statement by the other party ('appellee"), and information presented at a meeting of the
    Appellate Board, if convened.
    The appellate panel will typically notify the parties of its decision regarding an appeal in writing within 20 business days from
    receipt of the appeal statement. If the decision will take longer, the chair will inform the parties.
    The following procedures guide the Appellate Board process:
               Appeal Statement. The written hearing report will include instructions for submitting an appeal. The chair may
               summarily deny an appeal if it is not based on one or both grounds of appeal.
               Composition of Panel. If the appeal is not summarily denied by the chair, the chair will convene a three-person panel
               and notify the appellant and appellee of the names of the panel members. When possible, the chair will select at least
               one Appellate Board member from the school community of the complainant and respondent. The appellant and/
               or appellee may challenge the participation of an appellate panelist because of perceived conflict of interest. bias. or
               prejudice. Such challenges. including rationale. must be submitted in writing to the chair no later than 24 hours after
               notification of the names of the appellate panel members. The chair will determine whether such a conflict of interest
               exists and whether a panelist should be replaced.
        •      Response to Appeal. The chair will provide written notice to the appellee that an appeal has been submitted and
               will give the appellee an opportunity to review the appeal statement. The appellee may submit a written response to
               the appeal ("response"). The response is due five business days from the date the chair provides written notice of the
               appeal to the appellee and is limited to five pages (12-point font. 1-inch margins). The chair will provide the appellant
               an opportunity to review the response, though no additional opportunity to respond in writing will be provided to the
               appellant.
        •      Exceptions. The appellant and appellee may submit to the chair requests for exceptions to page limits or deadlines .
               Exceptions must be requested in advance of any deadline by sending an email to appeals@duke.edu. with justification
               for such request(s). If either party fails to meet a deadline or exceeds page limits without receiving an exception, the
               chair has the discretion to summarily reject an appeal or the appellate panel may disregard the response.
               Meetings. On its own or at the request of the appellant or appellee. the appellate panel may convene a meeting to
               give the parties an opportunity to amplify the reason(s) for the appeal or the response. If a meeting is convened, the
               appellate panel will invite both the appellant and appellee. who may bring an advisor of their choice to the meeting.
               The advisor's role is limited to quietly conferring with their advisee, and may not address the appellate panel. In the
               event an appeal alleges a procedural error. the appellate panel may request that (a) staff member(s) in the Office of
               Student Conduct. the Office for Institutional Equity, and/or member(sl of the hearing panel attend the meeting to
               gather more information about the alleged procedural error.
        •      Written Decision. The Appellate Board will provide written notification of the final decision to the appellant and
               appellee at approximately the same time.




            GElITING HELP
            Any student at Duke University who experiences sexual/gender violence-regardless of sex/gender-may
            contact the Women's Center at 919-684-3897 or email WCHelp@duke.edu See 'Support Services and Options for
            Complainants" below for additional information, In case of emergency or immediate threat. call 911 or Duke Police at
            919-684-2444.



            SUPPORT SERVICES AND OPTIONS FOR COMPLAINANTS
            A variety of support resources are available on campus and in the community to assist students in dealing with
            sexual misconduct. whether It happened recently or in the past. The following is a list of helpful resources. Additional
            resource information is available at studentaff'airs.duke.edu/wc.
            Information, advocacy. counseling. and emotional support. The Office of Gender Violence Prevention and
            Intervention (GVPI) provides education, advocacy. and support for students who experience sexual and relationship
            violence, sex/gender-based harassment. and sex/gender-based stalking. as welt as for their friends and families.




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Students of any gender can receive information, support, and accompaniment regarding medical treatment, reporting
options, academic and residential accommodations, referrals, legal options, and trauma-focused therapy. Walk-in
or scheduled appointments with the GVPI Coordinator are available dunng business hours by calling 919-684-3897,
emailing womenctr@duke.edu, or by visiting the Women's Center located at 001 Crowell Building (underneath the
Coffeehouse) on East Campus. Emergency after-hours assistance is available via pager at 919-970-2108. All services
are free and confidential and do not require making a formal report to the police or the university
Counseling and Psychological Services (CAPS) also offers ongoing counseling services; call 919-660-1000 for an
appointment For 24-hour crisis information and referral. contact the GVPI information line at 919-681-6882, the Dean
on-Call (pager number 919-970-4169), or the Durham Crisis Response Center at 919-403-6562 (for 24-hour hotline). All
services are confidential and do not require making a formal report to the police or the university.
Medical concerns. Students should seek medical attention immediately to have the most options for the prevention
of pregnancy and sexually transmitted infections. Even if physical injuries are not apparent. one may have injuries
as a result of sexual assault that are not easily seen. For immediate and urgent medical concerns, students may go
directly to the Emergency Department (ED) of Duke Medical Center (off Erwin Road near Trent Hall). Duke Police (911
or 919-684-2444 from non-campus phones) can provide transportation without students having to make a report.
Services available at the Emergency Department are: medical care, evidence collection, emergency contraception,
and sexually transmitted infection prevention.
Evidence can be collected anonymously. Evidence is best collected within 120 hours of the assault Pursuing a
criminal case is not necessary in order to have the evidence collected anonymously. A blind report can be filed that
includes no identifying information other than a case number. A student may decide later whether to file a police
report. Health insurance and the State of North Carolina may cover portions of the costs of medical care, The GVPI
coordinator in the Women's Center will help students address any concerns they have about covering the costs of the
medical exam or other related expenses. Both the Emergency Department and Student Health have Sexual Assault
Nurse Examiners (SANE), who are specially trained to work with individuals who have been sexually assaulted.
For Less immediate medical concerns, students may schedule an appointment at Student Health (919-681-WELU.
The services available are: medical care, emergency contraception, and sexually transmitted infection prevention.
The student health fee covers all services, except for a minimal charge for emergency contraception. Staff from GVPI
can accompany students to the ED or Student Health.
Reporting to the police. Sexual misconduct may be criminal in nature, and a student may choose to file a report with
law enforcement. Duke Police (911 or 919-684-2444 from non-campus phones) will respond to emergencies and
non-emergencies to provide assistance by intervening in cases of assault. providing transportation to the Emergency
Department. taking reports of an assault. and/or investigating and participating in legal or disciplinary action. They
are responsible for notifying the community in a case of continuing danger, issuing a trespass order that requires
an individual to stay away from campus or a particular area of campus when needed, and providing referrals and
information including how to obtain a restraining order. Assaults that occur off campus may fall under the jurisdiction
of the Durham Police Department or other law enforcement agency, Students may contact the Durham Police
directly (911 off campus or 919-560-4427/560-4609) or the GVPI office or Duke Police can help facilitate reporting.
Blind reporting-filing a report without one's name attached to it-is an available option with both Duke Police and
Durham Police. Regardless of whether a complainant pursues a criminal complaint. the university will investigate the
incident in question and take appropriate responsive action to ensure that the educational environment at Duke is
free of harassment and to prevent the recurrence of a hostile environment. and, as appropriate, to remedy the effects
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    EXAMP.LES OF SEXUAL MISCONDUCT
    Angela and Aaron have been in an ongoing relationship for a year and a half and have engaged in consensual sexual
    intercourse. One night while becoming intimate. Angela stops and says she doesn't feel like having sex that night.
    Aaron continues to touch her. saying that she got him excited and it wasn't fair of her to lead him on like that. Again,
    Angela tells him she does not want to have sex, and then is silent. Aaron decides she has given in. and proceeds to
    have sexual intercourse with her.
    This is a violation of the Student Sexual Misconduct Policy. Aaron had sexual intercourse with Angela against her will. The
    fact that Angela has freely consented to sexual intercourse with Aaron in thepast does NOT mean he has her consent in
    this situation.
    Erin is talking to several of her friends in the hallway at a crowded party. Ryan, a student she knows from chemistry
    class, comes up behind her and places his arms around her waist. She says hi to Ryan and continues her
    conversation. Ryan gradually moves his hands up to her breasts. She turns to him and tells him to stop. saying she
    doesn't want to be touched in that way and that he should have more respect for her. He laughs, tells her she takes
    herself too seriously, and again begins to grope her.
    This is a violation of the Student Sexual Misconduct Policy Ryan touched Erin in a sexual way without her consent, and
    continued to do so a~er she told him to stop This behavior is a form of sexual/gender violence
     Kristen and Myra have been intimate for a few weeks. One night, Myra calls Kristen and asks her to come over. When
    she arrives, Myra kisses Kristen passionately and leads her into the bedroom. They each express their excitement and
    desire to 'hook up,' and are soon making out heavily in Myra's bed. After a while, Kristen tries to engage in oral sex
    with Myra. Myra tells Kristen that she really likes· her, but that she doesn't feel' ready for that. Kristen tells Myra she's
    just being shy, and ignores her when she repeats thatshe doesn't feel ready. Finally. Kristen threatens to reveal on the
     Internet that Myra is a lesbian. Because Myra has not yet come out to her friends and family, she becomes frightened
    and silent. Kristen proceeds with oral sex.
                                                                                    s
    This is a violation of the Student Sexual Misconduct Policy. Because of Kristen manipulative and threatening arguments,
    Myra was afraid and unable to freely give her consent Kristen did not receive consent from Myra and has committed
    sexual/gender violence.
    Liz and Tom have been together for six months. Liz often tells her friends stories of Tom's sexual prowess, and
    decides to prove it to them. One night. she and Tom engage in consensual sexual intercourse. Without Tom's
    knowledge. Liz sets up her digital camera to videotape them having sex. The next evening, she uploads the video to
    an on line video-sharing site and discusses it with her friends online.
    This is a violation of the Student Sexual Misconduct Policy. Tom's consent to engage in sexual intercourse with Liz did NOT
    mean Liz had obtained his consent to videotape it. This is a form of sexual exploitation.
    Andrew and Felix have been flirting with each other all night at a party. Around 12:30 a.m.,Felix excuses himself to
    find a bathroom. Andrew notices Felix slurring his speech. Andrew wonders if Felix went to the bathroom to vomit.
    When·F'elix returns. the two begin flirting more heavily and move to a couch As the conversation continues, the two
    become more relaxed and more physically affectionate. Andrew soon suggests they go back to his room. and Felix
    agrees. As they walk down the stairs, Andrew notices that Felix looks unstable and o1fers his arm for support and
    balance. When they get back to his room, Andrew leads Felix to the bed and they begin to become intimate. Felix
    becomes increasingly passive and appears disoriented. Andrew soon begins to have sexual intercourse with him. The
    next morning, Felix thinks they had sex but cannot piece together the events Leading up to it.
    This is a violation of the Student Sexual Misconduct Policy. Felix was passive. and the Policy states that consent may
    not be inferred from silence, passivity. or lack of active resistance. Moreover. Felix was clearly incapacitated by alcohol.
    and thus unable to freely consent to engage in sexual activity with Andrew. Although Andrew may not have known how
    much .alcohol Felix had consumed. he saw indicators from which a reasonable person would conclude that Felix was
    incapacitated, and therefore unable to give consent Andrew in no way had consent from Felix.
    Denise is a graduate. teaching assistant in Paul's economics class. She notes that he has not been performing well on
    take-home assignments and exams Both of them have come to a party, each with their own group of friends. Denise
    has consumed one can of beer, while Paul is rather intoxicated. Denise sees Paul and approaches him. She flirts
    with him, telling him that she can help him improve his grades if he will hook up with her. As Paul turns to walkaway.
    Denise grabs his buttocks and squeezes them.




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This is a violation of the Student Sexual Misconduct Policy. Denise. in a position ofpower over Paul as his teaching
assistant. attempted to arrange a quid pro quo sexual relationship Additionally. she did not seek consent from Paul to
touch him. even if a reasonable person could conclude that Paul was not too intoxicated in order to provide consent
A student had recently visited another country; on his return. he wrote an article for The Chronicle in which he
used sexually explicit terms and examples to describe the treatment of women in that country. Other students are
offended by the article.
This would not be a violation of the Student Sexual Misconduct Policy. Sexual harassment is unwelcome conduct of
a sexual nature that. because of its severity and/or persistence. mterferes significantly with an individual's work or
education. The conduct is evaluated from the perspective of a reasonable person and in consideration of the context of
the behavior It is not enough that other students ore offended by the article for it to be a violation of the policy. Duke is
committed to principles of academic freedom and conduct with a legitimate educational or related purpose will not be
considered a policy violation.
Abby and Mike are graduate students working in the same lab. They have been dating for a year. Abby often calls
Mike names and damages his belongings when she's upset. She once poured a soda over his laptop after she saw
him talking to another woman. Last week. she threw a cell phone at his head when he was late picking her up from
work
This would be a violation of the Student Sexual Misconduct Policy. Relationship violence. including domestic and doting
violence. includes physical. sexual. emotional. economic, or psychological actions or threats of actions that reasonable
person in similar circumstances would find intimidating, frightening. terrorizing. or threatening.
Monica filed a complaint with the Office of Student Conduct alleging that. after she broke up with Marcus, Marcus
has been stalking her. Marcus has told his friends about the complaint and several of them have launched a Twitter
campaign threatening Monica and the witnesses supporting her claim if Monica doesn't drop the complaint
The conduct by Marcus's fnends would be a violation of the Student Sexual Misconduct Policy The policy prohibits
retaliation against anyone who files a complaint or parlicipates in the investigation of a complaint.




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                             STUDENT CONDUCT PROCESS FOR
                            SEXUAL MISCONDUCT ALLEGATIONS
r                                                                                                                    /
         Student complainant
                                    "I                    /
                                                                OSC sends the student          '                              Student complainant is informed                  '
         or third party reports                                   complainant a letter                                          of disciplinary option through
           incident of Sexual                                   requesting to meet and                                            the university. Student may
        Misconduct to a) Office
          of Student Conduct
                                                     --          outlines resources for
                                                                 support. including the                          -
                                                                                                                 ~
                                                                                                                                 participate in the disciplinary
                                                                                                                                  process or decline to do so.
      (OSC) or bl to a university                                option to file a report                                             In some cases, if enough
        employee, who informs                                   with the appropriate law                                            information is available to
           OSC and provides                                      enforcement agency.                                              investigate or initiate some
         names of the parties                                                                  ~                                 intervention with an accused
                                                          '
       involved, if known. Note:
        Employees designated
            as a confidential                    /
                                                                            !                               '
                                                                                                                                   student, the university will
                                                                                                                                  proceed even if the student
                                                                                                                              declines to participate, keep ing
        resource (e.g .. medical                     OSC forwards to Office of Gender                                              the complainant's request
         providers, therapists,                      Violence Prevention & Intervention                                           for confidentiality to extent
         clergy acting as such                         (GVPll in the Women's Center a                                          possible. Campus environment
          in their professional                       copy of the report. GVPI reaches                                         is evaluated when appropriate.
        role at_ Duke, university                    out to the complainant to provide                                        OSC will discuss the matter with
          ombudsperson) are                            confidential support. A student                                        the student complainant (if he/
        exempt from reporting                         who declines to meet with OSC                                           she chooses to meet with OSC)
                 toOSC.                                 may still meet with GVPI staff.                                           before deciding what to do.

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                                                                                                                                                   'W'
                                                          /
r                                                                     An investigation         '                         /
                                                                                                                                                                           '
       A determination will be      '                             may be conducted by
                                                                the Office for Institutional
                                                                                                                                   A 'no contact" directive may
       made by OSC whether                                                                                                          be put into place between
                                                                  Equity and a report of
        sufficient information            ....
                                          ~                                                          ~

                                                                                                    .....                            the complainant and the
                                                                    finding s submitted
       exists to move forward                                                                                                     respondent. Additional interim
                                                                 to OSC. DukeReach will
           w ith a hearing.                                                                                                       measures may be considered.
                                                                 be offered as a resource
\,_                                  ~
                                                                   for the respondent.
                                                                                                                         '
                                                                                                                                                                           _/
                                                          \,_                                  ~




                  '~                                                                                                              /
/                                                         r
                                                                                               '                                                                  '
      At the discretion of OSC,
      an administrative hearing
                                    '                                                                                                     No later than five
                                                                                                                                       business days following
                                                                   At the discretion of                                               the hearing, outcome will
        may be conducted to
                                                                  OSC, a three-person                                                 be conveyed individually
         resolve the matter. If
                                                                 specially trained panel                                                 to respondent and
                                                                                                                             --
        both complainant and             ,_ __       ➔

                                                                 will consider the case.                                                    complainant at
          respondent accept
                                                                    Respondent and                                                        approximately the
       resolution, the matter is
                                                                complainant are invited                                                  same time. Written
       resolved. If one or both
                                                                to participate in hearing.                                             notification w ill typically
      do not. a hearing panel is
                                                                                                                                          be made w ithin 10
              convened.
                                                                                                                                             business days.
'
                                    _/


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                                                                                                                                  r
                                                                                                                                          Both parties have
                                                                                                                                                                      '
                                                                                                                                        right of appeal within
                                                                                                                                        grounds of appeal to
                                                                                                                                           Appellate Board.

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FILING A REPORT INVOLVING A STUDENT OR GROUP
Reports regarding student or group behavior may be filed with the Office of Student Conduct. Duke Police, the Office for
Institutional Equity, academic deans, and offices within Student Affairs offer additional resources for students to address
concerns. These offices work together in order to determine the most appropriate venue for resolution. In any situation where a
party is unsure of whom to call, he/she may contact the Office of Student Conduct.
Any alleged violation of university policy, including academic dishonesty, is within the scope of the Office of Student Conduct.
If the Office of Student Conduct determines that another office is more appropriate to handle the situation, the case may be
referred to that office. (Violations that occur within residential areas will often be referred to Housing and Residence Life IHRLl.l
The Office of Student Conduct coordinates a mediation program, which may be accessed upon referral or at the request of a
student to resolve disputes between students.
In general. residence life staff will handle complaints of conduct within residential areas unless the alleged behavior is of a
serious nature or the student has had prior violations, in which case the case may be referred for disciplinary action through the
Office of Student Conduct: 919-684-6938; studentaffairs.duke.edu/conduct.



TYPES OF RESOLUTION

MEDIATION
Mediation is a process that empowers students.to resolve their own disputes, Through mediation, a neutral third party assists
students in coming to a peaceful and agreeable solution. The university encourages informal mediation whenever practical or
appropriate. Students interested in utilizing the mediation program to resolve a conflict should contact the Office of Student
Conduct. Staff within the Office of Student Conduct may also refer cases to mediation as appropriate. Ultimately, all parties
involved must agree to mediation. If one party does not agree to mediation. or if the mediation fails, the Office of Student
Conduct may refer a case to arbitration and/or disciplinary resolution. Failure to comply with the results of mediation may be
cause to commence the disciplinary process.



ARBITRATION
Arbitration is a process by which students are given an opportunity to present information about a dispute to a neutral third
party who renders a decision. Arbitration may be used in roommate conflicts or other relationship conflicts where residential
status or participation/access privileges are at issue and mediation is not appropriate. The Office of Student Conduct or HRL
may choose to send any case to arbitration. Arbitration will not result in a disciplinary record, but the arbitrator(sl may alter
students' living status, limit privileges, or invoke restrictions on participants. Failure to comply with the results of arbitration may
be cause to commence the disciplinary process.



INFORMAL RESOLUTION
Generally, staff in Housing and Residence Life will resolve misconduct in the residence halls. Informal resolutions may include
residential warnings or probation, relocation, community service, restitution, or educational initiatives. Students who are alleged
to have committed serious infractions (e.g., drug or safety violations) or who repeatedly violate any residential and/or university
policy will be subject to formal disciplinary action through the Office of Student Conduct. Staff within the Office of Student
Conduct may also choose to utilize the informal resolution process to resolve minor issues of student behavior. Resolutions
resulting from this process may include an educational assignment or community service. Failure to comply with the resolution
may be cause to commence the disciplinary process. Records of informal resolution will be kept internally and will not be
considered part of a student's externally reportable disciplinary record, unless otherwise specifically stated.



DISCIPLINARY ACTION
Any case involving an alleged violation of community standards, Greek organization policies, or university rules and regulations
by an undergraduate student or group may be resolved through the undergraduate disciplinary system.




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        •    Alleged violations of Duke student conduct policies which could be bias-/hate-related should be communicated to
             the Office of Student Conduct (OSC): and, for students outside ofTrinity College or the Pratt School of Engineering,
             to the appropriate administrator in the student's school or college as well. Reports of alleged violations by
             undergraduates will be addressed through the undergraduate disciplinary process. For all other students, whichever
             entity-the school or OSC-learns of the allegation first will promptly notify the other and will schedule a conversation
             to determine how the allegation will be handled. The general expectation is that OSC will handle the case, though the
             school or college has the authority to take the lead in investigating and/or adjudicating any alleged behavior it feels it
             is best positioned to handle. If OSC handles the case, it will follow the investigation, hearing, and appellate procedures
             set forth in this guide: the college or school will implement any final sanction. If the case is handled by the college or
             school, it will follow the college's/school's procedures as published and disseminated by the college/school.



    THE DISCIPLINARY PROCESS

    Reports
    Reports of behavior alleged to violate university policy should be filed with or forwarded to the Office of Student Conduct.


    Participation
    The university invites students/groups to participate fully in all aspects of the disciplinary process. If a student/group elects not
    to participate in any part of the process (e.g., submitting a written statement or participating in a hearing). the conduct officer/
    hearing body may proceed without benefit of that student's/group's input. A student/group will be held accountable for any
    sanctions issued as a result of a hearing.


    Investigation
    Office of Student Conduct staff and/or designee(s) will gather information regarding the alleged incident in order to determine
    the appropriate means of resolution.
    Investigations may include interviews, a review of related documents, requests for written statements from any person involved
    in the alleged incident, and review of material available electronically. Polygraph examinations and/or their results are neither
    admissible nor considered in any part of the disciplinary process. Students and organizations are encouraged to be forthright
    and as specific as possible when offering information related to an investigation, but may choose the extent to which they share
    information.
    Cases may be dropped for insufficient information, or referred for mediation, arbitration, informal resolution or disciplinary
    action. In order for a case to be referred for disciplinary action, there must be sufficient information to believe that a policy
    violation may have occurred and that the alleged individual/group may be responsible. See Appendix C on page 69 for the
    Administrative Action Policy, which may be implemented during the disciplinary process.


    Referral for Disciplinary Action
    If a case is referred for disciplinary action, the student/group will be notified of the incident in question and the policy
    violation(s) under consideration. and will be given an opportunity to respond. There are several means by which to resolve
    disciplinary situations. The Office of Student Conduct will determine which avenue is most appropriate to pursue.
    Disciplinary hearings are not trials and are not constrained by the same rules of procedure and evidence typically used in a
    court of law. The university disciplinary system operates under a standard of fairness, which includes an opportunity for the
    student/group to be notified of the alleged incident and policy violations under consideration and an opportunity to be heard.


    Resolution through a Disciplinary Hearing
    Any case may be forwarded directly to a disciplinary hearing if there is sufficient information to believe that a policy violation
    may have occurred and that the alleged individual/group may be responsible. Most cases will be referred to administrative
    hearings. Cases that are serious in nature, involve complicated facts, and/or involve students/groups with previous disciplinary
    violations may be forwarded to the Undergraduate Conduct Board for resolution. (See 'Student Sexual Misconduct Policy and
    Procedures' on page 39 for adjudication of allegations of sexual misconduct.)
    Individuals or groups who deny responsibility for serious offenses of university policy and who face possible suspension or
    expulsion/dissolution from the university have the right to request a hearing before a five-person panel of the UCB. Individuals
    or groups who accept responsibility for alleged violations of university policy, but are unable to agree on a proposed sanction,
    which may include suspension or expulsion/dissolution, have the right to request a hearing before a three-person panel of the
    UCB. (The conduct officer may, due to the circumstances of the case, elect to utilize a five-person panel.)




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.. ~ ... : •~r-":.,. '
  iJ.) i: QI                 I have received an e-mail from the Office of Student Conduct that says I have been scheduled for an
                             administrative hearing. What does that mean?

                             An administrative hearing is a conversation between you and a staff member to discuss your alleged
                             involvement in reported behavior. The staff member is interested in hearing your perspective on what may
                             have happened and will discuss with you how the matter might be resolved. The conversation may also
                             focus on what you have learned or can take away from the incident.

                             Upon receiving the e-mail, review its contents carefully and ensure you are available at the time indicated
                             in the message. If not. call the Office of Student Conduct at 919-684-6938 to schedule a new appointment.
                             Next. familiarize yourself with the policies that may be at issue, which are also listed 1n your letter.

                             During an administrative hearing, listen carefully. share your perspective on the matter, and ask questions.
                             Most often, the staff member is able to resolve the matter with you directly.

                             Following the administrative hearing, you will receive another e-mail describing the decision made by the
                             staff member. sanctions (if appropriate), and details for having the matter reconsidered. if you wish.




              Resolution through Agreement
             If a student/group accepts responsibility for (an) alleged violation(s), the conduct officer. or designee. may propose (an)
             appropriate sanction(s) based on the specifics of the case. precedent and university.interests.
             If the student/group accepts responsibility and agrees to the proposed sanction(s). the student/group waives his/her/its right
             to a hearing and/or appeal, the resolution becomes final, and the outcome is recorded on the student's/group's disciplinary
             record. If the student/group accepts responsibility. but is unable to agree to the proposed sanction(sl, the case will be
             forwarded to a hearing to determine (an) appropriate s':1nction(s).
              If the student/group denies responsibility. the case will be forwarded to a hearing to determine responsibility and (a) sanction(s)
              as appropriate.



              DISCIPLINARY HEARING TYPES
              There are two types of hearings. Most cases are decided upon through an administrative hearing, which is a discussion
              between the student/group and a hearing officer. Cases that are serious in nature, involve complicated facts, and/or involve
              students/groups with previous disciplinary violations may be forwarded to the Undergraduate Conduct Board for resolution.
              Students who face a possible sanction of suspension or expulsion may request to have his/her case heard by a panel of the
              UCB. Groups who face possible dissolution may request a hearing by a panel of the UCB.
               (See 'Student Sexual Misconduct Policy and Procedures" on page 39 for adjudication of allegations of sexual misconduct.)


               Administrative Hearings
               An administrative hearing is a discussion between a student/group alleged to be in violation of university policy and a hearing
               officer. Students/groups will be notified (typically via e-maill of the specific violations under consideration in advance of an
               administrative hearing. The hearing officer will review the report with the student or group and give the student/group an
               opportunity to respond. The hearing officer will determine whether the student/group is responsible for the alleged policy
               violation. and. if so. issue (an) appropriate sanction(s). Administrative hearings are conducted in private, except under the
               Student Sexual Misconduct Policy. in which a student may be accompanied by an advisor of his/her choice.
               Upon proper notice, if a student/group fails to attend an administrative hearing. the hearing officer may proceed to resolve the      !c;::
               case without benefit of that student's/group's input.                                                                                  C
                                                                                                                                                      C
                                                                                                                                                     C
               All decisions of responsibility are based on clear and convincing information, except for allegations arising under the               +-
                                                                                                                                                     c
               Harassment Policy and the Student Sexual Misconduct Policy, which are decided based on the standard of preponderance of               a;
                                                                                                                                                     1;
               evidence. In determining appropriate sanctions. consideration may be given to the nature of and circumstances surrounding
               the violation, the student's/group's acceptance of responsibility, prior disciplinary violations. the impact of a sanction on the     ....t:C
               student/group, precedent cases, university interests, and any other information deemed relevant by a hearing panel/officer.             C
                                                                                                                                                       C
               Should a hearing officer determine that a violation was motivated in part or whole by race, color, religion, national origin,         t:
               disability. veteran status. sexual orientation. gender identity. sex. genetic information. or age, the hearing officer may consider    crJ
               this an aggravating factor that increases the stringency of the sanction(s).                                                            a;
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     If a student/group does not accept the administrative hearing resolution. he/she/it may request by the stated deadline a
     hearing before a panel of the Undergraduate Conduct Board.


     Undergraduate Conduct Board Hearings
     The Undergraduate Conduct Board is a group of students, faculty and staff appointed to hear alleged infractions of university
     policy. The board is charged with determining whether a student's/group's actions constitute a violation of university policy
     and, if so. an appropriate response. In determining an appropriate response. consideration is given to the student's/group's
     interests as well as the university's interest in maintaining high standards.
     All UCB hearings are conducted in private. Any student whose presence is required by the conduct officer at a hearing will be
     excused from any other university responsibility.
     Respondents, complainant. advisors. and/or witnesses may not bring devices that capture or facilitate communication (e.g ..
     computer. cell phone, audio/video recorder, etc.) into a hearing room. unless authorized by the hearing panel.
     Accused Students/Groups. Accused students/groups are entitled to the following procedural rights when facing a hearing
     before the Undergraduate Conduct Board:
        •    to be informed that he/she/it is under investigation:
        •    to seek advice from anyone:
        •    to seek advice from a trained advisor made available by the university:
        •    to be given an opportunity to respond to allegations:
         •   to choose the extent to which he/she/it shares information:
         •   to be notified of a hearing at least 120 hours (five days) in advance (notification will include the time, date and location
             of the hearing as well as names of hearing panel members and witnesses);
         •   to challenge any panel member if there is a significant conflict of interest:
         •   to know of and review in advance written information and allegations presented to the hearing panel
         •   to be accompanied by an advisor to the hearing (who must be a member of the university community !defined below].
             except in cases arising under the Student Sexual Misconduct Policy, in which case a student can select any advisor of
             his/her choice):
         •   to a fair and impartial hearing:
         •   to rebut any witness testimony presented against him/her/it:
         •   to present additional witnesses or information at the hearing (the relevancy of which may be determined by the
             hearing panell:
         •    to be found responsible only if the evidence meets a clear and convincing burden of proof (or preponderance of
              evidence standard in cases arising under the Harassment Policy or Student Sexual Misconduct Policy): and
         •    to appeal based upon clearly stated grounds.
     Advisors. Accused students/groups are encouraged to seek advice and support from whomever they choose throughout the
     disciplinary process. An advisor may accompany an accused student/group or a student complainant to a UCB hearing. The
     advisor may be from the designated list of trained student and staff advisors available through the Office of Student Conduct,
     or may be any member of the university community. A member of the university community is defined as a current student, or
     a faculty or staff member currently employed by the university. For Greek organizations, the advisor may also be the chapter
     advisor. The advisor may not be a member of the UCB and may not serve as a material or expert witness. The role of the
     advisor is to assist and support the student/group through the disciplinary process. The advisor's role in a hearing is limited to
     quietly conferring with the respondent through written correspondence or whisper. and the advisor may not address any other
     participant or the hearing panel.
     An advisor may also accompany a complainant to a hearing in a case arising from the Student Sexual Misconduct Policy. See
     "Student Sexual Misconduct Policy and Procedures" on page 39 for additional information.
     In a single hearing with multiple respondents and/or complainants. an advisor may attend the hearing with only one party (i.e. ,
     a unique advisor for each participant). The trained student and staff disciplinary advisors are valuable resources, thoroughly
     familiar with the conduct process. In the event that a recommended advisor is unavailable, an accused student/group may ask
     for the names of additional advisors from the Office of Student Conduct.
     Hearing Panels. Hearing panels charged with determining an outcome and a sanction shall consist of three students and two
     members of the faculty or staff selected from the UCB. Hearing panels charged with determining only a sanction shall consist
     of two students and one faculty or staff member selected from the UCB. (In some circumstances, the conduct officer may




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choose to utilize a five-person panel consisting of three students and two faculty or staff members to determine a sanction.) A
staff member from the Office of Student Conduct serves as a hearing facilitator and is a non-voting presence in the hearing.
(See "Student Sexual Misconduct Policy and Procedures" on page 39 for hearing panel composition of these cases.)
An accused student/group may agree to a smaller panel or different student-to-faculty/staff ratio in the event that a full panel
is not available. The accused student/group also may challenge any panel member if there is a significant conflict of interest.
Such a challenge must be made at least 72 hours prior to the hearing and will be granted only for sufficient cause.
At times of the year when regular panels are not available (e.g .. during the summer or semester breaks). the conduct officer
may appoint a special hearing panel. which may include members of the university community who are not part of the
Undergraduate Conduct Board or may have a different composition of students/faculty/staff than panels held during the
normal academic year.
Notice. An accused student/group will be notified of a UCB hearing at least 120 hours (five days) in advance. The notice will
include the date and time of the hearing. the specific charges at issue. and the names of the panel members. At times of
the year when 120 hours of notice is not practical due to a student's pending graduation, study abroad, or participation in a
university-sponsored activity (e.g .. DukeEngage), a student must either waive this right or not participate in the pending activity
until the matter is resolved.
An accused student/group will also receive in advance of the hearing a copy of written information given to the hearing panel.
The conduct officer may include information clarifying or noting any additional information gathered through the investigation
without expressing any personal opinion about the merits of the case. In cases not involving an alleged violation of the Student
Sexual Misconduct Policy, any additional material not included in a hearing packet that a complainant or respondent wishes
to have reviewed by the hearing panel must be submitted to the Office of Student Conduct no later than 72 hours before the
hearing. If deemed relevant by the Office of Student Conduct, that material will be shared with the complainant/respondent
and the hearing panel.
The complainant will be notified of the hea~ing if his/her presence is required. At his/her request. the complainant may also
receive a copy of the written information given to the hearing panel.
Upon proper notice, if the student/group fails to attend the hearing, the hearing panel may proceed in his/her/its absence.
Witnesses. The conduct officer may request the presence of any witness with pertinent information about a case. If a witness
is unidentified or unavailable to attend the hearing. his/her statement may not constitute a sole or substantial basis for
determining responsibility. If he/she is necessary and unidentified or unavailable. the conduct officer or the chair of the hearing
panel may suspend or dismiss the proceedings.
The accused student/group and·complainant may bring relevant material witnesses to speak on his/her/its behalf. Absent
exceptional circumstances and for all alleged policy violations except that of the Student Sexual Misconduct Policy, the
accused student/group and/or complainant should inform the conduct officer in writing at least 72 hours in advance of the
hearing the names of the witnesses and to what they will attest. The panel may determine the extent to which witnesses will be
permitted in the hearing, including relevancy of questioning and information presented.
Procedure. The general course of procedure for a UCB hearing is as follows: introductions: plea(s) from the accused: opening
comments from complainant(s) (if applicable): opening comments from accused: questions: testimony/questions of other
material witnesses (if applicable): closing comments from complainant (if applicable): closing comments from accused.
The panel may impose time limits on any stage of the procedure. The panel may also determine the relevance of any witness
or information to be presented and/or considered by the hearing panel.




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    Information to be Considered by the Panel. The panel may consider any information it deems relevant, including
    documentation and expressions of opinion. If the panel needs additional information during a hearing, such as verification
    of a fact at issue. an expert opinion, etc .. the panel may request such information and may suspend its decision until such
    information is obtained. The accused student/group will have the right to respond to any additional information that is to be
    used in considering an outcome.




                   What is "clear and convincing information?"
                   Two phrases that help define "clear and convincing' are •reasonably certain' and "highly probable.• It
                   is information that produces a firm belief that the allegations of misconduct are true. It is a standard of
                   evidence between the standards called 'preponderance of evidence· and 'beyond a reasonable doubt,'
                   Clear and convincing information requires proof sufficient to convince ordinarily prudent-minded people
                   that an allegation of misconduct is true. The proof need not be fully conclusive, but should cause one to be
                   convinced that the allegations are true.
                                                           - Adapted from the Indiana University Judicial Officer Manual, 2002-2003


                   What is "preponderance of evidence?"
                   A preponderance of evidence means that it is more likely than not that an allegation of misconduct
                   occurred.




    Outcome, Based on clear and convincing information (or preponderance of evidence in cases arising from the Harassment
    Policy and the Student Sexual Misconduct Policy) considered during the hearing, the panel may find a student/group
    responsible for an alleged violation by majority vote. (In cases arising from the Student Sexual Misconduct Policy, a finding of
    responsibility for a violation must be unanimous.) The panel, also by majority vote, may dismiss any charge.
    Upon finding a student/group responsible for a violation of university policy, the panel may determine and impose (an)
    appropriate sanction(s). Consideration may be given to the nature of and circumstances surrounding the violation, the
    student's/group's acceptance of responsibility, prior disciplinary violations, the impact of a sanction on the student/group,
    precedent cases, university interests, and any other information deemed relevant by the hearing panel. Should a hearing panel
    determine that a violation was motivated in part or whole by race, color, religion, national origin, disability, veteran status, sexual
    orientation, gender identity, sex, genetic information. or age, the hearing panel may consider this an aggravating factor that
    increases the stringency of the sanction(sl. All sanctions must be decided by majority vote with the exception of suspension or
    expulsion of an individual or dissolution of a group. These sanctions must be supported unanimously by a three-person panel
    or by four members of a five-person panel.
    Notification and Record of the Hearing Outcome. The panel chair and/or the conduct officer will notify the accused student/
    group of the outcome of the hearing. A written hearing report describing the outcome, with a brief explanation of the reasoning,
    will be given to the accused student/group.
    The complainant will be informed of the outcome of a hearing in accordance with federal guidelines. Complainants in cases
    arising from the Student Sexual Misconduct Policy will receive a written report of the hearing outcome.
    An audio recording of each hearing will be made by the conduct officer and kept on file for three years. Reasonable care will be
    taken to create a quality recording and minimize technical problems: however, technical problems that result in no recording or
    an inaudible one will not be a valid argument for appeal.



    SANCTIONS
    Any disciplinary hearing may result in penalties (singly or in combination), including, but not limited to, those from the following
    list. In determining appropriate sanctions, consideration may be given to the nature of and circumstances surrounding the
    violation. the student's/group's acceptance of responsibility, prior disciplinary violations, the impact of a sanction on the
    student/group, precedent cases, university interests and any other information deemed relevant by a hearing panel/officer.
    Should a hearing panel/officer determine at any point during the investigation or adjudication of a violation that a violation was
    motivated in part or whole by race, color, religion, national origin, disability, veteran status, sexual orientation, gender identity.
    gender expression, sex, genetic information, or age, the hearing panel/officer may consider this information an aggravating
    factor that increases the stringency of the sanction(s).




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For cases resolved through the Undergraduate Conduct Board, all sanctions are decided by majority vote with the exception
of a suspension or expulsion of an individual or dissolution of a group. These sanctions must be supported unanimously by a
three-person panel or by four members of a five-person panel.



EXPULSION
Dismissal and permanent removal from the university without possibility of readmission or reinstatement. A permanent notation
to that effect is made on the student's permanent academic record.



DEGREE REVOCATION
A student's degree may be revoked. In such a case, a permanent notation to that effect is made on the student's permanent
academic record.



SUSPENSION
A suspension is an involuntary dismissal from the university for a specified period of time. which may include the current
semester and such additional semesters as deemed appropriate by the hearing panel/conduct officer.
Readmission as an undergraduate student in good standing is coordinated through the Office of Student Returns and
is contingent upon satisfaction of any requirements stated in the original sanction. Upon a student's readmission to and
matriculation in the university, the student is placed on disciplinary probation for at least one semester or for as long as a
hearing panel/conduct officer determines is appropriate. Readmission for graduate/professional students is coordinated
through their respective dean.
As suspension constitutes an involuntary withdrawal from the university, a permanent notation to that effect is made on the
student's permanent academic record.
A student who is suspended after having satisfied all degree requirements must apply for readmission in accordance with
normal procedures. If readmitted, the student's degree will be awarded at the regular conferral date for the final semester of
the suspension period. The student may not participate in commencement exercises until readmitted.
In the event that a disciplinary suspension and an academic withdrawal occur simultaneously, the two withdrawals are to be in
effect consecutively.
Students suspended twice as a consequence of having been found responsible for academic misconduct are eligible to apply
for readmission no sooner than five years after the date of the second withdrawal.



DISSOLUTION (GROUP)
The privilege of a group to be recognized at Duke University may be suspended or revoked {dissolution).



SUSPENSION OF ACTIVITY (GROUP)
Residential or cohesive units may be suspended for a specified time period from activities sponsored, cosponsored. performed
by. or attended by its members on and/or off campus. A suspension is generally followed by disciplinary probation for a
specified period of time.



DISCIPLINARY PROBATION
A status imposed on a student for a specific period of time during which another violation of university policy or violation
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of any of the conditions of the probation shall result in an augmented disciplinary action. including the possibility of           C
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suspension. Disciplinary probation restricts a student's ability to study away from Duke through the Global Education Office      ca.
for Undergraduates, participate in DukeEngage. and be released early from the three-year residency requirement. It also may
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impact other opportunities in which a student's disciplinary record is considered as a criterion for participation.
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    DISCIPLINARY PROBATION (GROUP)
    A status imposed on a group for a specific period of time during which another violation of university policy or violation of any
    of the conditions of the probation shall result in an augmented disciplinary action, including the possibility of suspension of
    activity and/or dissolution.



    FORMAL WARNING
    A formal written reprimand for violation of the specified policy(ies).



    ADMONITION
    A written notice indicating violation of the specified policy(iesl. The resolution of this case will not become part of the student's/
    group's external disciplinary record (i.e., it will be treated as an informal resolution) unless there is a subsequent university policy
    violation.



    WITHDRAWAL,OF PRIVILEGES
    This may include, but is not limited to, withdrawal of the privilege to have a car on campus. park on campus, attend or
    participate in university programs or activities (such as sporting events, intramurals, performances, graduation exercises, host/
    sponsor events, etc.l, or maintain computer account privileges.



    HOUSING LICENSE RESTRICTIONS/REVOCATION
    A student's/group's privilege to live on campus may be restricted or revoked. This may include relocation, revocation for a
    period of time or permanent removal from the residential community. (Refunds for revocation may be denied based on HRL
    policies.)



    EXCLUSION
    A student or group may be excluded from access to or use of specified university-owned premises and/or facilities.



    NO CONTACT ORDER
    A student or group may be prohibited from communicating with a named individual.



    RESTITUTION
    Payment for all or a portion of injury or damages to person(sl or property caused by an individual or a group.



    FINE
    Payment to Duke University of a reasonable sum of money by an individual or group.



    COMMUNITY SERVICE
    Specified length of time during which a student or group will perform in a service capacity at the university or in the Durham
    community beyond any volunteering with which he/she/it may already be involved. Before starting service, it must be pre-
    approved by a conduct officer. Failure to complete community service within the specified period, and present verification, may
    result in additional hours assigned or further disciplinary action.




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MENTAL HEALTH/MEDICAL ASSESSMENT AND/OR TREATMENT
A hearing panel/officer may recommend or require a student to seek a mental health/medical assessment from CAPS, Student
Health, or other appropriate professional. The hearing panel/officer will not be privy to the contents of that assessment without
the permission of the student but may require verification that the assessment was completed and that the student followed
through with recommendations of the professional



EDUCATIONAL PROJ ECTS/1 NITIATIVES
Students or groups may be required to complete a project or a written assignment. attend an educational program, or seek
assistance from the Academic Skills Instructional Program, the Writing Studio, DukeReach, or other university resources.



APPEALS
A student/ group found responsible through a hearing panel ('respondent") and/or a complainant in a case involving
harassment may appeal the hearing panel's decision by submitting a written appeal statement within five business days of the
date the hearing report is sent to the respondent (and complainant. as applicable). Appeals are limited to five pages (12-point
font. 1-inch margins). The two grounds for appeal are:
   1.   New information not reasonably available at the time of the hearing that is material to the hearing panel's decision:
        and/or
   2.   Procedural error(s) that materially impacted the hearing panel's decision.
The appeal statement must identify the ground(s) for appeal. Note that an appeal is not a re-hearing of the case.
The composition of the Appellate Board includes members of the university community appointed by the Vice President for
Student Affairs. The chair of the Appellate Board or the chair's designee is responsible for selecting three-person panels from
membership of the Appellate Board to consider appeals.
If, by majority vote, the appellate panel determines that a ground of appeal is substantiated, the panel will return the case to
the Office of Student Conduct. otherwise, the decision of the hearing panel stands. When a case is returned to the Office of
Student Conduct, the Office of Student Conduct may decide to drop the case (e.g .. based on insufficient information to believe
that a policy violation may have occurred). send the case to the original hearing panel for reconsideration , send the case to a
new hearing panel with the same or different charges, and/or (relimplement any aspect of the disciplinary process. A different
decision <i.e .. the decision of responsibility and/or sanctions) may subsequently result.



PROCEDURES
The Appellate Board's role is limited to reviewing the hearing panel record, the appealing party's ("appellant") written appeal
statement. any response to that statement by the other party ("appellee') as applicable, and information presented at a
meeting of the Appellate Board, if convened.
The appellate panel will typically notify the parties of its decision regarding an appeal in writing within 20 business days from
receipt of the appeal statement. If the decision will take longer, the chair will inform the parties.
The following procedures guide the Appellate Board process:
    •    Appeal Statement. The written hearing report will include instructions for submitting an appeal. The chair may
         summarily deny an appeal if it is not based on one or both grounds of appeal.
    •    Composition of Panel. If the appeal is not summarily denied by the chair, the chair will convene a three-person panel
         and notify the appellant and appellee of the names of the panel members. When possible, the chair will select at least
         one Appellate Board member from the school community of the respondent (and/or complainant. if applicable). The
         appellant and/or appellee may challenge the participation of an appellate panelist because of perceived conflict
         of interest. bias, or prejudice. Such challenges, including rationale, must be submitted in writing to the chair no later
         than 24 hours after notification of the names of the appellate panel members. The chair will determine whether such a
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         conflict of interest exists and whether a panelist should be replaced.                                                      1;

    •    Response to Appeal By Appellee (In Cases Involving Harassment). The chair will provide written notice to the appellee       0.
         that an appeal has been submitted and will give the appellee an opportunity to review the appeal statement. The             c
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         appellee may submit a written response to the appeal ('response"). The response is due five business days from the          C
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         date the chair provides written notice of the appeal to the appellee and is limited to five pages (12-point font. 1-inch
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             margins). The chair will provide the appellant an opportunity to review the response, though no additional opportunity
             to respond in writing will be provided to the appellant.
        •    Exceptions. The appellant (and appellee as applicable) may submit to the chair requests for exceptions to page limits
             or deadlines. Exceptions must be requested in advance of any deadline by sending an email to appeals@duke.edu,
             with justification for such request(sl. If either party fails to meet a deadline or exceeds page limits without receiving
             an exception, the chair has the discretion to summarily reject an appeal or the appellate panel may disregard the
             response.
        •    Meetings. On its own or at the request of the appellant (or appellee, if applicable), the appellate panel may convene a
             meeting to give the party(iesl an opportunity to amplify the reason(s) for the appeal or the response. (A complainant or
             respondent in a case arising under the Student Sexual Misconduct Policy may bring an advisor of his/her choice to the
             meeting with the appellate panel. In such case, the advisor's role is limited to quietly conferring with the complainant
             or respondent through written correspondence or whisper, and may not address the appellate panel.! In the event an
             appeal alleges a procedural error, the appellate panel may request that (al staff member(s) in the Office of Student
             Conduct, the Office for Institutional Equity, and/or member(sl of the hearing panel attend the meeting to gather more
             information about the alleged procedural error.
        •    Written Decision. The Appellate Board will provide written notification of the final decision to the appellant (and
             appellee, if applicable, at approximately the same time).



    DISCIPLINARY RECORDS/STUDENT STATUS
    When students/groups are found responsible for a violation of university policy through an administrative or panel hearing,
    or accept responsibility through an agreement, the case will be recorded on a student's/group's disciplinary record. (See
    'Admonition' on page 62 under 'Sanctions' for recording of these resolutions.) The record will be maintained by the Office
    of Student Conduct and kept in accordance with FERPA. Individual disciplinary records are kept on file for eight years from the
    date of a student's matriculation (or four years after graduation, whichever lapses first!, except in cases resulting in suspension
    or expulsion, in which disciplinary records are kept indefinitely.



    STATUS OF A STUDENT/GROUP PENDING FINAL RESOLUTION OF A
    DISCIPLINARY CASE
    Until a final resolution is determined, the status of a student/group will not change unless administrative actions have been
    imposed to protect the health and safety of the student/group or the university community, A student with disciplinary
    action pending, however, is not eligible to graduate and may not participate in commencement exercises until his/her case
    is resolved. A student currently on leave, suspended, or withdrawn from Duke who has a pending disciplinary matter is not
    eligible to seek readmission until that matter is resolved.



    DISCIPLINARY HOLD
    At any time after the filing of a complaint. the conduct officer or designee, after consulting with a student's academic dean, may
    place a disciplinary hold on the academic and/or financial records of any student pending the outcome of proceedings or to
    enforce a disciplinary sanction, A disciplinary hold may prevent. among other things, registration , enrollment. matriculation, the
    release of transcripts, and the awarding of a degree.



    DISCIPLINARY ACTION WHILE CIVIL/CRIMINAL CHARGES PENDING
    Students may be accountable to both civil authorities and to the university for acts that violate local. state or federal laws.
    (Students are encouraged to seek advice of legal counsel when they face criminal charges.) Disciplinary action through
    university processes concurrent with criminal action does not subject a student to "double jeopardy."
    The university operates under different policies, procedures and standards and thus, will not be bound by the findings of a court
    of law. If the court's outcome satisfies the university's interests, such outcome may be recorded on the student's disciplinary
    record without invoking the university disciplinary process. Should any criminal proceeding result in a felony conviction, as a
    result of an incident on or off campus, the Vice President for Student Affairs reserves the right to summarily dismiss a student.
    University disciplinary action will normally proceed during the pendency of a criminal or civil action. A student may request.
    however, that the university disciplinary process be placed on hold until criminal actions are resolved. The conduct officer
    or designee will decide whether this request will be granted. In such a case, administrative actions may be imposed. The
    university reserves the right to proceed with the disciplinary process at any point.




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community's judicial board. The chair of the board shall select.five-person panels consisting of a chair and an equal number of
students and faculty. Cases referred to the board shall be assigned to the panels in rotation, provided that a member of a panel
may, at his/her request, be excused from sitting on a case by the chair of the board, who may appoint a substitute from among
the other members of the board. Each panel shall be known as a 'Hearing Committee of the University Judicial Board."


Terms of Members
Faculty members shall normally serve for two-year terms, but are eligible for reappointment. The terms should be staggered
in order to provide continuity. Two of the initial appointees shall be appointed for one-year terms. Student members shall
serve for one-year terms, although they may be eligible for re-election. The board has the right to remove any member of the
board for cause by a vote of a two-thirds majority of all members. The vacancy shall be filled promptly according to the original
procedure.


Conduct of the Hearing
    •   The hearing will be conducted in private unless the accused requests an open hearing. If any objection is raised to
        conducting an open hearing in any particular case. the Hearing Committee of the University Judicial Board will decide
        the issue by majority vote. If the decision is made not to hold an open hearing. the accused shall be informed in writing
        of the reasons for the decision.
    •   The university and the accused may be represented by an adviser of his/her choice.
    •   The board shall promulgate its own rules of procedure consistent with academic due process and all provisions of this
        document.
    •   The accused has the right to challenge on the grounds of prejudice any member of the Hearing Committee sitting on
        his/her case. If an accused makes such a challenge, the Hearing Committee shall deliberate in private to determine
        whether cause exists. By a majority vote of the members of the tribunal (excluding the member being challenged).
        a member shall be removed from the case and replaced by a member of the board designated by the chair of the
        Judicial Board. In addition. the accused may exercise a challenge directed at the entire panel, in which case the
        challenge shall be made to the chair of the University Judicial Board. who shall excuse the panel challenged and refer
        the accused's case to the next panel in rotation.


The Right of Appeal
    •    In cases heard by the University Judicial Board. there will be no appeal when the accused is acquitted, except in cases
         of harassment or discrimination, in which case a complainant may appeal the accused's acquittal.
    •    A student or administrator who is not a member of the faculty convicted by the University Judicial Board may appeal
         to the president, or in his/her absence, the provost. in which case such appeal shall be solely on the record of the
         proceedings before the Hearing Committee. Argument or appeal shall be on written submission, but the president
         may. in addition, require oral argument.
    •    A member of the faculty convicted by the University Judicial Board may appeal to the Faculty Hearing Committee
         authorized under the provisions for Academic Freedom and Tenure of Duke University.


Status of the Accused
Charges must be prepared without delay following the alleged commission of the offense. Pending final verdict on charges
against the accused (including appeal), his/her status shall not be changed, nor his/her right to be on campus to attend
classes suspended. except that the president or provost may impose an interim suspension upon any member of the
university community who demonstrates. by his/her conduct. that his/her continued presence on the campus constitutes an
immediate threat to the physical well-being or property of the members of the university community or the orderly functioning
of the university. The imposition of interim suspension requires that the su?pended individual shall immediately observe any
restriction placed upon him/her by the terms of the suspension. The suspended individual shall be entitled to a hearing within
three (3) days before the Hearing Committee on the formal charges. If he/she requires additional time to prepare his/her case
before the Hearing Committee, he/she shall be entitled to an informal review of the decision imposing interim suspension
by a three-person committee chosen from the members of the University Judicial Board by its chair. Interim suspension is
an extraordinary remedy which will be invoked only in extreme cases where the interest of the university and members of its
community require immediate action before the Hearing Committee can adjudicate formal charges against the suspended
individual. If interim suspension is imposed and the accused is Later found innocent. the university shall seek restitution as
provided by the Hearing Committee with respect to the student's academic responsibilities incurred during the period of
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    Civil and Criminal Courts
    Members of the university community may be subject to civil or criminal proceedings in a local court. The president may initiate
    legal action seeking injunctive or other civil relief, or file criminal charges. when it is necessary to protect the person or property
    of members of the university community, or the orderly functioning or property of the university. Such action may be in addition
    to the filing of formal charges before the University Judicial Board and/or interim suspension.


    Sanctions
    A Hearing Committee of the University Judicial Board shall have the power to impose the following penalties upon students:
        •    Expulsion. Dismissal from the university with the recommendation that the person never be readmitted.
        •    Suspension. Dismissal from the university and from participation in all university activities for a specified period of time
             after which the subject may apply for readmission.
        •    Disciplinary Probation. Placing a student on a probationary status for a specified period of time, during which
             conviction of any regulation may result in more serious disciplinary action.
        •    Exclusion from participation in extracurricular activities. Without limiting the generality of that penalty, such
             restrictions might involve participation in any collegiate athletics, or any public participation or performance in the
             name of the university. However, a hearing committee may not exclude a person from performance of the duties of an
             elective office, but may make such a recommendation to the appropriate organization. This penalty may be imposed
             by itself or in addition to any of the other enumerated penalties.
        •    Censure. Written reprimand for violation of the specified regulation, including the possibility of more severe disciplinary
             sanction in the event of conviction for the violation of the same or one of equal seriousness within the period of time
             stated by the reprimand.
        •    Admonition. By an oral statement to the offender that he/she has violated the university rules or has been in contempt
             of the board.
        •    Restitution. Payment for all, or a portion of property damage caused during the commission of an offense. This penalty
             may be imposed by itself, or in addition to any of the other penalties.
        •    Fines. Payment of reasonable sums to be determined by a hearing committee. This penalty may be imposed by itself,
             or in addition to any of the other penalties.
        •    Exclusion from social activities where the nature of the violation so indicates including, but not limited to, curfews or
             other revocation of upperclass privileges.
    A Hearing Committee of the University Judicial Board shall have the power to impose the following penalties upon faculty
    members and administrative personnel not subject to the provisions of the Personnel Policy Manual.
        •    Dismissal. Dismissal or termination of appointment
        •    Censure.
        •    Admonition.
        •    Restitution.
        •    Fines.


    Other Powers
    The Hearing Committee may recommend to the university that it seek restitution with respect to the accused's university
    responsibilities incurred during a period of suspension or during the period when a hearing has been conducted or shall make
    such other nonpunitive recommendations with respect to the accused as it shall deem appropriate. -


    Records
    The board shall promptly arrange a policy of keeping its own records, subject to the university policy on confidentiality.


    Excusal of Members of the University Community from University Obligations
    Any member of the university community whose presence is required at a hearing shall be excused from the performance of
    any university responsibilities which would normally be performed at the time when his/her presence is required before the
    Hearing Committee.




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APPENDIX B - OPTIONAL, ONE-TIME
FACULTY-STUDENT RESOLUTION PROCESS FOR CASES OF
ACADEMIC DISHONESTY INVOLVING UNDERGRADUATES
This option for resolving cases of academic dishonesty is reserved for first-time, minor infractions by Duke undergraduates.
The faculty member must first contact the Office of Student Conduct to discuss the appropriateness of this option with respect
to the nature of the offense. as well as to learn of any prior violations by the student. If there is no record of prior offenses and
the case appears to be one that. if adjudicated by a hearing panel. would result in probation or a sanction less severe than
probation, it may be resolved between the faculty member and the student. Otherwise, the case must be forwarded to the
Office of Student Conduct.
A faculty-student resolution may result in a reduced grade on the assignment, a reduced grade in the course. additional
assignments, and/or other educational initiatives. (The outcome must be agreed upon by both parties.)
The faculty member must report the outcome(s) of a faculty-student resolution to the Office of Student Conduct for record
keeping. This resolution will not become part of the student's external disciplinary record unless there is a second violation, at
which time both cases will be noted on the student's disciplinary record.



PROCESS
    •    The faculty member shall first contact the Office of Student Conduct to discuss the appropriateness of this option with
         respect to the nature of the offense, as well as to learn of any prior violations. Staff in the Office of Student Conduct
         may be reached at 919-684-6938.
    •    If the student has no record of prior offenses and the case appears to be one that. if adjudicated by a hearing panel.
         would result in probation or a sanction less severe than probation, it may be resolved between the faculty member
         and the student.
    •    The faculty member shall meet with the student and present any information relevant to the case.
    •    The student shall have an opportunity to respond to the allegations.
    •    If the faculty member believes that academic dishonesty has occurred, the faculty member should complete
         a Faculty-Student Resolution form . including the proposed outcome, and present this form to the student. The
         form may be found on the website of the Office of Student Conduct website at studentaffairs.duke.edu/conduct/
         undergraduate-disciplinary-system/types-resolution/faculty-student-resolutions.
    •    Upon receipt of the proposed resolution. the student has 96 hours to consider and seek advice on whether to accept
         responsibility and agree to the resolution.
    •    If the student agrees to the resolution. she/he should sign the resolution form in the presence of the faculty member.
         The faculty member should then forward a copy of the form to the Office of Student Conduct (Box 90893).
    •    If the student does not accept the proposed resolution, the faculty member should refer the case to the Office of
         Student Conduct.



APPENDIX C - ADMINISTRATIVE ACTION POLICY

POLICY
The Vice President for Student Affairs or designee may take administrative action(s) against an undergraduate student (or, if
pursuant to the Student Sexual Misconduct Policy, a graduate or professional student) and/or a student group to protect the
health, safety, or welfare of the university community or any member of it. Administrative action includes, but is not limited to, a
'no contact" directive, removal of privileges, removal from or relocation within the residential community, suspension of activity.
and/or suspension from the university. If administrative action is issued while a disciplinary action is pending. such action may
remain in effect until the disciplinary process is resolved.


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    PROCEDURE
        •   Any member of the university community who has reason to believe that a student or student group may pose a threat
            to the health. safety. or welfare of the university community or any member of it should contact the Vice President for
            Student Affairs or other staff within Student Affairs as appropriate.
        •   The Vice President for Student Affairs or designee will conduct a preliminary review of available information and, where
            necessary and appropriate, gather additional information. If feasible under the circumstances, the Vice President for
            Student Affairs or designee will meet with the student in question before taking administrative action.
       •    Based on the available information, the Vice President for Student Affairs or designee shall determine whether
            administrative action is warranted. The Vice President for Student Affairs or designee will prepare a written statement
            identifying the administrative action(s), the time period such action(s) is/are in effect, and the reasons for the
            administrative action(s).



    APPENDIX D - FRATERNITY AND SORORITY
    RECOGNITION
    Recognition is the formal process by which Duke University permits a fraternity or sorority to function on campus, conduct
    membership/intake activities. and be considered part of the university. For a fraternal organization to obtain recognition
    through the Office of Fraternity and Sorority Life (FSU. it must:
        •   Operate under a constitution and bylaws that have been approved by FSL and one of the recognized Greek Governing
            Councils: lnterfraternity Council (IFCl, Multicultural Gree.k Council (MGC), National Pan-Hellenic Council (NPHC),
            Panhellenic Association (Panhell.
       •     Demonstrate sound financial standing.
       •     Be affiliated with an inter/national fraternity or sorority.
        •   Present an initial membership list of at least three (3) currently registered, degree-seeking students who are not on
            academic or disciplinary probation. (While Duke recognizes that some organizations share membership with other
            colleges and universities. this relationship is prohibited by FSL.)
        •    Identify a person, who is not an undergraduate, to serve as the chapter advisor.
        •   Maintain general liability insurance with minimum limits of $1,000,000 per occurrence, $3,000,000 aggregate. A
            certificate of insurance evidencing current coverage must be provided to the Office of Fraternity and Sorority Life on an
            annual basis as a part of maintaining university recognition.
    The university does not recognize local chapters.
    The Office of Fraternity and Sorority Life determines, with the input of the appropriate Greek governing council. the status
    of recognized fraternity and sorority chapters. If a chapter no tonger meets any or alt of the above-stated conditions for full
    recognition or, as a provisionally recognized group, is not making sufficient progress towards full recognition. then full or
    provisional recognition may be withdrawn or the chapter may be placed on probation with suspended privileges. In addition,
    FSL and the governing councils support any sanctions given to chapters by their inter/national headquarters office.
    The suspension of privileges may include, but is not limited to:
        •    Reservation and free usage of campus space.
        •    Participation in new member recruitment and intake activities.
        •    Ability to host/co-sponsor events on and off campus.
        •    Participation in community-wide events, education programs, intramural sports and service/philanthropy initiatives.
        •    Membership in one of the recognized Greek governing councils.


    FRATERNITY AND SORORITY MEMBERSHIP RECRUITMENT/INTAKE
    Membership may be extended to students in the spring of their first year. Upperclass students may receive bids, or invitations
    to join recognized chapters, at any time during the academic year.




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APPENDIX E - RECOGNIZED STUDENT ORGANIZATIONS
Each student organization adds to the social, cultural, and intellectual environment of Duke, The university recognizes
the contributions that student organizations make to the quality of life on campus and strives to support its own mission
to "attending not only to [students'] intellectual growth but also to their development as adults committed to high ethical
standards and full participation as leaders in their communities" <Duke University Mission Statement. 2001).
Recognition of any organization is not to be interpreted as an endorsement by the university of the purpose, activities, political
position, or point of view of the organization.



RECOGNITION SOURCES
The university identifies two (2) primary recognition sources for undergraduate student organizations: Student Organization
Finance Committee (SOFC) and departmental.
   1.    The Student Organization Finance Committee (SOFC) of the Duke Student Government (DSG) is the major student
         organization recognition source: the financial, risk management, and policy authority for these organizations rests with
         the Vice President for Student Affairs.
Standards of Recognition. All undergraduate student organizations must align with the following basic standards:
    •    Have a unique mission that differentiates it from other recognized organizations.
    •    Be comprised of at least ten (10) members. All members are Duke-affiliated and at least fifty percent (50%) are
         currently enrolled undergraduate students. All leadership positions must be occupied by undergraduate students,
    •    Have a president. who oversees the operations and mission of the orgal7ization, and a treasurer, who oversees the
         financial health of the organization. These officer positions may be labeled differently within the organization but will be
         named as above for official university purposes. The position of the president must be voted in democratically through
         the organization. Both the president and the treasurer are responsible for attending and completing the required
         annual trainings offered through University Center Activities and Events (UCAE).
    •    Have a full-time faculty or staff member serve as an advisor. An organization advisor helps their organization grow and
         develop its activities in the spirit of the highest ideals of the Duke mission.
    •    List current mission statement. officers, and advisor on the official student organization directory DukeGroups
         (dukegroups.com) annually. The Division of Student Affairs maintains the official list of student organizations regardless
         of recognition source.
    •    Create and keep a constitution that defines:
         •    The official name of the organization
         •    The recognition source of the organization (SOFC or Department)
         •    The mission of the organization (must not violate any university, local, state, or federal policies/laws)
         •    The requirements of membership in the organization
         •    Acknowledgment that the actions and opinions of the group are independent of Duke University and do not
              reflect the actions and opinions of the university as a whole
         •    Alignment with the Duke University equal opportunity (non-discrimination) statement: Duke University prohibits
              discrimination and harassment, and provides equal [membership! opportunity without regard to race, color,
              religion, national origin, disability, veteran status, sexual orientation, gender identity, sex, genetic information, or
              age
         •    Maintain a positive balance of funds in any university-granted financial account
For more information about student organizations please visit University Center Activities and Events (UCAE) in the Bryan
Center or online at studentaffairs.duke.edu/ucae.
    2.   University schools, departments, and offices may also recognize student organizations or student ventures in
         congruence with their standards: the financial, risk management. and policy authority for these organizations or
         ventures rest with the department/program of the entity that bestows recognition.
All student groups are required to be knowledgeable of and abide by policies in the UCAE Student Organization handbook
available on the UCAE website. UCAE reserves the right to update policies.                                                                ~
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     APPENDIX F - INFORMATION AND RESOURCES
     CONCERNING SUBSTANCE USE

     HEALTH EFFECTS OF ALCOHOL AND OTHER DRUGS
     Psychoactive drugs are a class of drugs most frequently used socially or recreationally (and often illegally). These drugs
     act on the central nervous system (CNS). or more specifically the brain. creating altered states of consciousness. They may
     increase CNS activity (stimulants. such as cocaine, crack, amphetamines), decrease CNS activity (depressants, such as alcohol.
     barbiturates, tranquilizers), cause the creation of illusions (hallucinogens, such as LSD, peyote, mushrooms, PCP), or have a
     combined effect (marijuana). Every drug has multiple effects on the brain and the body. Addiction to any of these substances is
     a disease that affects the sufferer mentally, emotionally, physically, and spiritually. It can also have a profound effect on those
     closest to the addicted person.                             ·



     SHORT TERM OR ACUTE EFFECTS
     Impaired judgment (violent behavior, physical injuries, accidents), unpredictable mood swings, acute psychotic episodes,
     risky sexual behaviors (unplanned pregnancy, impaired sexual response, sexually transmitted diseases), sexual assault, rape,
     hangovers, increased nervousness, tremors, shortness of breath, anxiety/panic reactions, reduced energy and stamina,
     digestive problems (nausea, vomiting, diarrhea, ulcer irritation), dehydration, halitosis, cardiovascular changes, seizures, loss of
     consciousness, death.



     LONG TERM OR CHRONIC EFFECTS
         •    Systemic Disorders. Increased heart rate, increased or sudden decrease in blood pressure, hyperactivity, decreased
              oxygen in blood supply to the brain, decreased immune system function, AIDS or hepatitis from needle sharing,
              reverse tolerance, hemorrhage, delirium tremens (DT.s) from acute withdrawal, death.
         •    Brain/Central Nervous System Disorders. Short-term memory loss, concentration difficulties, damaged nerve
              connections, disruption of 'chemical messengers.'
         •    Mental Health Disorders. Sleep disorders, eating disorders, fatigue, acute or chronic depression, hallucinations,
              suicidal thoughts/actions, personality changes, delusional states, anxiety disorders, psychosis.
         •    Digestive Disorders. Ulcers in the mouth, diseases of the gums, inflammation of the esophagus, stomach, and
              pancreas, ulcers, cirrhosis, fatty liver disease, alcoholic hepatitis.
         •    Respiratory System Disorders. Painful nosebleeds, nasal erosion, tuberculosis, chronic lung diseases including
              emphysema and chronic bronchitis, exacerbation of sinus and asthma conditions, increased risk of lung cancer,
              decreased vital lung capacity.
         •    Sexual/Reproductive Disorders. Impotence, atrophy of testicles, impaired sperm production, absence of menstrual
              period, decrease in desire/arousal/performance, birth defects.
         •    Endocrine/Nutrition/Metabolic Disorders. Malnutrition, vitamin/mineral deficiencies, acute gout, obesity, diabetes,
              decreased testosterone levels in men, appetite disorders, weight gain or loss, impaired immune system.
         •    Skin and Subcutaneous Tissue Disorders. Skin infections, unsightly changes in the skin, dry skin, boils, skin abscesses,
              itching, increase in skin moles and benign skin tumors, spider angiomas, edema.
         •    Pregnancy and Fetal Development. Fetal Alcohol Syndrome, low birth weight babies, increased risk of miscarriage,
              stillbirth, increased risk of Sudden Infant Death Syndrome, brain damage, congenital deformities, addiction in the
              newborn.
         •    Other Disorders. Prone to cross-addiction to other drugs including prescription medications, laxatives, analgesics, and
              caffeine, Additionally, chronic abusers have an increased incidence of fractures, sprains, burns, lacerations, bruises,
              concussions, and other traumas.




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FEDERAL PENALTIES AND SANCTIONS FOR ILLEGAL POSSESSION OF A
CONTROLLED SUBSTANCE <From gpo.govlfdsys)

21 U.S.C. 844(a)
1st conviction: Up to 1 year imprisonment and fined at least $1,000 but not more than $100,000, or both.
After one (1) prior drug conviction: At least 15 days in prison, not to exceed two (2) years and fined at least $2,500 but not more
than $250,000. or both.
After 2 or more prior drug convictions: At least go days in prison, not to exceed 3 years and fined at least $5,000 but not more
than $250,000, or both.
Special sentencing provision for possession of crack cocaine: Mandatory at least 5 years in prison, not to exceed 20 years and
fined up to $250,000, or both, if:
     •   1st conviction and the amount of crack possessed exceeds five (5) grams.
     •   2nd crack conviction and the amount of crack possessed exceeds three (3) grams.
     •   3rd or subsequent crack conviction and the amount of crack possessed exceeds 1 gram.


21 U.S.C. 853(a)(2) and 881(a)(7)
Forfeiture of personal and real property used to possess or to facilitate possession of a controlled substance if that offense is
punishable by more than one year of imprisonment. (See special sentencing provisions re: crack.)


21 U.S.C. 881(a)(4)
Forfeiture of vehicles, boats, aircraft or any other conveyance used to transport or conceal a controlled substance.


21 U.S.C. 844a
Civil fine of up to $10,000.


21 U.S.C. 853a
Denial of Federal benefits, such as student loans, grants, contracts, and professional and commercial licenses, up to 1 year for
first offense, up to 5 years for second and subsequent offenses.


18   u.s.c. 922(9)
Ineligible to receive or possess a firearm or ammunition.


Miscellaneous
Revocation of certain Federal licenses and benefits, e.g., pilot licenses, public housing tenancy, etc., are vested within the
authorities of individual Federal agencies. Note: These are only Federal penalties and sanctions. Additional State of North
Carolina penalties and sanctions may apply.


Effect on Financial Aid
Under the 2000 reauthorization of the Higher Education Act. eligibility for federal student aid is jeopardized for students
convicted of a drug possession charge. For a first conviction, eligibility for aid may be suspended for one year: two years for
a second; permanently for a third. Eligibility is restored once a student completes a drug rehabilitation program or has the
conviction overturned



NORTH CAROLINA STATE LAWS REGARDING ALCOHOL AND DRUGS
For complete information regarding North Carolina state laws governing drugs, consult the North Carolina Controlled
Substances Act in the North Carolina General Statutes. Article 5, Chapter go.                                                          V
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For complete information regarding North Carolina state laws governing alcohol, consult the North Carolina General Statutes,           'E
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Chapter 18B. Criminal penalties for a violation of these laws include a misdemeanor conviction, community service, possible            a:
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loss of driver's license, and/or fines. Repeat violations incur greater penalties. The complete statutes are available online at        C
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ncga.state.nc.us/gascripts/Statutes/Statutes.asp.



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     RESOURCES FOR ALCOHOL, DRUG, AND
     TOBACCO CONCERNS

     Emergency Phone Numbers
     Duke Emergency Medical Service and/or Police                                             911/919-684-2444
     Alcohol-related emergencies can be difficult to assess. When in doubt. contact professionals.
     Duke Hospital Emergency Department                                                        911/919-684-2413
     If an intoxicated student cannot be aroused, is breathing erratically or slowly, or appears to be in a life-
     threatening state. get the student to the Emergency Department. Duke Emergency Medical Service or
     Duke Police can assist in transporting students,
     24-hour confidential advice on alcohol or drug-related emergencies can be obtained through Holly Hill
     Hospital at 1-800-422-1840 or 1-800-447-1800.

     Local Inpatient/Outpatient Treatment Facilities
     Holly Hill Hospital                                                                           919-250-7000
     3019 Falstaff Road
     Raleigh. NC 27610
     hollyhillhospital.com
     Fellowship Hall                                                                               800-659-3381
     5140 Dunstan Road
     Greensboro. NC 27405
     fellowshiphall.com

     Local Outpatient Treatment Facilities
     Duke Child Development and Behavioral Health                                                  919-668-5559
     402 Trent Drive
     DUMC Box 2906
     Durham, NC 27710
     ipmh.duke.edu/content/cdbh

     Information, Screening, and Education
     The DuWell                                                 studentaffairs.duke.edu/duwell 919-681-8421
     The DuWell enhances the education of Duke University students by environmentally addressing
     issues contributing to substance use/abuse, promoting healthy emotional and social development.
     and providing screenings for students in need of addressing high-risk patterns of behavior. The
     office provides books and assistance with educational programming for student living groups and
     organizations. The DuWell offers assistance and support for students interested in changing their
     substance use .patterns.
     Student Health                           studentaffairs.duke.edu/studenthealth 919-681-WELL (9355)
     Student Health offers screening, evaluation, education and referral for alcohol and substance use/
     abuse.




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Individual Assessment and Counseling
Counseling and Psychological Services (CAPS)                studentaffairs.duke.edu/caps 919-660-1000
CAPS offers evaluation, consultation. counseling. and referral for individuals with alcohol and other
substance abuse issues. A substance abuse specialist is available for personal consultation and
counseling for students who are concerned about themselves or others because of alcohol or drug use.
UNC Health Care's Alcohol and Substance Abuse Program                                         919-966-6039
  www.unchealthcare.org/site/healthpatientcare/alcoholsubstanceabuse
UNC offers a center for intensive outpatient treatment of chemical dependency and substance abuse.
Cocaine Anonymous                                                                  ca.org 1-800-347-8998
An around-the-clock information and referral service, staffed by recovering cocaine addict counselors.
First Step Services                                                  www.firststepnc.com      919-833-8899
First Step specializes in intensive outpatient programs for individuals suffering from drug and alcohol
abuse, stressing abstinence from mind and mood altering substances during the course of treatment.
C.S.A.P.                                     1-800-662-HELP; 1-800-662-9832 for information in Spanish
A 24-hour hotline maintained by the Center of Substance Abuse Prevention offers confidential
information and referral.
N.C.A.D.I.                                                             www.samhsa.gov 1-800-729-6686
The National Clearinghouse for Alcohol and Drug Information offers free print information on alcohol and
other drugs. Other media may be available for rent or purchase.
Cancer Information Service                                                                  1-800-422-6237
Free telephone smoking cessation counseling, materials, support, referrals. Information in Spanish when
needed.
American Lung Association                                                                   1-800-586-4872
Self-help materials available.
Academic courses related to alcohol use, treatment, and research
See course listings through the Office of University Registrar (registrar.duke.edu) or the Bulletin of each
school.

Support Groups
Alcoholics Anonymous (AA)                      aanc32.org I aanc33.org 919-286-9499 / 1-800-662-4357
AA offers emergency support for individuals with alcohol problems in addition to group meetings. Many
have found the 12-step program to be crucial in their recovery. Meeting locations in the Durham area can
be found on the AA website.
Narcotics Anonymous (NA)                                                              na.org 919-956-5900
Similar to Alcoholics Anonymous, except focused on drug abuse/addiction issues. A variety of drugs are
addressed, including marijuana and prescription medications.
ACOA/Al-Anon                                      al-anon.alateen.org 919-403-0687 / 1-888-4AL-ANON
ACOA arid AL-Anon meetings are support groups for family members dealing with the impact of living
with , or being close to an alcoholic. Meeting Locations in the Durham area can be found on the Al-Anon
website.

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                                FEDERAL DRUG TRAFFICKING PENALTIES
                                    FOR MARIJUANA (SCHEDULE I)

          Drug                   Quantity                          First Offense                         Second Offense

     Marijuana       1,000 kg or more mixture: or       Not less than 10 years or more         Not less than 20 years or more
                     1,000 or more plants               than life                              than life


                                                        If death or serious bodily injury,     If death or serious bodily injury,
                                                        not less than 20 years or more         life imprisonment
                                                        than life

                                                                                               Fine not more than $20 million if
                                                        Fine not more than $10 million if      an individual, $75 million if other
                                                        an individual, $50 million if other    than an individual
                                                        than an individual




     Marijuana       100 kg to 999 kg mixture: or 100   Not less than 5 years or more          Not less than 10 years or more
                     to 999 plants                      than 40 years                          than life


                                                        If death or serious bodily injury,     If death or serious bodily injury,
                                                        not less than 20 years or more         life imprisonment
                                                        than life

                                                                                               Fine not more than $8 million if an
                                                        Fine not more than $5 million if       individual, $50 million if other than
                                                        an individual, $25 million if other    an individual
                                                        than an individual


     Marijuana       50 kg to 99 kg mixture: or 50 to   Not more than 20 years                 Not more than 30 years
                     99 plants

                                                        If death or serious bodily injury,     If death or serious bodily injury,
                                                        not less than 20 years or more         life imprisonment
     Hashish          More than 10 kg                   than life

                                                                                               Fine $2 million if an individual, $10
     Hashish Oil      More than 1 kg                    Fine $1 million if an individual, $5   million if other than individual
                                                        million if other than an individual


     Marijuana        Less than 50 kg (but does         Not more than 5 years                  Not more than 10 years
                      not include 50 or more plants
                      regardless of weight)
                                                        Fine not more than $250,000, $1        Fine $500,000 if an individual. $2
                      1-49 marijuana plants
                                                        million other than individual          million if other than individual

     Hashish          10 kg or less

     Hashish Oil      1 kg or less




                             Source www.justice.gov/dea/druginfo/ftp3.shtml




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                              FEDERAL DRUG TRAFFICKING PENALTIES

      Drug/Schedule              Quantity              Penalties                  Quantity                  Penalties

Cocaine (Schedule Ill        500-4999 gms      First Offense: Not less       5 kg or more           First Offense: Not less
                             mixture           than 5 years, and not                                than 10 years, and not
                                               more than 40 yrs. If                                 more than life. If death
                                               death or serious bodily                              or serious bodily injury,
Cocaine Base (Schedule       28-279 gms                                      280 gms or more
                                               injury. not less than 20                             not less than 20 years
II)                          mixture                                         mixture
                                               years or more than life.                             or more than life. Fine
                                               Fine of not more than $5                             of not more than $10
Fentanyl (Schedule IV)       40-399 gms        million if an individual,     400 gms or more        million if an individual,
                             mixture           $25 million if not an         mixture                $50 million if not an
                                               individual                                           individual
Fentanyl Analogue            10-99 gms                                       100 gms or more
(Schedule I)                 mixture                                         mixture
                                               Second Offense: Not                                  Second Offense: Not
Heroin (Schedule I)          100-999 gms       less than 10 years, and       1 kg or more           less than 20 years, and
                             mixture           not more than life. If        mixture                not more than life. If
                                               death or serious bodily                              death or serious bodily
LSD (Schedule I}             1-9 gms mixture   injury, life imprisonment.    10 gms or more         injury, life imprisonment.
                                               Fine of not more than $8      mixture                Fine of not more
                                               million if an individual,                            than $20 million if an
                                               $50 million if not an                                individual, $75 million if
Methamphetamine              5-49 gms pure                                   50 gms or more
                                               individual                                           not an individual
(Schedule II)                or 500499 gms                                   pure or 500 gms
                             mixture                                         or more mixture
                                                                                                     2 or more prior offenses:
                                                                                                     Life imprisonment. Fine
PCP (Schedule II)            10-99 gms pure                                  100 gms or more         of not more than $20
                             or 100-999 gms                                  pure or 1 kg or         million if an individual,
                             mixture                                         more mixture            $75 million if not an
                                                                                                     individual

                                                      Penalties

Other Schedule I & II        Any amount        First Offense: Not more that 20 years. If death or serious bodily injury, not
substances                                     less than 20 years, or more than life. Fine $1 million if an individual, $5
                                               million if not an individual
Any drug product             Any amount        Second Offense: Not more than 30 years. If death or serious bodily injury,
containing Gamma                               life imprisonment. Fine $2 million if an individual, $10 million if not an
Hydroxybutyric Acid                            individual

Flunitrazepam (Schedule      1gm or more
IV)

Other Schedule Ill drugs     Any amount        First Offense: Not more than 10 years. If death or serious bodily injury, not
                                               more than 15 years. Fine not more than $500,000 if an individual, $2.5
                                               million if not an individual
                                               Second Offense: Not more than 20 years. Fine not more than $1 million if an
                                               individual, $5 million if not an individual



 All other Schedule          Any amount        First Offense: Not more than s years. Fine not more than $250,000 if an
 IV drugs (other than                          individual, $1 million if not an individual
 one gram or more of
                                               Second Offense: Not more than 10 years. Fine not more than $500,000 if an
 Flunitrazepam)
                                               individual, $2 million if not an individual
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 All Schedule V drugs        Any amount        First Offense: Not more than 1 year. Fine not more than $100,000 if an             C
                                                                                                                                  C
                                               individual. $250,000 if not an individual                                          <(


                                               Second Offense: Not more than 4 years. Fine not more than $200,000 if an
                                               individual, $500,000 if not an individual
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Highlights of State Statutes
It is illegal for anyone less than 21 years of age to:
    •    Possess or consume malt beverages. unfortified or fortified wine, spirituous liquor, or mixed beverages;
    •    Purchase or attempt to purchase malt beverages, unfortified or fortified wine, spirituous liquor, or mixed beverages.
It is illegal for anyone (regardless of age) to:
    •    Aid or abet another in the unlawful sale. purchase, or possession of malt beverages, unfortified or fortified wine.
         spirituous liquor, or mixed beverages;
    •    Fraudulently use identification in obtaining or attempting to obtain alcoholic beverages.



APPENDIX G - PATIENT PRIVACY
The Health Insurance Portability and Accountability Act of 1996, or HIPAA. includes a privacy rule that creates national
standards to protect individuals' personal health information. These standards were implemented by the Duke Health
Enterprise on April 14, 2003.
Duke Student Health, Counseling and Psychological Services, and the Office of Gender Violence Prevention and Intervention
comply with these standards. All incoming students are asked to review and electronically sign the HIPAA notice as part of the
immunization and health history process. Students who have not yet received the Notice of Privacy Practices brochure, which
describes how medical information may be used and disclosed and how one can get access to this information, will receive this
at the first visit.



APPENDIX H - THEME PARTIES AND DECORATIONS
This policy applies to all Duke University facilities to include Campus, Medical Center, Hospital and Health System. All students,
visitors. and employees must adhere to this policy when planning a theme party, event. meeting, or decorating any work area.
Notify OESO-Fire & Life Safety as soon as possible but no less than 72 hours prior to the placement of decorations.



GENERAL RESTRICTIONS
    •     The use of pyrotechnics by individuals or performers is prohibited on campus.
    •     All decorations (to include artificial greenery such as wreaths and holly) must be non-combustible, inherently flame
          resistant or treated with an approved fire retardant in accordance with the manufacturer's specifications that will pass
          NFPA 701 test.
    •     Decorative materials shall not exceed 10% of the aggregate of wall and ceilings.
    •     Straw, hay, corn fodder, dried flowers, bamboo, and other similar decorations are prohibited as decoration inside
          facilities without written authorization from the OESO Fire & Life Safety Division.
    •     Combustible decorations shall be prohibited in all healthcare occupancies (Hospital. Duke Clinic, PDC. etc.) unless they
          are flame retardant. (Exception: combustible decorations, such as photographs and paintings, in such limited quantities
          that a hazard of fire development or spread is not present).
    •     Fog and smoke machines may not be used inside facilities without written authorization of the OESO-Fire & Life Safety
          Division.
    •     Animal(s). regardless of size or species. are strictly prohibited to attend or participate in any event. party, or meeting.
     •    Water, waterfalls. pools, spraying water, running water. or utilizing water in any way is strictly prohibited.
     •    All doors (i.e .. exit. smoke. fire, interior, exterior), hallways, or any other means of egress may not be covered or blocked
          in any manner by decorations.
     •    Trash must not be allowed to accumulate, but collected in appropriate containers during the event and removed at
          the close of the event.




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ELECTRICAL SAFETY AND HOLIDAY LIGHTING
    •    Electrical lights (110 volts) and fiber optic lights (110 volts) may be used on artificial Christmas trees, wreaths, and
         greenery, but may not be used on any live Christmas trees or greenery.
    •    All electrical lights, electrical equipment, animated, or electrical decorations must be UL listed.
    •    Manufacturer's instructions and precautions shall be followed.
    •    Each living group or office should have an appointed representative to ensure that the electrical decorations are de-
         energized at the end of the day.
    •    Any Light string with worn, frayed, broken cords, loose bulb connections, and empty sockets shall not be used.
    •    Use of holiday lights and light strings shall be limited to reduce overheating.
    •    Lights shall not have more than three strings of light connected to each other.
    •    The use of lights and wiring on metal Christmas trees (aluminum trees from the '50s and '6os as defined by the NC
         Department of Insurance) is prohibited. Fiber optic and pre-wired artificial trees are acceptable as long as they are UL
         listed.
    •    Only indoor lights will be used inside facilities.
    •    Light strings or electrical decorations shall be de-energized before replacing bulbs or fuses.
    •    Light strings must be mounted in a manner that will not damage the cord's insulation.
    •    Light strings should be plugged directly into an outlet or an electrical power strip with built-in circuit breaker.
General. All combustible party decorations shall be removed from the area immediately following the event.
Exception. During the holiday season decorations shall be removed no later than December 30th. Residence halls shall have all
decorations removed no later than the closing of the residence halls by Residence Life and Housing Services.
Live Greenery and Christmas Trees. Live greenery, such as Christmas trees, pine wreaths, and holly, are prohibited inside of
Hospital and Medical Center buildings. In addition. live greenery is prohibited in assembly areas. education facilities, schools,
day cares, stores, businesses, residence halls. and hotels unless the building is protected throughout with an approved
automatic sprinkler system.
If a live Christmas tree is allowed in a facility, the following rules apply:
    •    Only one tree will be purchased for each department, group. or living group and the tree will be located in a public
         area such as a commons area. reception area or lounge.
    •    All trees will be prepared by sawing off the trunk of the tree at an angle at least one-half inch or more above the
         original cut and spraying the tree with an approved fire retardant in accordance with the manufacturer's specifications
         as required by NC State Building Code.
    •    The tree will be placed within a tree holder/stand capable of containing water to prevent drying. The stand will be
         checked daily to assure the water level is adequate. Remember: A tree will absorb large quantities of water while it is
         indoors.
    •    The tree will be placed in a location away from all heat sources.
         Smoking or open flames shall be prohibited near live greenery.
    •    The tree shall be removed from the facility whenever the needles or leaves fall off readily when a tree branch is
         shaken or if the needles are brittle and break when bent between the thumb and the index finger. or by December 30,
         whichever occurs first.
Artificial greenery may be utilized if it meets the general and electrical requirements as listed above.
Candle Safety. It is a violation of university policy to light any material on fire on campus. Candles, other open flame devices,
grills, incense, and any other flame/heat producing items are strictly forbidden for use inside university facilities except during
official religious ceremonies, such as the observance of Chanukah. Permission for use of any open flame devices (including
those used for religious ceremonies} must be obtained from OESO-Fire & Life Safety Division prior to use. A copy of the signed
approval letter must be maintained at the location approved for an open flame device.
Whenever possible, substitute open flame candles with battery operated or electrical powered candles.


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     APPENDIX I - PATENTS AND INTELLECTUAL PROPERTY
     Duke's mission lies in the creation and dissemination of knowledge through (1) recognizing and acknowledging the right of
     intellectual property ownership, (2) encouraging the pursuit of patents and licenses, and (3) ensuring sufficient records are
     maintained.
     Duke University is committed to the personal ownership of intellectual property rights by the creators of the intellectual works.
     For further information, please visit provost.duke.edu/wp-content/uploads/FHB_App_P.pdf.



     APPENDIX J - MISSING STUDENT NOTIFICATION
     In accordance with the Higher Education Opportunity Act of 2008, Duke University has developed a policy for notifying the
     designated emergency contact in DukeHub for a student who is determined to be missing.
     A student may be deemed missing if it is reported to appropriate university officials (Duke Police, Residence Coordinator on-
     Call. or the Dean on-Calll that the student has been unreachable via personal contact. telephone, e-mail. or other means of
     electronic communication for 24 hours or more. If members of the Duke community believe that a student has been missing for
     24 hours, it is critical that they report that information to the Duke University Police at (919) 684-2444. A Residence Coordinator
     on-Call or Dean on-Call who receives such a report will immediately report it to Duke University Police. Duke University
     will notify any missing student's confidential contact(s), if provided, within 24 hours of the determination that the student is
     missing. In the event a student is under 18 years of age and not emancipated, Duke University must notify a custodial parent or
     guardian within 24 hours of the determination that the student is missing, in addition to notifying any additional contact person
     designated by the student. For all missing students, Duke University will notify the local law enforcement agency within 24
     hours of the determination that the student is missing, unless the local law enforcement agency was the entity that made the
     determination that the student is missing.
     Upon determination by Duke University Police that a student is missing, the designated missing person contact will be notified
     as soon as possible, but no later than 24 hours after that determination that the student has been missing for 24 hours. The
     student's custodial parent or guardian will also be notified if that person is not the designated missing person contact and the
     student is under 18 years of age and not an emancipated individual. Regardless of whether the student has identified a contact
     person, is above the age of 18, or is an emancipated minor, Duke University Police will inform local law enforcement (or the
     local law enforcement with jurisdiction} that the student is missing within 24 hours.
     Duke provides the option for each student living in an on-campus student housing facility to identify, separate from an
     emergency contact. a contact person or persons to whom Duke will make notification within 24 hours of the determination
     that the student is missing. Students are encouraged to periodically review and update their emergency contact information in
     DukeHub. When students enter a separate 'Missing Person" emergency contact or contacts in DukeHub, that information will
     remain confidential and shared only with appropriate university personnel involved with a missing person investigation and law
     enforcement, and may not be disclosed outside of a missing person investigation.




     APPENDIX K - CONSEQUENCES OF COPYRIGHT
     INFRINGEMENT
     Unauthorized distribution of copyrighted material. including peer-to-peer file sharing, may subject you to criminal or civil
     liability. Punishment for this unauthorized use or distribution can be severe: violation of federal copyright laws can range from
     imprisonment to hefty fines. For instance, online infringement of copyrighted music can be punished by up to five years in
     prison and/or $250,000 in fines, and you may be held liable for damages up to $150,000 per infringed copyright. To Learn
     more about Duke University's policy on unauthorized peer-to-peer file sharing, including disciplinary actions that the university
     may take against students who engage in unauthorized distribution of copyright materials using the university's information
     technology system, please visit the website of the Dean of Students Office at studentaffairs.duke.edu/dos/riaa-file-sharing,
     which provides additional information on the application of copyright law to peer-to-peer file sharing.




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         PENALlilES FOR COPYRIGHT INFRINGEMENT
         Type•: Innocent infringement <strict liability)
         Minimum Penalty': Minimum damages of $200 per work copieci
         Maximum Penalty: See below
         Type: "Normal infringement"
         Minimum Penalty..: Minimum damages of $750 per work copied
         Maximum Penalty: Maximum $30.000 per work copied
         Type: "Willful infringement"
         Minimum Penalty: Minimum damages of$750 per work copied
         Maximum Penalty:.Maximum $150,000 per work copied
         Type: Criminal infringement (infringement for private financial gain or commercial.advantage, or where the
         total value of works infringed within a three-month period exceeds $1000)
         Minimum Penalty: Fines or imprisonment up to one year
         MaximumPenalty: Fines or imprisonment upto ten years


         a. Kevin L Smith, J.D,, Director of Scholarly Communications, Duke University
         b. From 17 U.S. Code 504 & 506 and 18 U.S. Code 2319 & 3571




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                                                                Victoria Krebs, Khary McGhee               a;
             Page 65: Hector F. Cadena                                                                     C
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 STATE OF NORTH CAR~LINA
                                                                                                                                                      ~                                  20CVS
                     Durham                                                                                                                                           In The General Court Of Justice
                                                      County                                                                                                  D District 181 Superior Court Division
Name Of Plaintiff
JOHN DOE                                                            r;.:- r,i r .
                                                                    h
                                                                                                       ~ ,~~
Address                                                             u       ·h        .,      .. _,::. . ~.::.·_;;
                                                                                                                                                              CIVIL SUMMONS
c/o Emilia I. Beskind, 119 E Main St
                                                                              0                                                            ALIAS AND PLURIES SUMMONS (ASSESS FEE)
City, State, Zip
Durham, NC 27701
                                                          2020 OCT-1 P 12= I D
                                      VERSUS              f"'ll !r'>'.!/, -           /''~   :'   ·,       ..._      -:'1 .   ·,                                                                G.S. 1A-1 , Rules 3 and 4
                                                          ..., ....• 1 \.i if l ;:n   \_J\.,' , }         '.,.J,'-,.•
Name Of Defendant(s)                                                                                                          Date Original Summons Issued
DUKE UNIVERSITY                                           ')\I
                                                                                                  ~
                                                          DI
                                                                  -----··•···~---~-•-·------ ·Date(s) Subsequent Summons(es) Issued


 To Each Of The Defendant(s) Named Below:
Name And Address Of Defendant 1                                                                                                Name And Address Of Defendant 2
Duke University




                    IMPORTANT! You have been sued! These papers are legal documents, DO NOT throw these papers out!
                    You have to respond within 30 days. You may want to talk with a lawyer about your case as soon as


 &                  possible, and, if needed, speak with someone who reads English and can translate these papers!
                    1IMPORTANTEI 1Se ha entablado un proceso civil en su contra! Estos papeles son documentos legales.
                    1NO TIRE estos papelesl
                    Tiene que contestar a mas tardar en 30 d1as. jPuede querer consultar con un abogado lo antes posible
                    acerca de su caso y, de ser necesario, hablar con alguien que lea ingles y que pueda traducir estos
                    documentos!
 A Civil Action Has Been Commenced Against You!
 You are notified to appear and answer the complaint of the plaintiff as follows:
 1. Serve a copy of your written answer to the complaint upon the plaintiff or plaintiff's attorney within thirty (30) days after you have been
      served. You may serve your answer by delivering a copy to the plaintiff or by mailing it to the plaintiffs last known address, and
 2. File the original of the written answer with the Clerk of Superior Court of the county named above.
 If you fail to answer the complaint, the plaintiff will apply to the Court for the relief demanded in the complaint.
Name And Address Of Plaintiff's Attorney (if none, Address Of Plaintiff)                                                           Date Issued
                                                                                                                                                                            I Time
Emilia I. Beskind                                                                                                                                10/07/2020                          \ ~ •. \ ){    □ AM ;E3'PM
119 East Main Street
                                                                                                                                   Signaturet ' ~ ~ ~ -        "~                = =_\>/
Durham, NC 27701                                                                                                                                                                     u
                                                                                                                                                                                         Q
                                                                                                                                     _:@Deputy~~              0      Assistant CSC        0   Clerk Of Superior Court




                                                                                                                                   Date Of Endorsement
                                                                                                                                                                            I Time
 0    ENDORSEMENT (ASSESS FEE)                                                                                                                                                                      □ AM □ PM
      This Summons was originally issued on the date indicated                                                                     Signature
      above and returned not served. At the request of the plaintiff,
      the time within which this Summons must be served is
      extended sixty (60) days.                                                                                                       □ DeputyCSC             0      Assistant CSC        0   Clerk Of Superior Court



  NOTE TO PARTIES: Many counties have MANDATORY ARBITRATION programs in which most cases where the amount in controversy is $25,000 or
                              less are heard by an arbitrator before a trial. The parties will be notified if this case is assigned for mandatory arbitration, and, if
                              so, what procedure is to be followed.


                                                                                                                         (Over)
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FILE No(s):            2 0 CVS' 1 li 4 0

CASE NAME:       ~ -c, t           \J   ~"~ -s ~ e_         \.) () ,   "~-s-~0
PAYOR NAME: ~          ~      )--=s-~\__~
                (PARTY TO CASE)


PAYEE NAME-~               a n.--.__£<._S J~ e y CN \.>-)    ~~ ~                  -~   ('   s-\_;~ T-0j   LL_ f
                (PAID BY: ATTORNEY, PLAJi.JTIFF, DEFENDANT, INTERESTED PARTY, ETC . )


         VCAP FLAG         = YES                                                             VCAP FLAG       = NO

FI LING FEES:                                                _ _ A&P/ENDORSEMENTS$ _ _ _ _                          (21455)
(NEW/ COUNTERCLAIMS/ CROSS-CLAIMS)
                                                             _ _ NOTICE OF HEARING$._ _ _ _ _                        (21450)
    \   CVS                     $ 200.00
                                                             _ _ NOTICE OF CONTRACT$_ _ _ _ _                         (21400)
_ _ _ CVD                       $ 150.00
                                                             _ _ TRIAL DE Novo $ _ _ _ _ _ _                          (24310)
_ _ _ CONDEMNATIONS $ _ _ _ (26130)
                                                             _ _ CHANGE OF VENUE $ _ _ _ _ _                          {22220)
_ _ _ CONFESSION OF JUDGMENT
                        $_ _ _ (21400)                       _ _ LIMITED DRIVING PRIVILEGE $ _ _ _                    (24335)

_ _ _ Lrs PENDENS $ _ _ _ (21400)                            _ _ REST OF CITIZENSHIP$_ _ _ _ _                         (21400)

_ _ _ UPSET BID $ _ _ _ _ (26700)                            _ _ PRO HAC VICE                          $ ______        (24625)

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